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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §                                           Chapter 11
                                                           §
ALEXANDER E. JONES,                                        §                                  Case No. 22-33553
                                                           §
           Debtor.                                         §
                                                           §

              NOTICE OF FILING DEBTOR’S PROPOSED AMENDED
        DISCLOSURE STATEMENT WITH RESPECT TO DEBTOR’S PLAN OF
       REORGANIZATION AND BLACKLINE SHOWING CHANGES BETWEEN
    DEBTOR’S PROPOSED DISCLOSURE STATEMENT AND PROPOSED AMENDED
                         DISCLOSURE STATEMENT

PLEASE TAKE NOTICE OF THE FOLLOWING1:

      1.      On December 2, 2022, the above-captioned debtor, Alexander E. Jones (the
“Debtor” or “Jones”), filed his voluntary petition for relief under chapter 11 of the United States
Bankruptcy Code in the United Stated States Bankruptcy Court for the Southern District of Texas.

       2.     On December 21, 2023, the Debtor filed his proposed Disclosure Statement with
Respect to Debtor’s Plan of Reorganization (as may be amended, supplemented, or otherwise
modified from time to time, the “Disclosure Statement”) [Docket No 533] with the Court.

        3.     The Debtor hereby files this proposed amendment to the Disclosure Statement (the
“Amended Disclosure Statement”). The Amended Disclosure Statement contains the following
documents (each as defined in the Amended Disclosure Statement and certain of which continue
to be negotiated and will be filed in substantially final form prior to the Effective Date), as may be
modified, amended, or supplemented from time to time.

                    Exhibit A     Amended Plan
                    Exhibit B     List of Debtor’s business entities for which fair market value is not
                                  readily ascertainable
                    Exhibit C     List of claims/causes of action vesting in the Debtor/retained by the
                                  Debtor
                    Exhibit D     Liquidation Analysis
                    Schedule A – Property list with intention/explanation/qualification
        4.      Certain documents, or portions thereof, contained in the Amended Plan remain
subject to ongoing review, revision, and further negotiation among the Debtor and interested
parties with respect thereto. The Debtor reserves the right to alter, amend, modify, or supplement

1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
NOTICE OF FILING DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
DEBTOR’S PLAN OF REORGANIZATION AND BLACKLINE SHOWING CHANGES BETWEEN DEBTOR’S
PROPOSED DISCLOSURE STATEMENT AND PROPOSED AMENDED DISCLOSURE STATEMENT - Page 1
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any document in the Amended Plan in accordance with the Amended Plan at any time before the
Effective Date of the Amended Plan or any such other date as may be provided for by the Amended
Plan or by order of the Bankruptcy Court; provided that if any document in the Amended Plan is
altered, amended, modified, or supplemented in any material respect prior to the date of the
Confirmation Hearing, the Debtor will file a blackline of such document with the Bankruptcy
Court.

        5.    On January 24, 2024, the court will hold a hearing to consider conditional approval
of the Amended Disclosure Statement. To resolve the objections of parties, the Debtor agreed to
make certain modifications to the Amended Plan and Amended Disclosure Statement and file
blacklines showing same after approval of parties in interest.

     6.     A blackline comparing the Debtor’s Disclosure Statement to the proposed
Amended Disclosure Statement is attached hereto as Exhibit A, respectively.

Dated: January 23, 2024                     CROWE & DUNLEVY, P.C.


                                            By: /s/ Vickie L. Driver
                                            Vickie L. Driver
                                            State Bar No. 24026886
                                            Christina W. Stephenson
                                            State Bar No. 24049535
                                            2525 McKinnon St., Suite 425
                                            Dallas, TX 75201
                                            Telephone: 737.218.6187
                                            Email: dallaseservice@crowedunlevy.com
                                            -and-
                                            Shelby A. Jordan
                                            State Bar No. 11016700
                                            S.D. No. 2195
                                            Antonio Ortiz
                                            State Bar No. 24074839
                                            S.D. No. 1127322
                                            JORDAN & ORTIZ, P.C.
                                            500 North Shoreline Blvd., Suite 900
                                            Corpus Christi, TX 78401
                                            Telephone: (361) 884-5678
                                            Facsimile: (361) 888-5555
                                            Email: sjordan@jhwclaw.com
                                            aortiz@jhwclaw.com
                                            Copy to: cmadden@jhwclaw.com

                                            ATTORNEYS FOR ALEXANDER E. JONES

NOTICE OF FILING DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
DEBTOR’S PLAN OF REORGANIZATION AND BLACKLINE SHOWING CHANGES BETWEEN DEBTOR’S
PROPOSED DISCLOSURE STATEMENT AND PROPOSED AMENDED DISCLOSURE STATEMENT - Page 2
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon all
parties registered to receive notices via the Court’s ECF noticing system on this 23rd day of
January, 2024.


                                                     /s/ Vickie L. Driver
                                                     Vickie L. Driver




NOTICE OF FILING DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
DEBTOR’S PLAN OF REORGANIZATION AND BLACKLINE SHOWING CHANGES BETWEEN DEBTOR’S
PROPOSED DISCLOSURE STATEMENT AND PROPOSED AMENDED DISCLOSURE STATEMENT - Page 3
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                     §   Chapter 11
                                           §
ALEXANDER E. JONES,                        §
                                           §
         Debtor.                           §   Case No. 22-33553 (CML)
                                           §


 DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT
              TO DEBTOR’S PLAN OF REORGANIZATION


                                       CROWE & DUNLEVY, P.C.

                                       Vickie L. Driver
                                       State Bar No. 24026886
                                       Christina W. Stephenson
                                       State Bar No. 24049535
                                       2525 McKinnon St., Suite 425
                                       Dallas, TX 75201
                                       Telephone: 737.218.6187
                                       Email: dallaseservice@crowedunlevy.com

                                       -and-

                                       Shelby A. Jordan
                                       State Bar No. 11016700
                                       S.D. No. 2195
                                       Antonio Ortiz
                                       State Bar No. 24074839
                                       S.D. No. 1127322
                                       JORDAN & ORTIZ, P.C.
                                       500 North Shoreline Blvd., Suite 900
                                       Corpus Christi, TX 78401
                                       Telephone: (361) 884-5678
                                       Facsimile: (361) 888-5555
                                       Email: sjordan@jhwclaw.com
                                               aortiz@jhwclaw.com

                                       ATTORNEYS FOR ALEXANDER E. JONES

Dated: January 23, 2024
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                                  I.        INTRODUCTION

        Alexander E. Jones (referred to herein as “Jones” or the “Debtor”), submits this Disclosure
Statement (the “Disclosure Statement”) in connection with the Amended Plan of Reorganization
filed by the Debtor, on January 23, 2024 (the “Plan”). This Disclosure Statement is to be used in
connection with the solicitation of votes on the Plan. A copy of the Plan is attached hereto as
Exhibit A. Unless otherwise defined herein, capitalized terms used herein have the meanings
ascribed thereto in the Plan (see Article I of the Plan entitled “Definitions, Construction, and
Interpretation”).

                        II.    NOTICE TO HOLDERS OF CLAIMS

       The purpose of this Disclosure Statement is to enable Holders of Claims against the Debtor
whose Claims are impaired under the Plan and are entitled to vote on the Plan to make an informed
decision in exercising their right to vote to accept or reject the Plan.

     THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY
BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE PLAN. PLEASE READ
THIS DOCUMENT CAREFULLY.

       On January 24, 2024, the Bankruptcy Court conducted a hearing provisionally approving
the Disclosure Statement and subsequently entered an order pursuant to section 1125 of the
Bankruptcy Code (the “Disclosure Statement Order”) provisionally approving this Disclosure
Statement as containing information of a kind, and in sufficient detail, adequate to enable a
hypothetical, reasonable investor, typical of the solicited holders of Claims against the Debtor, to
make an informed judgment with respect to the acceptance or rejection of the Plan. A copy of the
Disclosure Statement Order is included in the materials accompanying this Disclosure Statement.

     APPROVAL OF THIS DISCLOSURE STATEMENT BY THE BANKRUPTCY COURT
DOES NOT CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT
REGARDING THE FAIRNESS OR MERITS OF THE PLAN.

     THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION, NOR HAS THE
COMMISSION PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
CONTAINED HEREIN.

        Each Holder of a Claim entitled to vote to accept or reject the Plan should read this
Disclosure Statement and the Plan in their entirety before voting. No solicitation of votes to accept
or reject the Plan may be made except pursuant to this Disclosure Statement and section 1125 of
the Bankruptcy Code. Except for the Debtor and his professionals, no person has been authorized
to use or promulgate any information concerning the Debtor, his businesses, or the Plan, other than
the information contained herein, in connection with the solicitation of votes to accept or reject the
Plan. No Holder of a Claim entitled to vote on the Plan should rely upon any information relating
to the Debtor, his businesses, or the Plan other than that contained in the Disclosure Statement and


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the exhibits hereto. Unless otherwise indicated, the sources of all information set forth herein are
the Debtor and his professionals.

       After carefully reviewing this Disclosure Statement, including the attached exhibits,
please indicate your acceptance or rejection of the Plan by voting in favor of or against the
Plan on the enclosed ballot and returning the same, to the address set forth on the ballot, in
the enclosed return envelope so that it will be received by the Balloting Agent, Vickie Driver,
2525 McKinnon Street, Suite 425, Dallas, TX 75201, no later than 5:00 p.m. Central Time on
__________, 2024.

       If you do not vote to accept the Plan, or if you are not entitled to vote on the Plan, you may
be bound by the Plan if it is accepted by the requisite Holders of Claims. See “Solicitation of Votes;
Voting Procedures,” “Vote Required for Class Acceptance,” and “Cramdown” in Article VI
(“Confirmation of the Plan”) below.

        TO BE SURE YOUR BALLOT IS COUNTED, YOUR BALLOT MUST BE
RECEIVED NO LATER THAN 5:00 P.M. CENTRAL TIME ON __________, 2024. For
detailed voting instructions and the name, address, and phone number of the person you may
contact if you have questions regarding the voting procedures, see “Ballots and Voting Deadline”
in Section VI.A.1 below.

       Pursuant to section 1128 of the Bankruptcy Code, the Bankruptcy Court has scheduled a
hearing to consider confirmation of the Plan (the “Confirmation Hearing”) on _____________,
2024, at _________ Central Time, in the United States Bankruptcy Court for the Southern District
of Texas, Houston Division. The Bankruptcy Court has directed that objections, if any, to
confirmation of the Plan be filed and served on or before ___________, 2024, in the manner
described in Section VI.B below under the caption, “Confirmation Hearing.”

    THE DEBTOR SUPPORTS CONFIRMATION OF THE PLAN AND URGES ALL
HOLDERS OF IMPAIRED CLAIMS TO ACCEPT THE PLAN.


Competing plans and disclosure statements have been filed in this Chapter 11 Case by the
Debtor and the Creditor Plan Proponents—comprising the UCC and the Sandy Hook
Plaintiffs. Creditors entitled to vote on each such plan will be asked to evaluate the
competing plans and determine whether to vote in favor of either the Debtor’s Plan or the
Creditors’ Plan based on the information provided in the respective disclosure statements,
plans and related documents. The Creditor Plan Proponents have requested inclusion in this
Disclosure Statement of a statement that the Creditor Plan Proponents disagree with a
number of facts and contentions set forth herein and have concerns about the confirmability
of the Debtor’s Plan, which issues will be addressed at the appropriate time in connection
with the confirmation process. The Creditor Plan Proponents’ views regarding various
issues in this Chapter 11 Case and the best path forward are set forth in detail in the Creditor
Plan Proponents’ Specific Disclosure Statement and the Creditors’ Plan. As such, the
Creditor Plan Proponents have requested this general statement regarding the Creditor Plan
Proponents’ position in lieu of including numerous notes throughout this Disclosure

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Statement indicating points of disagreement. The Debtor and the Creditor Plan Proponents
each reserve all rights in respect of the Debtor’s Plan, the Creditors’ Plan, the Debtor’s
Disclosure Statement, and the Creditor Plan Proponents’ Specific Disclosure Statement.



                         III.    EXPLANATION OF CHAPTER 11

       A. Overview of Chapter 11

        Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Pursuant to
chapter 11, the debtor in possession attempts to reorganize for the benefit of the debtor, its
creditors, and other parties in interest.

        The commencement of a chapter 11 case creates an estate comprising all the legal and
equitable interests of the debtor in property as of the date the bankruptcy petition is filed. Sections
1101, 1107, and 1108 of the Bankruptcy Code provide that a debtor may continue to operate its
business and remain in possession of its property as a “debtor in possession” unless the bankruptcy
court orders the appointment of a trustee. In the present chapter 11 case, the Debtor has remained
in possession of his property and continued to operate his businesses as a debtor in possession.

         The filing of a chapter 11 petition also triggers the automatic stay provisions of the
Bankruptcy Code. Section 362 of the Bankruptcy Code provides, inter alia, for an automatic stay
of all attempts to collect prepetition claims from the debtor or otherwise interfere with its property
or business. Except as otherwise ordered by the bankruptcy court, the automatic stay remains in
full force and effect until the effective date of a confirmed plan of reorganization.

       The formulation of a plan of reorganization is the principal purpose of a chapter 11 case.
The plan sets forth the means for satisfying the claims against and interests in the debtor.

       Generally, unless a trustee is appointed, only the debtor may file a plan during the first 120
days of a chapter 11 case (the “Exclusive Period”). However, section 1121(d) of the Bankruptcy
Code permits the court to extend or reduce the Exclusive Period upon a showing of “cause.” After
the Exclusive Period has expired, a creditor or any other party in interest may file a plan, unless
the debtor has filed a plan within the Exclusive Period, in which case, the debtor is generally given
60 additional days (the “Solicitation Period”) during which it may solicit acceptances of its plan.
The Solicitation Period may also be extended or reduced by the court upon a showing of “cause.”

       In this case, the Exclusive Period expired on or about April 1, 2023.

       B. Plan of Reorganization

        Although referred to as a plan of reorganization, a plan may provide anything from a
complex restructuring of an individual debtor or a debtor’s business(es) and its related obligations
to a simple liquidation of the debtor’s assets. After a plan of reorganization has been filed, the
holders of claims against or interests in a debtor are permitted to vote to accept or reject the plan.


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Before soliciting acceptances of the proposed plan, section 1125 of the Bankruptcy Code requires
the debtor to prepare a disclosure statement containing adequate information of a kind, and in
sufficient detail, to enable a hypothetical reasonable investor to make an informed judgment about
the plan. This Disclosure Statement is presented to Holders of Claims against the Debtor to satisfy
the requirements of section 1125 of the Bankruptcy Code.

        If all classes of claims and equity interests accept a plan of reorganization, the bankruptcy
court may nonetheless decide not to confirm the plan unless the court independently determines
that the requirements of section 1129 of the Bankruptcy Code have been satisfied. Section 1129
sets forth the requirements for confirmation of a plan and, among other things, requires that a plan
meet the “best interests” test and be “feasible.” The “best interests” test generally requires that the
value of the consideration to be distributed to the holders of claims and equity interests under a
plan may not be less than those parties would receive if the debtor were liquidated pursuant to a
hypothetical liquidation occurring under Chapter 7 of the Bankruptcy Code. Under the “feasibility”
requirement, the court generally must find that there is a reasonable probability that the debtor will
be able to meet its obligations under its plan without the need for further financial reorganization.

        The Debtor believes that the Plan satisfies all the applicable requirements of section
1129(a) of the Bankruptcy Code, including, in particular, the “best interests” test and the
“feasibility” requirement. The Debtor supports confirmation of the Plan and urges all Holders of
impaired Claims to accept the Plan.

        Chapter 11 does not require that each holder of a claim against a debtor vote in favor of a
plan of reorganization in order for the bankruptcy court to confirm the plan. At a minimum,
however, the plan must be accepted by a majority in number and two-thirds in amount of those
claims actually voting in at least one class of impaired claims under the plan. The Bankruptcy
Code also defines acceptance of the plan by a class of equity interests (equity securities) as
acceptance by holders of two-thirds of the number of shares actually voting. In the present case,
there are no equity interests in the Debtor and only the Holders of impaired Claims who actually
vote will be counted as either accepting or rejecting the Plan.

        In addition, classes of claims or equity interests that are not “impaired” under a plan of
reorganization are conclusively presumed to have accepted the plan and thus are not entitled to
vote. Accordingly, acceptances of a plan will generally be solicited only from those persons who
hold claims or equity interests in an impaired class. A class is “impaired” if the legal, equitable, or
contractual rights attaching to the claims or equity interests of that class are modified in any way
under the plan. Modification for purposes of determining impairment, however, does not include
curing defaults and reinstating maturity or payment in full in cash. In this case, Holders of certain
Claims are not impaired and are conclusively presumed to accept the Plan and are not entitled to
vote on the Plan. See “Summary of the Plan — Classification and Treatment — Classified Claims”
in section V.C for an identification of impaired and unimpaired Classes of Claims and Interests.

        The bankruptcy court may also confirm a plan of reorganization even though fewer than
all the classes of impaired claims and interests accept it. For a plan of reorganization to be
confirmed despite its rejection by a class of impaired claims or interests, the proponents of the plan
must show, among other things, that the plan does not “discriminate unfairly” and that the plan is


DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT TO DEBTOR’S
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“fair and equitable” with respect to each impaired class of claims or interests that has not accepted
the plan. The process of confirming a plan under these conditions is known as a “cramdown.”

        Under section 1129(b) of the Bankruptcy Code, a plan is “fair and equitable” as to a class
of rejecting claims if, among other things, the plan provides: (a) with respect to secured claims,
that each such holder will receive or retain on account of its claim property that has a value, as of
the effective date of the plan, equal to the allowed amount of such claim; and (b) with respect to
unsecured claims and equity interests, that the holder of any claim or equity interest that is junior
to the claims or equity interests of such class will not receive or retain on account of such junior
claim or equity interest any property at all unless the senior class is paid in full.

        A plan does not “discriminate unfairly” against a rejecting class of claims if (a) the relative
value of the recovery of such class under the plan does not differ materially from that of any class
(or classes) of similarly situated claims, and (b) no senior class of claims is to receive more than
100% of the amount of the claims in such senior class.

       The Debtor believes that the Plan has been structured so that it will satisfy these
requirements as to any rejecting Class of Claims, and can therefore be confirmed, if necessary,
over the objection of any Classes of Claims. The Debtor, therefore, reserves the right to request
confirmation of the Plan under the “cramdown” provisions of section 1129 of the Bankruptcy
Code. See “Cramdown” in section VI.D below.

IV.       HISTORY OF THE DEBTOR, LITIGATION, AND THE CHAPTER 11 CASE

       A. The Debtor

        The Debtor is a prominent media broadcast personality who has spent over twenty-five
years as a talk show host on radio, television, and internet platforms. The Debtor is most famous
for hosting The Alex Jones Show, a news show broadcast through Free Speech System, LLC’s
(“FSS”) platform, which currently airs for approximately three to four hours a day, five days a
week, and where the Debtor discusses and provides opinion on current national and international
events. The Debtor is the founder, manager, and 100% owner of FSS. Most the Debtor’s income
stems from merchandise and dietary supplement sales that are marketed under the InfoWars brand
name.

       B. The Debtor’s Assets

        As of the Petition Date, the Debtor’s primary assets fell into one of three categories: (i)
personal property (including automobiles, boats, watches, etc.); (ii) real property (including a lake
house, ranch, home, rental property, etc.); and (iii) the Debtor’s interests in various business
entities, such as FSS.

       As of the date of filing of this Disclosure Statement, the Debtor’s assets consist of the
following: (i) his homestead in Travis County (the “Homestead”); (ii) the lake house in Travis
County (the “Lakehouse”); (iii) the ranch in Guadalupe County (the “Ranch”); (iv) the rental
property located in Travis County (the “Rental Property”); (v) non-publicly traded stock and


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interests in unincorporated business, including interest in an LLC, partnership, and a joint venture;
(vi) interests in trusts such as the AEJ 2018 Trust, The Missouri779384 Trust and the Recharge
Dynasty Trust;1 (vii) cash and securities in the amount of approximately $1,065,913.67 located in
several accounts; (viii) an income tax refund of $3,885,071.00; (ix) vehicles including the 2017
Ford Expedition, the 2019 Dodge Challenger, and the 2020 Dodge Charger; (x) two boats and
trailers: the 2015 Regal Boats 24 Fasdeck and 2018 Regal Boats 28 Express; (xi) household goods
and furnishings; (xii) fifty-four (54) firearms; (xiii) other personal items such as electronics, sports
equipment, and clothing; and; (xiv) watches or other jewelry; (xv) the contents of several storage
facilities; (xvi) interests in certain executory contracts; and (xvii) various claims against third
parties that have not yet been valued. The appraised value as of March 24, 2023, was $171,636 for
items noted in (ix), (xii), (xiii) and (xiv). All of the addresses for the above-mentioned real property
were filed under seal pursuant to the Court’s Order Granting Motion for Entry of an Order
Authorizing Debtor to File Schedules [Docket No. 530].

        The Debtor has filed applications to employ brokers to sell the Lakehouse and Ranch
properties, as well as the contents of several storage facilities, and has filed a motion with the Court
to sell personal property such as the golfcarts, cars, and firearms. The Debtor anticipates these
motions will be granted in January 2024.

        The fair market value of the Debtor’s business entities identified in Exhibit B are not
readily ascertainable for numerous reasons, including that their value, in large part, depends on the
continued personal services and full commitment of the Debtor, as well as the continued operation
of FSS. These companies are dependent on the Debtor providing his continued services, and
without his constant personal involvement, they would no longer be in a position to generate net
revenue. Additionally, the Debtor’s business has experienced a sizeable reduction in revenues due
to certain negative media publicity and oversaturation of the internet media and supplement
industries. In the weeks and months following the Petition Date, the Debtor began taking steps to
reduce overhead costs, consolidate expenses and wind down inactive companies so that his overall
business operations remain profitable.

      The following is a brief description of the operations of the Debtor’s wholly owned
companies that are currently active and generating income and expenses:

        FSS. FSS is presently engaged in the business of producing and syndicating Jones’ radio
and video talk shows and selling products targeted to Jones’ loyal fan base via the Internet. Today,
FSS produces the Debtor’s syndicated news/talk show (The Alex Jones Show) from Austin, Texas,
which airs via the Genesis Communications Network on over 100 radio stations across the United
States and via the internet through websites including Infowars.com. On its Infowars.com website

1
  The Greenleaf Trust and the Alexander E. Jones Descendant and Beneficiary Trust (the “Other Trusts”), initially set
up by Debtor are not listed as Debtor presently has no interests in these trusts. Therefore, the Other Trusts are irrelevant
to this Disclosure Statement. RXXCTTGAA Trust is a privacy trust that owns the Debtor’s share of his homestead.
The UCC claims that RXXCTTGAA has a bank account with $13,954.01. If this is correct, and the Debtor is the
proper beneficiary of those funds, such funds will be made available to Creditors through the payment terms of the
Plan. The 2022 Litigation Settlement Trust is not controlled by the Debtor. The Debtor believes that the assets that
were transferred to this trust were owned by FSS, not the Debtor. However, to the extent this trust did hold funds to
which the Debtor was the proper beneficiary or owner, such funds would be made available to Creditors through the
payment terms of the Plan.

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today, FSS makes available to customers dietary supplements, ranging from Vitamin D3
Gummies, Ultimate Immune Support Pack, Pollen Block, and other health products, including Tea
Tree Shampoo. The website also has available books, t-shirts, and other products Jones advertises
during his radio talk show. The vast majority of FSS revenues comes from sales of dietary
supplements which have traditionally been supplied by PQPR Holdings Limited, LLC (“PQPR”),
an affiliated entity. As of the filing date of this Disclosure Statement, FSS has 47 employees. FSS
has a unique audience that is highly loyal to the Debtor and purchase products based on the
Debtor’s credibility. Product sales from Infowars.com stores are a significant source of revenue
for FSS. Prepetition, the majority of products were sold through PQPR. However, these sales have
steadily decreased, and, through the FSS Plan, the goal is that sales will cease flowing through
PQPR. Through its online sales channel, FSS currently sells (i) dietary supplements directly
purchased by FSS; (ii) dietary supplements purchased by PQPR and the Debtor; and (iii) books,
DVDs, t-shirts, and other merchandise purchased by FSS. The allocation of proceeds from the sale
of products after credit card processing charges varies depending upon which of the above
categories the product falls under.

         PQPR. Debtor owns a beneficial interest in PQPR through the 2018 AEJ Trust. The Debtor
is both the sole trustee and beneficiary of the 2018 AEJ Trust, which owns 72% of PQPR. PQPR
has historically sold products to FSS, which are then sold through the InfoWars website. The
Debtor’s 72% interest has not been professionally appraised in over five years, and, since the filing
of this Case, PQPR’s business has significantly diminished. Further, an outstanding lawsuit by
FSS against PQPR (the “PQPR Suit”)2 may yield monetary reward for FSS in the event FSS
prevails, thereby further depriving PQPR of value. [See Adv. No. 23-0217; Amended Complaint
at Docket No. 5]. Any value of this entity is based on the ability of the Debtor to sell through FSS,
and FSS’s First Amended Plan of Reorganization Under Subchapter V of the Bankruptcy Code
(the “FSS Plan”) shows sales of PQPR supplements substantially diminishing over time. As a
result, this will degrade any value the Debtor has in PQPR.

         Other Entities in Which the Debtor Has Ownership Interest. Certain entities that the Debtor
holds full ownership interests in are inactive and have been since the Petition Date. These entities
include Guadalupe County Land and Water, LLC; Magnolia Management, LP; Jones Productions;
Emric Productions LLC; Jones Report, LLC; Jones Productions, LLC; Magnolia Holdings Limited
Partnerships, LLC; Austin Shiprock Publishing, LLC; AEJ Austin Holdings, LLC; IWHealth,
LLC; Planet Infowars, LLC; PJLR Holdings, LLC; Prison Planet TV, LLC; RCGJ, LLC; and AEJ
Holdings, LLC (the “Inactive Entities”). Some of these entities have forfeited their existence due
to failure to pay administrative fees or file documents necessary to ensure these entities’ continued
existence. There is currently no intention to revive these Inactive Entities.

        Parties in interest who desire a more detailed view of the financial conditions of the
Debtor’s businesses are directed to the Debtor’s Monthly Operating Reports and associated
amendments [at Docket Nos. 172, 173, 256, 257, 258, 261, 392, 446] and Statements of Financial
Affairs and associated amendments [at Docket Nos. 162, 232, 233, 234, 243, 503].



2
 The PQPR Suit seeks, inter alia, recovery of funds under theories of fraudulent transfer and preference. While
PQPR maintains defenses against the PQPR Suit, the outcome is still pending.

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       C. Factors Leading to Chapter 11 Filing

               1. Sandy Hook Litigation

        The Debtor is a skeptical person and has a general distrust of the government. When the
Sandy Hook shooting occurred, the Debtor viewed the official narrative flowing from local
government and mainstream media with skepticism, as he does with virtually all news events
covered by mainstream media. One day on his show, Jones claimed that, while he did not know
what happened, it would not surprise him if the government staged the Sandy Hook shooting to
stir chaos that might lead to restrictions on Americans’ access to guns. After, Jones continued to
cover the event’s official narrative with skepticism, pointing out inconsistencies in the coverage
of the shooting and testing the veracity of the official Sandy Hook narrative. The following suits
ensued and left Jones liable for approximately $1.5 billion in judgments—an amount that far
outweighs any calculation of his assets—thus necessitating the Debtor’s bankruptcy filing.

                         a. Fontaine v. Jones

       On April 2, 2018, Marcel Fontaine (“Fontaine”) filed suit against Jones, InfoWars, FSS,
and one InfoWars employee for defamation, claiming that Jones falsely identified Fontaine as the
shooter in the 2018 Stoneman Douglas High School shooting. After Fontaine’s death, his estate
took over the case. Although the Texas court previously dismissed this suit against the Debtor, the
time for further appeal of the decisison has not yet run.

                         b. Pozner and De La Rosa v. Jones

      On April 16, 2018, Leonard Pozner and Veronique De La Rosa, parents of one of the Sandy
Hook shooting victims, filed suit against Jones, InfoWars, and FSS in Texas state court for
defamation. This suit was ultimately combined with the Heslin v. Jones suit.

                         c. Heslin v. Jones

        On April 16, 2018, Neil Heslin (“Heslin”) and Scarlett Lewis (“Lewis”), also parents of
one of the Sandy Hook victims, filed suit in Texas state court for defamation. On September 27,
2021, Judge Guerra issued three default judgments against the Debtor for purported discovery
violations, requiring him to pay all damages in the Pozner and Heslin suits. On August 4, 2022, a
Texas jury ordered Jones to pay Heslin and Lewis $4.1 million in compensatory damages. On
August 5, 2022, the jury ordered Jones to pay an additional $45.2 million in punitive damages.

                         d. Lafferty et al. v. Jones

        On June 26, 2018, seven families of victims and an FBI agent who responded to the attack
filed a defamation suit against Jones in Connecticut against Jones, InfoWars, FSS, Infowars
Health, and others. On November 15, 2021, the judge found Jones liable for defamation by default,
noting “willful non-compliance” through failure to turn over discoverable documents. On October
12, 2022, the jury awarded $965 million in damages to be distributed among the various plaintiffs.



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On November 10, 2022, the judge awarded the plaintiffs an additional $473 million in punitive
damages.

                         e. Sherlach v. Jones

       On July 24, 2018, William Sherlach, husband of one of the victims, filed a defamation suit
in Connecticut against Jones, Infowars, FSS, and Infowars Health. This lawsuit was combined
with Lafferty et al. v. Jones.

       D. Commencement of the Chapter 11 Case

        On December 2, 2022, Jones filed a voluntary petition for relief under chapter 11 of title
11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532, initiating this bankruptcy case.

       E. Significant Events Since Commencement of Chapter 11 Case

               1. Continuation of the Debtor’s Business

      Since the filing of the Chapter 11 case, the Debtor has continued to operate his businesses
and manage his property as debtor-in-possession.

               2. Retention of Professionals

                         a. Bankruptcy Counsel

       On December 20, 2022, the Debtor filed an Application to Employ Crowe & Dunlevy, P.C.,
as Bankruptcy Co-Counsel. The next day, Shelby Jordan filed a similar Application to Employ
Jordan & Ortiz, P.C. as Co-Counsel. These Applications were approved by the Court on January
20, 2022. Both Crowe & Dunlevy, P.C. and Jordan & Ortiz, P.C. have remained bankruptcy
counsel for the Debtor since the inception of the case.

                         b. Financial Advisor

        On December 29, 2022, the Debtor filed his Application to Employ Blackbriar Advisors,
LLC as Financial Advisor. This Application was approved by the Court on January 20, 2023.
Blackbriar Advisors, LLC have remained in their role as financial advisor for the Debtor since the
inception of this case.

                         c. Other Professionals

        On December 13, 2022, the Debtor filed an Application to Employ Rachel Kennerly, LLC
as Tax Accountant. This Application was approved by the Court on January 20, 2023. Rachel
Kennerly, LLC have remained in their role as a tax accountant for the Debtor since the inception
of the case.




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       On January 7, 2023, the Debtor moved to employ The Reynal Firm, P.C., and Martin,
Disiere, Jefferson, & Wisdom, LLP as special counsel. These motions were approved by the Court
on February 28, 2023.

        On June 20, 2023, the Debtor filed an expedited motion to employ Pattis & Smith, LLC as
special counsel. The Application was approved by the Court on July 5, 2023.

       On December 21, 2023 the Debtor moved to employ several real estate brokers to liquidate
the Lakehouse, Ranch, and contents of the storage facilities. The Court has yet to rule on these
motions.

               3. Schedules and Statements of Financial Affairs

       On February 14, 2023, the Debtor filed his Schedules and Statements of Financial Affairs
(as amended, the “Schedules and Statements”). Amended Schedules were filed on March 30, 2023;
April 18, 2023; and November 26, 2023.

               4. Motion for Summary Judgment

                         a. Connecticut

        On March 10, 2023, Plaintiffs David Wheeler, Francine Wheeler, Jacqueline Barden, Mark
Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M.
Soto, Jillian Soto Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica Lafferty
(collectively, the “Connecticut Plaintiffs”) filed their Adversary Complaint Seeking Judgment that
Sandy Hook Judgment is Non-Dischargeable under Bankruptcy Code § 523(a) (the “Complaint”)
(Adv. Doc. 1) seeking a declaration that the Debtor’s debts to the Connecticut Plaintiffs were
nondischargeable. The debts they sought to have declared nondischargeable stem from a state-
court judgment entered against the Debtor in the amount of $1.436 billion for statements he made
concerning the 2013 Sandy Hook Elementary School shooting. The Connecticut Plaintiffs filed
their motion for summary judgment (Adv. Doc. 57-60) on May 12, 2023; the Debtor filed his
response (Adv. Doc. 61) on June 13, 2023; and Connecticut Plaintiffs filed their reply (Adv. Doc.
66) on July 14, 2023. On October 19, 2023, the Bankruptcy Court issued its order (Adv. Doc. 76)
on Connecticut Plaintiff’s motion for summary judgment, where it granted summary judgment on
the $965 million debt for compensatory damages awarded in the underlying Connecticut action
for defamation and IIED. The court also granted summary judgment on the $150 million debt for
punitive damages under the Connecticut Uniform Trade Practices Act (“CUTPA”). However,
summary judgment was denied as to the $321.65 million in attorneys’ fees and $1,489,555.94 in
costs awarded as common law punitive damages.

        On November 2, 2023, the Debtor filed a motion for leave to appeal the Bankruptcy Court’s
interlocutory order in the United States District Court for the Southern District of Texas. See
Wheeler v. Jones, 23-CV-4240. In his motion, the Debtor asked the district court to hear his
interlocutory appeal because it involved a controlling question of law, there were substantial
grounds for difference of opinion, and an immediate appeal would materially advance the ultimate
termination of the litigation. The Connecticut Plaintiffs filed their response (D.C. Doc. 10) on


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November 16, 2023, and the Debtor filed his reply (D.C. Doc. 13) on December 4, 2023. As of the
date of this filing, the Southern District of Texas has not made a determination of whether it is
going to grant the Debtor leave to file an interlocutory appeal of the Bankruptcy Court’s order
partially granting the Connecticut Plaintiff’s motion for summary judgment.

                          b. Texas

        On March 10, 2023, Plaintiffs Neil Heslin, Scarlett Lewis, Leonard Pozner, and Veronique
De La Rosa (collectively, the “Texas Plaintiffs” and together with the Connecticut Plaintiffs, the
“Sandy Hook Plaintiffs”), filed an adversary action against Debtor seeking a declaratory judgment
that the damages arising out of the Heslin/Lewis Action, and the unliquidated damages arising out
of the Pozner/De La Rosa Action are nondischargeable under 11 U.S.C. § 523(a)(6). (Adv. Proc.
23-3035, Doc. 1). The debt Helsin and Lewis sought to have declared nondischargeable stem from
a state-court judgment entered against Debtor in the amount of approximately $44 million for
statements he made concerning the 2013 Sandy Hook Elementary School shooting. The debt
Pozner and De La Rosa sought to have declared nondischargeable is an unliquidated judgment that
has yet to go to trial for the same statements concerning the 2013 Sandy Hook Elementary School
shooting. The Texas Plaintiffs filed their motion for summary judgment (Adv. Doc. 27-28) on May
12, 2023; the Debtor filed his response (Adv. Doc. 32) on June 13, 2023; and the Texas Plaintiffs
filed their reply (Adv. Doc. 37) on July 14, 2023. On October 19, 2023, the Bankruptcy Court
issued its order (Adv. Doc. 48) on the Texas Plaintiff’s motion for summary judgment.

        The Bankruptcy Court granted summary judgment on the Heslin defamation debt claim,
consisting of $110,000 in compensatory damages and $4.2 million in exemplary damages. The
Bankruptcy Court also partially granted summary judgment on Heslin and Lewis’s IIED claims,
reasoning that the Debtor committed willful and malicious injury to Heslin and Lewis based on
the deemed admissions concerning the IIED claims. However, the Bankruptcy Court determined
that the jury was asked to find damages based on intentional or reckless acts, and thus, a trial must
be conducted to see what damages stem from the admitted allegations constituting willful and
malicious injury. Finally, the Court granted summary judgment concerning Pozner and De La
Rosa, reasoning that the Debtor committed willful and malicious injury to them based on the
deemed admissions concerning the defamation and IIED claims. However, just as it did with the
Heslin/Lewis Action, the Bankruptcy Court determined that a trial must proceed in the Bankruptcy
Court to determine the amount of damages based on the willful and malicious injuries.

         On November 2, 2023, the Debtor filed a motion for leave to appeal the Bankruptcy Court’s
interlocutory order in the United States District Court for the Southern District of Texas. See Helsin
v. Jones, 23-CV-4238. In his motion, the Debtor asked the district court to hear his interlocutory
appeal because it involved a controlling question of law, there were substantial grounds for
difference of opinion, and an immediate appeal would materially advance the ultimate termination
of the litigation. (D.C. Doc. 2). Texas Plaintiffs filed their response (D.C. Doc. 10) on November
16, 2023, and the Debtor filed his reply (D.C. Doc. 13) on December 4, 2023. As of the date of
this filing, the Southern District of Texas has not made a determination of whether it is going to
grant the Debtor leave to file an interlocutory appeal of the Bankruptcy Court’s order partially
granting the Texas Plaintiff’s motion for summary judgment.



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               5. Committee Discovery Efforts

       Since the Petition Date, the Debtor has responded to and complied with the Official
Committee for Unsecured Creditors’ thirty-five (35) 2004 Requests for Examination and five (5)
deposition requests. The Debtor has also produced over 33,000 documents totaling over 148,000
pages.

               6. Filing of Creditors’ Plan

        On December 15, 2023, the Creditors filed Creditors’ Non-Uniform Individual Chapter 11
Plan of Liquidation for Alexander E. Jones.

               7. Filing of the Debtor’s Plan

        On December 15, 2023, the Debtor filed Debtor’s Plan of Reorganization. The Debtor
filed his Amended Plan of Reorganization [Docket No. __] on January 23, 2024.

       F. Summary of Claims Filed or Asserted Against the Debtor

        As of the date of the filing of this Disclosure Statement, the following Claims are asserted
against the Debtor: (a) the Secured Claim of Bank of America in the amount of $26,354.73 plus
accrued and unpaid interest; (b) the Security Bank of Crawford Claim in the amount of $80,161.04
plus accrued and unpaid interest; (c) the American Express Claim in the amount of $150,000; (d)
the IRS Claim in the amount of $586,884.64; (e) a DSO Claim, not from Erika Jones, identified at
item 4.12 of the Schedules and Statements; (f) the Reeves Law, PPLC Claim in the amount of
$24,611.13; (g) the City of Austin Claim in the amount of $86.60; and (h) the judgments of the
Sandy Hook Plaintiffs totaling approximately $1.4 billion. The Debtor has not yet evaluated the
Claims and Claim Objections have not yet been filed.

                             V.     SUMMARY OF THE PLAN

       A. General Overview

       The Plan you are being asked to vote on is attached as Exhibit A. You must carefully
review the Plan before voting in favor of or against it.

        The Debtor believes that the Plan provides for fair and equitable treatment to those
creditors. The Plan provides for the treatment of the Claims and provides that the assets of the
Debtor will revest in the Debtor on the Effective Date, free and clear of all Claims except as
provided under the Plan. After the Effective Date, the Debtor may operate his businesses and buy,
use, and otherwise acquire and dispose of its properties free of any restrictions contained in the
Bankruptcy Code, except as otherwise provided in the Plan.




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       B. Summary of the Plan


          The Plan provides for the reorganization of the Debtor and the payment of Allowed
  Claims through: (a) the continued orderly liquidation of certain non-exempt assets of the
  Debtor; (b) the settlement of various estate claims against individuals and businesses; and (c)
  the Debtor’s commitment to contribute substantial funds from his future income. More
  specifically, the Debtor will contribute 100% of the Net Disposable Income of Free Speech
  System, LLC (“FSS”) as set forth in the FSS Plan and 50% of the Debtor’s Plan Income to
  both settling and non-settling parties, until such time as certain minimum payments have been
  contributed for settling parties, and then 25% of the Debtor’s Plan Income over the remaining
  Plan Term to non-settling parties. As a result, all allowed administrative claims, priority
  claims, and secured claims will be paid in full, and allowed unsecured creditors will receive a
  substantial Distribution (and significantly more than they would receive in a liquidation
  whether through a liquidating chapter 11 plan or a chapter 7).



        The Plan also allows for unsecured creditors to opt in to a “settling class” allowing for
faster payment of their claims and repayment from certain non-exempt assets of the Debtor in
exchange for settlement of certain existing litigation claims. This settlement class facilitates the
Plan and benefits all stakeholders by resolving pending litigation that would otherwise be both
costly and time consuming for the Debtor and the bankruptcy estate. Finally, the Plan incentivizes
the Debtor to satisfy his obligations to fund the Plan as soon as possible to accelerate payments to
creditors.

       C. Classification and Treatment

       All Claims except Administrative Claims are placed in the Classes set forth below.

        The Plan contemplates separate Classes for the Debtor for voting and distribution purposes.
To the extent a Class contains one or more subclasses, each subclass is deemed to be a separate
Class for all purposes under the Bankruptcy Code and the Plan.

        Except for the unclassified Claims discussed in Article II above, Section 3.02 of the Plan
sets forth a designation of Claims in accordance with Bankruptcy Code section 1122(a). A Claim
is classified in a particular Class only to the extent any portion of the Claim qualifies within the
description of the Class and is classified in a different Class to the extent any portion of the Claim
qualifies within the description of that different Class. If a Claim is acquired or transferred, the
Claim shall be placed in the Class in which it would have been placed if it were owned by the
original Holder of such Claim. A Claim is also placed in a particular Class for the purpose of
receiving Distributions only to the extent that such Claim is an Allowed Claim in that Class and
such Claim has not been paid, satisfied, or released before the Effective Date.

       THIS IS ONLY A SUMMARY OF CERTAIN PROVISIONS OF THE PLAN.
       THE PLAN INCLUDES OTHER PROVISIONS THAT MAY AFFECT YOUR


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        RIGHTS. YOU ARE URGED TO READ THE PLAN IN ITS ENTIRETY
        BEFORE VOTING ON THE PLAN.

                 1. Unclassified Claims

        In accordance with section 1123(a)(1) of the Bankruptcy Code, unclassified Claims against
the Debtor consists of Administrative Claims and Domestic Support Obligations . However, for
ease of reading, the Plan includes Priority Tax Claims under the Classified Claims section. Based
on his books and records and projections for future expenses, the Debtor presently estimates the
amounts of such Claims as follows:3

                 Administrative Expense Claims                $5.3M

                 Domestic Support Obligations                 TBP 4

                              a. Administrative Claims

        Time for Filing Administrative Claims. The Holder of any Administrative Claim that is
incurred, accrued, or in existence prior to the Effective Date, other than (i) a Fee Claim, (ii) an
Allowed Administrative Claim, or (iii) a liability incurred in the Ordinary Course of Business must
file with the Bankruptcy Court and serve on all parties required to receive such notice a request
for the allowance of such Administrative Claim on or before thirty (30) days after the Effective
Date. Such request must include at a minimum (i) the name of the Holder of the Claim, (ii) the
amount of the Claim, and (iii) the basis of the Claim. Failure to timely and properly file and serve
the request required under the Section shall result in the Administrative Claim being forever barred
and discharged. Objections to such requests must be filed and served pursuant to the Bankruptcy
Rules on the requesting party and the Debtor within thirty (30) days after the filing of the applicable
request for payment of an Administrative Claim.

        Time for Filing Fee Claims. Any Person who holds or asserts an Administrative Claim that
is a Fee Claim shall be required to file with the Bankruptcy Court and serve on all parties required
to receive such notice a Fee Application within sixty (60) days after the Effective Date. Failure to
timely and properly file and serve a Fee Application as required under this Section shall result in
the Fee Claim being forever barred and discharged. No Fee Claim will be deemed Allowed until
an order allowing the Fee Claim becomes a Final Order. Objections to Fee Applications must be
filed and served pursuant to the Bankruptcy Rules on the Debtor and the Person to whose
application the objections are directed or made within thirty (30) days after the filing of the Fee
Application subject to objection. No hearing may be held on a specific Fee Application until the
foregoing objection period with respect to that Fee Application has expired.




3
  The estimates for Administrative Expenses include the estimated fees of the Debtor’s professionals through
confirmation for the Debtor. To the extent confirmation is delayed beyond the time frame anticipated, Administrative
Expenses will increase.
4
  As of the Petition Date, the Debtor owed no Domestic Support Obligations (“DSOs”). Future DSOs will be paid
through automatic payroll deductions.

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        Allowance for Administrative Claims. An Administrative Claim with respect to which
request for payment is required and has been properly filed pursuant to Section 2.01 of the Plan
shall become an Allowed Administrative Claim if no timely objection is filed. If a timely objection
is filed, the Administrative Claim shall become an Allowed Administrative Claim only to the
extent Allowed by a Final Order. An Administrative Claim that is a Fee Claim, and with respect
to which a Fee Application has been properly filed and served pursuant to Section 2.01 of the Plan,
shall become an Allowed Administrative Claim only to the extent Allowed by a Final Order.

        Payment of Allowed Administrative Claims. Except to the extent that a Holder of an
Allowed Administrative Claim has been paid prior to the Effective Date with respect to
Administrative Claims against the Debtor, or agrees to a different treatment, each Holder of an
Allowed Administrative Claim (other than Allowed Administrative Claims incurred in the
Ordinary Course of Business, which are paid pursuant to Section 2.01), shall receive, in full
satisfaction, release and discharge of and exchange for such Administrative Claim, and after the
application of any retainer or deposit held by such Holder, Cash equal to the Allowed amount of
such Administrative Claim within ten (10) Business Days after the Allowance Date with respect
to such Allowed Administrative Claim.

        Administrative Claims Incurred in the Ordinary Course of Business. Holders of
Administrative Claims based on liabilities incurred in the Ordinary Course of Business of the
Debtor during the Bankruptcy Case (other than Claims of governmental units for taxes or Claims
and/or penalties related to such taxes, or alleged Administrative Claims arising in contract or tort)
shall not be required to file any request for payment of such Claims. Each Administrative Claim
incurred in the Ordinary Course of Business of the Debtor paid pursuant to the terms and conditions
of the transaction giving rise to such Administrative Claim. The Debtor reserves and shall have
the right to object before the Objection Deadline to any Administrative Claim arising, or asserted
as arising, in the Ordinary Course of Business, and shall withhold payment of such claim until
such time as any objection is resolved pursuant to a settlement or a Final Order.

                          b. Domestic Support Obligations

        On the Effective Date, the Debtor shall make any payments which may be required to
comply with any unfunded obligations on account of any Domestic Support Obligations arising
under section 1129(a)(14) of the Bankruptcy Code. The Debtor is not aware of any unpaid DSOs
as of the date of the filing of this Disclosure Statement, but future DSOs will be funded in the
ordinary course through payroll deductions.

                          c. U.S. Trustee Fees

        The Debtor shall timely pay to the United States Trustee all quarterly fees incurred by the
Debtor pursuant to 28 U.S.C. § 1930(a)(6) until the Bankruptcy Court of the Debtor is closed or
dismissed. The Debtor shall serve on the United States Trustee a quarterly financial report for each
quarter (or portion thereof) after the Effective Date that the Debtor’s Bankruptcy Case remains
open.

               2. Classified Claims


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           UNLESS OTHERWISE NOTED, THE DEBTOR’S ESTIMATES OF THE
           NUMBER AND AMOUNT OF CLAIMS IN EACH CLASS SET FORTH IN THE
           TABLE BELOW INCLUDE ALL CLAIMS ASSERTED AGAINST THE
           DEBTOR WITHOUT REGARD TO THE VALIDITY OR TIMELINESS OF THE
           FILING OF THE CLAIMS. THUS, BY INCLUDING ANY CLAIM IN THE
           ESTIMATES SET FORTH BELOW, THE DEBTOR IS NOT WAIVING ITS
           RIGHTS TO OBJECT TO ANY CLAIM ON OR BEFORE THE CLAIM
           OBJECTION DEADLINE ESTABLISHED BY THE PLAN.

          The following tables summarize the classification and treatment of the Claims against the
   Debtor, an estimate of the numbers and amounts of Claims in each class (such amounts are derived
   from the Debtor’s Schedules, Proofs of Claims filed by Creditors, or other findings of the Court),
   and the impaired or unimpaired nature of each class:5

Class                                  Treatment
Class 1: Non-Tax Priority              Unimpaired.
Claims
                                       The Holders of such Unimpaired Claims are conclusively presumed to have
                                       accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                       entitled to vote on the Plan.

                                       On or as soon as practicable after the later of (a) the Initial Distribution Date
                                       or (b) the Allowance Date with respect to a Non-Tax Priority claim shall
                                       receive from the Debtor, in full satisfaction, settlement, release, and
                                       discharge of and in exchange for such Allowed Non-Tax Priority Claims, (y)
                                       Cash in amount equal to the Allowed amount of its Non-Tax Priority Claim,
                                       or (z) such other, less favorable treatment to which such Holder and the
                                       Debtor agrees in writing. To the extent an Allowed Non-Tax Priority Claim
                                       entitled to priority treatment under 11 U.S.C.§§ 507(a)(4) or (5) exceeds the
                                       statutory cap applicable to such Claim, such excess amount shall be treated
                                       as a Class 6 General Unsecured Claim against the Debtor.

                                       Estimated Recovery: 100% of Allowed Claim
Class 2: Priority and Secured          Unimpaired.
Tax Claims
                                       The Holders of such Unimpaired Claims are conclusively presumed to have
                                       accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                       entitled to vote on the Plan.

                                       With respect to any Allowed Priority Tax Claim, to the extent not already
                                       paid or otherwise satisfied, on or as soon as practicable after the later of (a)
                                       the Initial Distribution Date or (b) the Allowance Date, with respect to a
                                       Priority Tax Claim, each Holder of an Allowed Priority Tax Claim shall
                                       receive from the Debtor in full satisfaction, settlement, release, and discharge
                                       of and in exchange for such Allowed Priority Tax Claim, (x) Cash equal to
                                       the Allowed Amount of its Allowed Priority Tax Claim, plus interest thereon


   5
    Estimated recovery for Classes 5 and 6 cannot be ascertained until the Debtor is able to determine which Claimants
   opt-in to Class 5. However, for Classes 5 and 6 combined, it is an estimated approximately 3% recovery.

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                                 at the rate provided under applicable non-bankruptcy law pursuant to section
                                 511 of the Bankruptcy Code from the Petition Date through the date such
                                 Claim is paid in full, or (z) such other, less favorable treatment as may be
                                 agreed upon in writing by such Holder and the Debtor.

                                 Notwithstanding any other provision of the Plan, each Holder of an Allowed
                                 Secured Tax Claim shall retain its Lien on any Collateral that secures its
                                 Claim or the proceeds of such Collateral (to the extent such Collateral is sold
                                 by the Debtor, free and clear of such Lien) to the same extent and with the
                                 same validity and priority as such Lien held as of the Petition Date until (a)
                                 the Holder of such Allowed Priority Tax Claim (i) has been paid Cash equal
                                 to value of its Allowed Priority Tax claim and/or (ii) has received a return of
                                 the Collateral securing its Allowed Secured Tax Claim, or (iii) has been
                                 afforded such other treatment as to which such Holder and the Debtor have
                                 agreed upon in writing, or (b) such purported Lien has been determined by a
                                 Final Order to be invalid or avoidable. To the extent that a
                                 Priority Claim exceeds the value of the interest of the Estate in the property
                                 that secured such Claim, such Claim shall be deemed Disallowed pursuant to
                                 Bankruptcy Code 502(b)(3).

                                 If the Debtor fails to timely make any payments to a Holder of an Allowed
                                 Secured Tax Claim as required under Section 5.02 of the Plan, the affected
                                 Holder of an Allowed Secured Tax Claim may send written notice of default
                                 to the Debtor. If the default is not cured within twenty-one (21) days after
                                 notice of default is mailed, such Holder may proceed with any remedies for
                                 collection of amounts due under applicable non-bankruptcy law without
                                 further order of the Bankruptcy Court.


                                 Estimated Recovery: 100% of Allowed Claim
Class 3: Secured Claim of Bank   Unimpaired.
of America
                                 The Holders of such Unimpaired Claims are conclusively presumed to have
                                 accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                 entitled to vote on the Plan.

                                 Allowance. The Allowed amount of the Class 3 Secured Claim shall be equal
                                 to the aggregate of (1) $26,354.73, plus (2) accrued and unpaid interest at the
                                 Contract Rate from the Petition Date until the Rental Property is sold and
                                 such claim is paid in full, less any payment made on account of such Claim
                                 from and after the Petition Date that are required to be applied as payments
                                 of principal pursuant to an Order of the Bankruptcy Court.

                                 Treatment. Except to the extent that the Holder of the Allowed Class 3
                                 Secured Claim agrees to less favorable treatment of such Allowed Class 3
                                 Secured Claim, the Holder of the Allowed Class 3 Secured Claim shall
                                 receive from the Debtor, in full satisfaction, settlement, release, and
                                 discharge of and in exchange for such Allowed Class 3 Secured Claim, Cash
                                 in an amount equal to such Allowed Class 3 Secured Claim on the later of (i)
                                 the Effective Date, or (ii) the date the Rental Property is sold and the Debtor
                                 has received the Net Proceeds of such sale in immediately available funds.

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                               As of the Effective Date, the Debtor’s obligations under the loan documents
                               giving rise to the Allowed Class 3 Secured Claim, shall be reinstated and
                               Bank of America shall retain its lien rights pending sale of the Rental
                               Property and payment of the Class 3 Claim in full.

                               Estimated Recovery: 100% of Allowed Claim
Class 4: Secured Claim of      Unimpaired.
Security of Bank of Crawford
                               The Holders of such Unimpaired Claims are conclusively presumed to have
                               accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                               entitled to vote on the Plan.

                               Allowance. The Allowed amount of the Secured Claim of Security Bank
                               shall be equal to the aggregation of (1) $ 80,161.04, plus (2) accrued and
                               unpaid interests at the Contract Rate from the Petition Date until the Effective
                               Date, less any payments made on account of such Claim from and after the
                               Petition Date and applied to the principal amount of such Claim as required
                               by the Bankruptcy Code.

                               Treatment. From and after the Effective Date, the Debtor shall reinstate his
                               existing guarantor obligations under the applicable loan documents with
                               respect to the Class 4 Claim of Security Bank of Crawford, secured by the
                               existing collateral, until such time as the loan obligations are paid in full.

                               Estimated Recovery: 100% of Allowed Claim
Class 5: Unsecured “Opt-In     Impaired.
Settlement” Class
                               Allowance. On the Effective Date, the Opt-In Settlement Unsecured Claims
                               shall consist of the Claims of the Electing Plaintiffs.

                               Each Electing Plaintiff shall receive Cash in the amount of:
                               i)     such Electing Plaintiff’s Electing Plaintiff Pro Rata Share of 70%
                                      of the Net Proceeds from the sale or other monetization of Non-
                                      Exempt Assets, as soon as reasonably practicable following the
                                      receipt of such Net Proceeds; and

                               ii)     from the Effective Date until the year in which the Payment Trigger
                                       occurs, the greater of such Electing Plaintiff’s (x) Minimum
                                       Annual Distribution or (y) Plaintiff Pro Rata Share of the Income
                                       Stream Payment on an annual basis. The Electing Plaintiffs shall
                                       cease receiving Distributions under this Plan beginning the year
                                       following the occurrence of the Payment Trigger; provided; that
                                       Electing Plaintiffs may continue to receive payments under the FSS
                                       Plan and FSS Trust to the extent applicable. Payments under this
                                       paragraph shall be made on or before the first Business Day in May
                                       of each year following the Effective Date.

                                       The Net Proceeds from the liquidation of the Non-Exempt Assets
                               including Cash paid to the Debtor on the Initial Distribution shall reduce the
                               Minimum Annual Distribution for the first Plan Year.


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                       Each Electing Plaintiff shall have an Allowed Claim in the amount set forth
                       next to such person’s name on Plan Exhibit A. No further litigation with
                       respect to conduct occurring on or prior to the Confirmation Date shall be
                       pursued on behalf of Electing Plaintiffs against the Debtor or any Related
                       Party.


                       Treatment. The Opt-In Settlement Unsecured Claims treatment shall be in
                       full satisfaction, settlement, release, and discharge of and in exchange for
                       such Allowed Claim. Such Claims shall be discharged after payments are
                       made as set forth herein. Also, for each year in which no uncured Plan
                       Default occurs, 10% of each Opt-In Settlement Unsecured Claim shall be
                       waived and forever discharged. However, whatever Opt-In Settlement
                       Unsecured Claims that are not paid under the Plan or waived and discharged
                       pursuant to the preceding sentence, shall be deemed to be non-dischargeable
                       without further court process in the event of a final, uncured Plan Default.
                       The Debtor, the Disbursement Agent and the Electing Plaintiffs will work
                       cooperatively to determine the most tax efficient method of distribution,
                       which may include the Debtor directing FSS to make Income Stream
                       Payments from FSS or from the FSS Trust to the extent practicable.

                       Settlement Injunction. As consideration for the concessions made by the
                       Electing Plaintiffs herein, the Debtor agrees that, without first obtaining the
                       permission of all Electing Plaintiffs, the Debtor may not in any way publicly
                       discuss the 2012 mass shooting at Sandy Hook Elementary School, the
                       Electing Plaintiffs, the Electing Plaintiffs’ family members (including
                       victims of the Sandy Hook shooting) or any Claims or litigation arising from
                       or relating to Debtor’s past statements about the Sandy Hook mass
                       shooting—other than to state that he has no comment about such events or
                       individuals. The Debtor will take all reasonable steps to ensure that FSS
                       does not make a public statement that the Debtor would be prohibited from
                       making under this paragraph. Failure by Debtor to comply with this
                       provision constitutes a Plan Default enforceable by the Electing Plaintiffs.

                       So long as no Plan Default has occurred and is continuing, the Electing
                       Plaintiffs agree that they will not seek to have Debtor or FSS removed from
                       any forums or platforms (electronic or physical), unless such forums or
                       platforms are owned or controlled by Electing Plaintiffs. So long as no Plan
                       Default has occurred and is continuing, the Electing Plaintiffs agree that
                       they will not seek to have any statements by Debtor or FSS removed from
                       any forums or platforms (electronic or physical), unless such forums or
                       platforms are owned or controlled by Electing Plaintiffs. Notwithstanding
                       anything else to the foregoing, Electing Plaintiffs shall not disparage the
                       Debtor or FSS and will make no public comment on the legal claims giving
                       rise to the Electing Plaintiffs’ Allowed Claims, or the treatment thereof
                       under the Plan. If Electing Plaintiffs do not comply with the terms set out
                       in this paragraph, Debtor may seek relief from the Bankruptcy Court,
                       including injunctive relief.




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Class 6: General Unsecured          Impaired.
Claims
                                    Following the Allowance Date of each General Unsecured Claim, after the
                                    resolution of any existing appeals or litigation of such Claims, and except
                                    to the extent that a Holder of an Allowed General Unsecured Claim agrees,
                                    under the terms of a writing executed by such Holder, to less favorable
                                    treatment of such Allowed General Unsecured Claim, each Holder of an
                                    Allowed General Unsecured Claim shall receive from the Debtor, in
                                    exchange for such Allowed General Unsecured Claim, such Holder’s GUC
                                    Pro Rata Share of (x) prior to the occurrence of the Plan Trigger, the amount
                                    of the Income Stream Payment remaining after Electing Plaintiffs are paid
                                    pursuant to the terms of Section 5.05 of the Plan, and (y) beginning the year
                                    following the occurrence of the Payment Trigger, all of the Income Stream
                                    Payment. Non-Electing Plaintiffs will be enjoined against collecting against
                                    the Debtor during the Plan Term; however, such Non-Electing Plaintiffs
                                    may, to the extent such Holder has a non-dischargeable claim, collect
                                    against the Debtor’s non-exempt assets, unless such Claim is otherwise
                                    stayed, following the end of the Plan Term. Any Claims of Non-Electing
                                    Plaintiffs shall be reduced by any payments received by such claimants
                                    under the Plan.

                                    After the Initial Distribution, annual payments shall be made on or before the
                                    first Business Day in the fifth month of the Plan Year.



Class 7: Administrative             Impaired.
Convenience Claims
                                    Each Holder of an Allowed Unsecured Claim in the amount of $5,000 or less,
                                    or such Holders as agree to reduce their Claim to $5,000, shall receive from
                                    the Debtor, in full satisfaction, settlement, release, and discharge of and in
                                    exchange for such Allowed Claim, a Cash payment as soon as reasonably
                                    practicable following the Effective Date in the full amount of such Allowed
                                    Claim. Insiders with Allowed Claims may opt to settle their Claims to be paid
                                    as an Administrative Convenience Claims Holder, but such Claim will be
                                    limited to $5,000, and be deemed fully satisfied upon payment of that
                                    amount.

                                    Estimated Recovery: 100% of Allowed Claim as agreed to by Holder

           D. Means of Implementation of the Plan

                   1. Settlements

             (a)     Opt-In Settlement Unsecured Claims: Pursuant to Bankruptcy Rule 9019 and
                     section 1123(b)(3)(A) of the Bankruptcy Code, in consideration for the
                     classification, Distribution, and other benefits provided under the Plan, upon
                     the Effective Date, the provisions of the Plan shall constitute a good-faith
                     compromise and settlement of the Opt-In Settlement Unsecured Claims, which
                     shall be binding upon Persons receiving Distributions under the Plan, the

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             Debtor, and any other party treated under the Plan.

             As of the Effective Date, all litigation in any jurisdiction, including
             dischargeability litigation and any appeals thereof, amongst Holders of Opt-In
             Settlement Unsecured Claims including, without limitation, all litigation listed
             on Exhibit B, shall each be terminated with prejudice and without further costs
             to any party, and all necessary parties shall execute and deliver any related
             satisfactions of judgment or other documentation necessary to terminate such
             litigation and release any related judgment liens arising in or on account of such
             matters. The Debtor and the Holders of Opt-In Settlement Unsecured Claims
             agree that the resolution of such litigation takes into account a good faith
             evaluation by all parties of the costs and merits of such litigation, and that the
             dismissal of such ongoing litigation (including without limitation any pending
             appeals) as set forth herein is a good faith reasonable resolution of such
             litigation, in exchange for the consideration provided.



       (b)   Claims Against Related Parties: Pursuant to Bankruptcy Rule 9019 and
             section 1123(b)(3)(A) of the Bankruptcy Code, in consideration for the benefits
             provided under the Plan, upon the Effective Date, the provisions of the Plan
             shall constitute a good-faith compromise and settlement of the estate’s Claims
             against Related Parties, which shall be binding upon Persons receiving
             Distributions under the Plan, the Debtor, and any other party treated under the
             Plan. Evidence in support of such settlements, including valuation, will be
             presented at the Confirmation Hearing. The Debtor will file with the Court the
             terms of any settlement proposed to be approved at the Confirmation Hearing a
             reasonable period of time in advance thereof as determined between the Debtor
             and counsel for the Plaintiffs and UCC. The proposed settlement and resolution
             of such Claims against Related Parties considers a good faith evaluation by all
             parties of the costs and merits of such litigation, as well as the collectability of
             any potential judgments in favor of the estate. Specific Related Parties are set
             forth on Schedule B to the Plan.

             The Unsecured Creditors Committee (“UCC”) asserts that the Debtor should
             incur costs and file lawsuits against his wife to attempt to recover funds paid to
             her or personal property bought for her pursuant to their premarital agreement,
             regardless of the estate’s ability to collect upon any such claims. Proposed
             Specific Disclosure Statement [Docket No. 539], p. 14-15. The UCC further
             argues that the Debtor should incur costs and file lawsuits against his father for
             the return of gifts made outside of the fraudulent transfer period, as well as the
             return of repayments for expenses Dr. Jones paid on the Debtor’s behalf. Id. at
             p. 15-16. The UCC further argues that the Debtor should incur costs and file a
             lawsuit to sue his son, Rex Jones, for the return of a used vehicle. Id. at p. 16.
             The UCC further asserts that the Debtor should pursue causes of action for the
             return of low or no value gifts to Johnathan Owen Shroyer and Patrick Riley,


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                 including a 5 year old used vehicle, a used watch, and 20 year old, scrapped out
                 boat. Finally, the UCC claims that assets of the Alexander E. Jones Descendent
                 and Beneficiary Trust should be made available to the Debtor’s creditors, and
                 that certain inter-trust transfers should be avoided. Id. at 17.

       Entry of the Confirmation Order shall constitute a determination by the Bankruptcy Court
  pursuant to Bankruptcy Rule 9019 that the terms and conditions of the foregoing settlements
  and the termination of all litigation (including, without limitation, any appeals) required
  thereunder is reasonable, and in the best interests of the Debtor, his Estate, and all Creditors of
  the Debtor and other parties in interest.


               2. Sources of Cash and Terms of Payment for Plan Distributions

        The sources of Cash necessary for the Debtor to pay Allowed Claims that are to be paid in
Cash by the Debtor under the Plan will be: (a) the Cash of the Debtor on hand as of the Effective
Date, minus a reserve totaling $250,000 for three (3) months of reasonable living expenses as well
as certain post-confirmation legal expenses; and (b) Net Proceeds from the sale of the Debtor’s
Non-exempt Assets; and (c) Cash generated or received by the Debtor after the Effective Date
from any other source, including but not limited to Cash flow to the Debtor from AEJ Trust and
refunded trust expenses.

        Funds from payments under the FSS Plan made by the FSS Trust shall be used solely with
respect to the calculation of the Minimum Plan Distribution and are not being relied upon for
purposes of confirming this Plan.

       On the Effective Date, all Avoidance Actions not resolved will vest in the Disbursement
Agent or, at the option of the Debtor, the FSS Trust, and they will have the exclusive right to
prosecute, settle, or compromise all Avoidance Actions. Any such net payments resolving any
Avoidance Actions shall constitute Net Proceeds of Non-Exempt Assets for purposes of the Plan.
Financial Projections in support of the Debtor’s proposed Amended Plan are attached hereto as
Exhibit E.

               3. Payments

          (a)    The Disbursement Agent shall remit payment of the following Allowed Claims
  in accordance with the limitations on the amount of such payments as set forth in the Plan, and
  the other terms and conditions of the Plan:

                 (i)     Administrative Claims, other than Administrative Claims
          Incurred in the Ordinary Course of Business as set forth in Section 2.01(e).

                 (ii)    Non-Tax Priority Claims as set forth in Section 5.01.

                 (iii)   Administrative Convenience Claims as set forth in Section 5.07.

                 (iv)    General Unsecured Claims as set forth in Section 5.06.

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                 (v)     Administrative Claims Incurred in the Ordinary Course of
          Business as set forth in Section 2.01(e).

                  (vi)    Priority Tax Claims as set forth in Section 2.02.

                  (vii)   Domestic Support Obligations as set forth in Section 2.03.

                  (viii) U.S. Trustee fees as set forth in Section 2.04.

                  (ix)    Secured Tax Claims as set forth in Section 5.02.

                  (x)     Secured Claim of Bank of America as set forth in Section 5.03.

                  (xi)    Secured Claim of Security Bank of Crawford as set forth in Section 5.04.

                  (xii)   Unsecured Claims of Opt-In Settlement Claimants as set forth in
                          Section 5.05.

               4. Claim Objections/Resolution

       Any party in interest, including the Debtor, may file objections to Claims (other than
Claims that have been previously Allowed or that are Allowed under the Plan). The Debtor (or his
designees, successors, and assigns) are not obligated to object to any Claim but will nevertheless
have standing to object to any such Claim from and after the Effective Date, if they so elect.

         Except as set forth in Sections 2.01(a) and 2.01(b) the Plan with respect to Administrative
Claims and Fee Claims, any objections to Claims must be filed no later than ninety (90) days after
the Effective Date, unless such deadline is extended by the Bankruptcy Court. An objection to a
Claim will be deemed properly served on the Holder thereof if service is effected by any of the
following methods: (a) in accordance with Federal Rule of Civil Procedure 4, as modified and
made applicable by Bankruptcy Rule 7004; (b) to the extent counsel for a Holder is unknown, by
first class mail, postage prepaid, on the signatory on the proof of Claim or other representative
identified on the proof of Claim or any attachment thereto; (c) by first class mail, postage prepaid,
on any counsel that has appeared on the behalf of the Holder in the Bankruptcy Case; or (d) if no
proof of Claim that has been filed, by first class mail, postage prepaid, on the Holder of such Claim
at the address set forth in the Schedules.

               5. Assertion of Estate Actions, Defenses, and Counterclaims

        Except as set forth in the Plan or the Confirmation Order, effective as of the Effective Date,
with respect to the Debtor, without further action by any party, all Causes of Action, and all
defenses, counterclaims, setoffs, and rights related thereto, shall be and shall be deemed to be
vested in the Debtor. From and after the Effective Date, the Debtor shall have the exclusive right
to prosecute, settle, or compromise any Cause of Action vested in or transferred to the Debtor
under the Plan. Except to the extent otherwise set forth in the Plan, the Debtor shall retain and may

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prosecute and enforce all other defenses, counterclaims, and rights that it has asserted or could
assert against or with respect to all Claims asserted against the Debtor or property of his Estate.
No claim, right, Cause of Action, or other asset shall be deemed waived or otherwise forfeited by
virtue of the Debtor’s failure to identify such property in the Schedules or the Disclosure Statement
unless otherwise ordered by the Bankruptcy Court. Causes of Action expressly include, but are not
limited to, all claims included on Exhibit C.

        Except as provided in the Plan, nothing contained in the Plan or Confirmation Order shall
be deemed to be a waiver of the relinquishment of any rights or Causes of Action that the Debtor
may have or which the Debtor may choose to assert on behalf of the Debtor’s Estate under any
provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without
limitation, (i) any and all Claims against any person or entity, to the extent such person or entity
asserts a crossclaim, counterclaims, and/or Claim for setoff, which seeks affirmative relief against
the Debtor, and (ii) the turnover of any property of the Debtor’s Estate.

        Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
or relinquishment of any Claim, Cause of Action, right of setoff, or other legal or equitable defense,
which the Debtor had immediately prior to the Petition Date, against or with respect to any Claim
left unimpaired by the Plan. The Debtor shall have, retain, reserve, and be entitled to assert all such
claims, causes of action, rights of setoff, and other legal or equitable defenses which the Debtor
had immediately prior to the Petition Date fully as if the Bankruptcy Case had not been
commenced, and all of the Debtor’s legal and equitable rights respecting any Claim Unimpaired
by the Plan may be asserted after the Confirmation Date by the Debtor to the same extent as if the
Bankruptcy Case had not been commenced.

               6. Management After the Effective Date

        The Debtor shall continue to manage and control each of his respective assets and any other
assets within his control, directly or indirectly, after the Effective Date, and to the extent the Plan
provides for the sale of certain of the Debtor’s assets, the Disbursement Agent shall manage and
control the sale of those assets and shall liquidate such assets as expeditiously as reasonably
possible, consistent with the terms of the Plan and the goal of maximizing the value thereof for the
benefit of the Holders of Claims secured by a Lien on those assets and other stakeholders.

               7. Revesting of Assets

        Except as otherwise provided in the Plan or the Confirmation Order, upon the Effective
Date, all property of the Debtor’s estate, wherever situated, shall vest in the Debtor, as reorganized
pursuant to the Plan, free and clear of all Claims to the full extent permitted by law including the
Bankruptcy Code.

Trusts: For the avoidance of doubt, the Debtor would clarify through this Plan that certain Trusts
are not property of the estate and therefore are not available for distribution to Creditors.
Specifically, the Alexander E. Jones Descendent and Beneficiary Trust (the “Descendent Trust”),
of which the Debtor is a grantor, is not available to satisfy Creditor Claims. The Debtor is not a
beneficiary nor a trustee for the Descendent Trust. Though the Descendent Trust holds certain


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condominium assets, the Debtor asserts these trust assets are not available to satisfy estate Claims.
Second, the Green Leaf Trust: this trust is also not within the control of the Debtor, nor is he a
beneficiary, or entitled to direct the Green Leaf Trust. Therefore, the assets of the Green Leaf
Trust are not available to satisfy estate Claims. With respect to any remaining trusts, where the
Debtor either is a beneficiary and/or maintains some level of control, (x) any assets available for
distribution from such trusts as of the Effective Date shall be deemed Non-Exempt Assets subject
to liquidation by the Disbursement Agent under the Plan, and (y) any distribution to the Debtor of
income generated by such trusts following the Effective Date shall be included as Plan Income
under the Plan. See Schedule A.

               8. Conditions to Confirmation

       The Bankruptcy Court will not enter the Confirmation Order unless and until each of the
following conditions has been satisfied or duly waived (if waivable):

                             (a)     The documents implementing the Plan will be in form and
               substance acceptable to the Debtor and will have been provided to the Bankruptcy
               Court.

                               (b)      The Confirmation Order is in a form and substance
               acceptable to the Debtor and, among other things, makes findings that particular
               subsections 1129 of the Bankruptcy Code have been met, including (i) that the
               Debtor and his representatives have proposed and obtained confirmation of the Plan
               in good faith; (ii) that the Plan is in the best interests of creditors; and (iii) that the
               Plan is fair and equitable to Holders of Claims.

                               (c)     All of the schedules, documents, supplements and exhibits
               to the Plan shall have been filed in form and substance acceptable to the Debtor.

       The foregoing conditions of the confirmation of the Plan may be waived in whole or in part
by the Debtor upon approval of the Bankruptcy Code.

       E. Plan Confirmation Effect

               1. Debtor’s Discharge

        Except as expressly provided in the Plan or the Confirmation Order, all consideration
distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,
discharge, and release of, all Claims against the Debtor of any nature whatsoever, whether known
or unknown, or against the assets or properties of the Debtor that arose before the Effective Date.
Except as expressly provided in the Plan or the Confirmation Order, on the Discharge Date (and
subject to its occurrence), entry of the Confirmation Order shall be deemed to act as a discharge
and release under Bankruptcy Code section 1141(d)(1)(A) of all Claims against the Debtor and his
assets, arising at any time before the Effective Date, regardless of whether a proof of Claim was
filed, whether the Claim is Allowed, or whether the Holder of the Claim votes to accept the Plan
or is entitled to receive a Distribution under the Plan, provided, however, that in no event shall


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occurrence of the Discharge Date discharge the Debtor from any obligations remaining under the
Plan as of the Discharge Date. No later than five (5) business days after the occurrence of the
Discharge Date, the Debtor shall file with the Bankruptcy Court a notice of the occurrence of the
Discharge Date and serve such notice on all creditors. In addition, following the occurrence of the
Discharge Date, the Debtor shall file a motion seeking entry of an order of discharge after notice
and a hearing, which motion (and the discharge) shall be granted upon a showing that the Debtor
has made all payments required under the Plan. Except as expressly provided in the Plan or the
Confirmation Order, any Holder of a discharged Claim will be precluded from asserting against
the Debtor or any assets of the Debtor any other or further Claim based on any document,
instrument, act, omission, transaction or other activity of any kind or nature that occurred before
the Effective Date. Except as expressly provided in the Plan or the Confirmation Order, and subject
to the occurrence of the Discharge Date, the Confirmation Order will be a judicial determination
of discharge of all liabilities of the Debtor to the extent allowed under Bankruptcy Code section
1141, and the Debtor will not be liable for any Claims and will only have the obligations that are
specifically provided for in the Plan. Notwithstanding the foregoing, nothing contained in the Plan
or the Confirmation Order shall discharge the Debtor from (i) any debt excepted from discharge
under Bankruptcy Code section 523 by Final Order of the Bankruptcy Court unless the Holders of
such Claims have agreed to same.

           Notwithstanding the foregoing, Allowed Claims of Electing Plaintiffs under Class 5
  that have selected Opt-In Settlement Unsecured Claims shall be discharged after receipt of
  payments that give rise to the occurrence of the Payment Trigger. Such payment shall be in
  full satisfaction, settlement, release and discharge of and in exchange for such Allowed Claim.

       Notwithstanding anything to the contrary set forth in this Section, Non-Electing Plaintiffs
under Class 6 will be enjoined against collecting against the Debtor during the Plan Term;
however, such Non-Electing Plaintiffs may collect against the Debtor at the conclusion of the Plan
Term if they have a Final Order allowing their Claim and finding such Claim non-dischargeable.

               2. Injunction

        Except as otherwise provided in the Plan, the Confirmation Order shall provide that from
and after the Effective Date with respect to the Debtor, all Holders of Claims against the Debtor
are permanently enjoined from taking any of the following actions against the Debtor, or any of
his property on account of any such Claim: (a) commencing or continuing in any manner or in
any place, any action or other proceeding; (b) enforcing, attaching, collecting, or recovering by
any manner or means any judgment, award, decree, or order; (c) creating, perfecting, or enforcing
any encumbrance or Lien; (d) asserting a setoff, subrogation, or recoupment of any kind against
any debt, liability, or obligation due to the Debtor; or (e) commencing or continuing, in any
manner or in any place, any action that does not conform to or comply with, or is inconsistent
with, the provisions of the Plan . If allowed by the Bankruptcy Court, any Person injured by any
willful violation of such injunction shall recover actual damages, including costs and attorneys’
and experts’ fees and disbursements, and, in appropriate circumstances, may recover punitive
damages, from the willful violator. Should a Plan Default have occurred and is continuing, this
Plan Injunction shall lift in accordance with a Bankruptcy Court order determining the existence
of such Plan Default.


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        Notwithstanding the foregoing, the Non-Electing Plaintiffs whose claims have been
determined to be non-dischargeable by an order of a court of competent jurisdiction that has not
been stayed, shall be enjoined from taking action against the Debtor as set forth above solely during
the Plan Term, unless otherwise set forth herein.

       F. Retention of Jurisdiction

        Unless otherwise provided herein or in an order of the Bankruptcy Court (including without
limitation the Confirmation Order), all injunctions or stays provided in the Bankruptcy Cases under
Bankruptcy Code section 105 or 362, or otherwise, and in existence on the Confirmation Date,
shall remain in full force and effect until the Effective Date, with respect to the Debtor. Upon the
Effective Date, the injunction provided in Section 9.05 of the Plan shall be effective.

       G. Modification of Reservation of the Plan

        The Debtor reserves the right to modify the Plan either before or after the Confirmation
Date to the fullest extent permitted under section 1127 of the Bankruptcy Code and Bankruptcy
Rule 3019, including but not limited to modifications necessary to negotiate the resolution of any
objection to confirmation of the Plan. The Debtor may withdraw the Plan at any time before the
Confirmation Date, or thereafter prior to the Effective Date. The Debtor may amend the Plan
before or after the Effective Date as provided in section 1127 of the Bankruptcy Code.

       H. Executory Contracts and Unexpired Leases

               1. General Treatment; Rejected if Not Assumed

        The Plan constitutes and incorporates a motion under Bankruptcy Code sections 365 and
1123(b)(2) to (a) reject, as of the Effective Date, all Executory Contracts to which the Debtor is a
party, except for any Executory Contract that was terminated before the Effective Date or has been
assumed or rejected pursuant to an order of the Bankruptcy Court entered before the Effective
Date, and (b) assume all Executory Contracts identified in any schedule of assumed contracts that
may be included in the Plan Supplement.

       The Confirmation Order shall constitute an order of the Bankruptcy Court under the
Bankruptcy Code sections 365 and 1123(b)(2) approving the rejection or assumption, as
applicable, of Executory Contracts pursuant to the Plan as of the Effective Date. Notice of the
Confirmation shall constitute notice to any non-debtor party to an Executory Contract that is to be
assumed or rejected under the Plan of the proposed assumption or rejection such Executory
Contract and proposed Cure Amount. For the avoidance of doubt, to the extent the Debtor’s
premarital agreement could be characterized as an executory contract, such agreement shall be
assumed under this Plan. The Debtor does not anticipate any cure costs associated with such
agreement.

               2. Cure Payments and Release of Liability

        Except as otherwise provided in a Final Order, pursuant to Bankruptcy Code sections
365(a), (b), (c), and (f), all Cure Claims that may require payment under Bankruptcy Code section

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365(b)(1) under any Executory Contract that is assumed pursuant to a Final Order shall be paid by
the Debtor within fifteen (15) Business Days after such order becomes a Final Order with respect
to Cure Claims that are not Disputed or within fifteen (15) Business Days after an assumed
Executory Contract has not filed an appropriate pleading on or before the date of the Confirmation
Hearing. If a party to an assumed Executory Contract has not filed an appropriate pleading on or
before the date of the Confirmation Hearing disputing any proposed Cure Claim, the cure of any
other defaults, the promptness of the Cure Claim payments, or the provision of adequate assurance
of future performance, then such party shall be deemed to have waived its right to dispute such
matters. Any party to an assumed Executory Contract that receives full payment of a Cure Claim
shall waive the right to receive any payment on a Class 6 General Unsecured Claim that relates to
or arises out of such assumed Executory Contract.

               3. Bar to Rejection Damages

        If the rejection of an Executory Contract pursuant to Section 7.01 of the Plan gives rise to
a Claim by any non-Debtor party or parties to such Executory Contract, such Claim shall be forever
barred and shall not be enforceable against the Debtor, the Estate, or the agents, successors, or
assigns of the foregoing, unless a proof of such Claim is filed with the Bankruptcy Court and
served upon the Debtor on or before the Rejection Bar Date. Any Holder of a Claim arising out of
the rejection of an Executory Contract that fails to file a proof of such Claim on or before the
Rejection Bar Date shall be forever barred, estopped, and enjoined from asserting such Claim
against the Debtor, the Estate or any of their assets and properties. Nothing contained herein shall
extend the time for filing a proof of Claim for rejection of any Executory Contract rejected before
the Confirmation Date.

               4. Rejection Claims

        Any Rejection Damage Claim arising from the rejection of an Executory Contract shall be
treated as a General Unsecured Claim pursuant to the Plan, except as limited by the provisions of
the Bankruptcy Code sections 502(b)(6) and 502(b)(7) and mitigation requirements under
applicable law. Nothing contained herein shall be deemed an admission by the Debtor that such
rejection gives rise to or results in a Rejection Damage Claim or shall be deemed a waiver by the
Debtor or any other party in interest of any objections to such Rejection Claim if asserted.

               5. Distributions Under the Plan

         All Distributions to any Holder of an Allowed Claim shall be made by the Disbursement
Agent at the address of each such Holder as set forth on the proof of Claim filed by such Holder
(or at the last address of such a Holder known to the Debtor if no proof of Claim is filed or if the
Disbursement Agent has been notified in writing of a change of address). The Trustee of the RSS
Trust may serve as the Disbursement Agent. If any Holder’s Distribution is returned as
undeliverable, no further Distributions to such Holder shall be made unless and until the
Disbursement Agent is notified in writing of such Holder’s then current address, at which time all
missed Distributions shall be made to such Holder without interest. Any Holder of an Allowed
Claim whose Distribution is undeliverable must make demand for such Distribution to the
Disbursement Agent in writing on or before 120 days after the date such undeliverable Distribution


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was initially made, after which the Distribution shall be retained by the Disbursement Agent for
Distribution to other Holders of Claims pursuant to the terms of the Plan, and any claim by such
intended recipient with respect to such undeliverable Distribution shall be discharged and forever
barred. The Disbursement Agent may employ or contract with other Persons as reasonably
determined by the Disbursement Agent to assist in or make the Distributions required under the
Plan. To the extent that the Disbursement Agent is required by applicable law to file
information returns regarding payments to creditors with taxing authorities including, but
not limited to, the Internal Revenue Service, the Disbursement Agent shall obtain an executed
Internal Revenue Service Form W-9 (W-8 for non-US entities and individuals) from any or
all Holders of a Claim prior to making any Distribution. Should any Holder of a Claim not
provide the Disbursement Agent with such document within 60 days of receipt of the request
for a W-9 or W-8, as applicable, then the Disbursement Agent shall provide written notice to
such Holder of the failure to provide a W-9 or W-8, as applicable, and 30 additional days to
provide such information. Should any Holder of a Claim not timely provide an executed W-
9 or W-8, as applicable, within the ninety (90) day period referenced above, the Disbursement
Agent may file an objection to the Claim of such non-responding Holder based on the non-
responding Holder’s failure to provide the W-9 or W-8 (with all required information) and
shall serve the objection on such non-responding Holder via first class mail. If the non-
responding Holder of the Claim fails to respond to the objection or fails to provide to the
Disbursement Agent the W-9 or W-8, as applicable (with all required information) within
thirty (30) days after the objection is filed, the Bankruptcy Court may disallow such Claim
for all purposes and any funds to be paid such Holder of a disallowed Claim shall be
distributed in accordance with the terms of the Plan. The Disbursement Agent shall serve any
order disallowing the non- responding Holder’s Claim within five (5) business days after
entry of such order. The Disbursement Agent's right to object to a Claim is limited to the
failure of a Holder of a Claim to provide to the Disbursement Agent a W-9 or W-8, as
applicable. The Holder of such Disallowed Claim shall be forever barred from pursuing the
Disbursement Agent for payment of such Claim.

       The Disbursement Agent shall make the Distributions required under the Plan. The
Disbursement Agent shall be entitled to review the financial information of FSS and the Debtor in
accordance with the terms of the agreement entered into with the Disbursement Agent. The
Disbursement Agent shall also be responsible for the sale or other monetization of Non-Exempt
Assets under the Plan.

        The Disbursement Agent shall establish a bank account, initially funded with 30% of the
Net Proceeds from the sale of Non-exempt Assets which may be used to fund the initial expenses
of the Disbursement Agent, including payment of the Disbursement Agent’s fees, on an ongoing
basis. Additional Disbursement Agent expenses shall be paid directly by the Debtor.

       THIS IS ONLY A SUMMARY OF CERTAIN PROVISIONS OF THE PLAN.
       THE PLAN INCLUDES OTHER PROVISIONS THAT MAY AFFECT
       YOUR RIGHTS. YOU ARE URGED TO READ THE PLAN IN ITS
       ENTIRETY BEFORE VOTING ON THE PLAN.




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                       VI.        CONFIRMATION OF THE PLAN

       A. Solicitation of Votes: Voting Procedures

               1. Ballots and Voting Deadlines

        A ballot to be used for voting to accept or reject the Plan, together with a postage-paid
return envelope, is enclosed with all copies of the Disclosure Statement mailed to all Holders of
Claims entitled to vote.

      BEFORE COMPLETING YOUR BALLOT, PLEASE READ CAREFULLY
      THE INSTRUCTIONS SHEET THAT ACCOMPANIES THE BALLOT.

      The Bankruptcy Court has directed that, in order to be counted for voting purposes, ballots
for the acceptance or rejection of the Plan must be received no later than _____ p.m., Central
Time, on _______, 2024, at the following address:



                              Vickie Driver
                              Crowe & Dunlevy
                              2525 McKinnon Street, Suite 425
                              Dallas, Texas 75201

    YOUR BALLOT MAY NOT BE COUNTED IF IT IS RECEIVED AT THE ABOVE
ADDRESS AFTER ________. P.M., CENTRAL TIME, ON _______ 2024.

               2. Parties in Interest Entitled to Vote

         Any Person who, as of the Voting Record Date (i.e., January 24, 2024) was the Holder of
a Claim against the Debtor and whose Claim has not previously been disallowed by the Bankruptcy
Court is entitled to vote to accept or reject the Plan, if such Claim is impaired under the Plan and
either (i) such Holder’s Claim has been scheduled by the Debtor (and such Claim is not scheduled
as disputed, contingent, or unliquidated) or (ii) such Holder has filed a timely proof of Claim. Any
Claim as to which an objection has been filed is not entitled to vote, unless the Bankruptcy Court,
upon application of the Holder to whose Claim an objection has been made, temporarily allows
such Claim in an amount that it deems proper for the purpose of accepting or rejecting the Plan.
Any such application must be heard and determined by the Bankruptcy Court on or before
commencement of the Confirmation Hearing. A vote may be disregarded if the Bankruptcy Court
determines, after notice and a hearing, that such vote was not solicited or procured in good faith
or in accordance with the provisions of the Bankruptcy Code.




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               3. Definition of Impairment

       As set forth in section 1124 of the Bankruptcy Code, a class of claims or equity interests is
impaired under a plan of reorganization unless, with respect to each claim or equity interest of
such class, the plan:

                      (a)    leaves unaltered the legal, equitable, and contractual rights of the
       holder of such claim or equity interest; or

                       (b)     notwithstanding any contractual provision or applicable law that
       entitles the holder of a claim or equity interest to demand or receive accelerated payment
       of such claim or equity interest after the occurrence of a default:

                              (i)      cures any such default that occurred before or after the
               commencement of the case under the Bankruptcy Code, other than a default of a
               kind specified in section 365(b)(2) of the Bankruptcy Code;

                              (ii)     reinstates the maturity of such claim or interest as it existed
               before such default;

                              (iii) compensates the holder of such claim or interest of any
               damages incurred as a result of any reasonable reliance on such contractual
               provision or such applicable law; and

                              (iv)    does not otherwise alter the legal, equitable, or contractual
               rights to which such claim or interest entitles the holder of such claim or interest.

               4. Impaired Classes Under the Plan

       Claims against the Debtor in Classes 5, 6, and 7 are impaired under the Plan, and the
Holders of those Claims are entitled to vote to accept or reject the Plan.

               5. Unimpaired Classes Under the Plan

       Claims against the Debtor in Classes 1, 2, 3, and 4 are not impaired under the Plan. The
Holders of those Claims are conclusively presumed to have accepted the Plan under section
1126(f) of the Bankruptcy Code and are thus not entitled to vote on the Plan.

               6. Vote Required for Class Acceptance

        The Bankruptcy Code defines acceptance of a plan by a class of claims as acceptance by
holders of at least two-thirds in dollar amount, and more than one-half in number, of the claims of
that class that actually casts ballots for acceptance or rejection of the plan. Thus, class acceptance
takes place only if at least two-thirds in amount and a majority in number of the holders of claims
voting cast their ballots in favor of acceptance.



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       B. Confirmation Hearing

       Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
hold a hearing on confirmation of a plan. By order of the Bankruptcy Court, the Confirmation
Hearing has been scheduled for ________, 2024, at _________ p.m. Central Time, in the United
States Bankruptcy Court for the Southern District of Texas, Houston Division. The Bankruptcy
Court may adjourn the Confirmation Hearing from time to time without further notice other than
an announcement made at the confirmation hearing or any adjournment thereof.

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
confirmation of a plan. Any objection to confirmation of the Plan must be made in writing and
filed with the Bankruptcy Court on or before ________, 2024, at the following address:

       U.S. Bankruptcy Court
       Southern District of Texas, Houston Division
       515 Rusk, Courtroom 401
       Houston, TX 77002

       In addition, any such objection must be served upon and received by the following parties,
together with proof of service, no later than ________ p.m., Central Time on _______, 2024.

       Vickie L. Driver
       Crowe & Dunlevy, P.C.
       2525 McKinnon St., Suite 425
       Dallas, Texas 75201

       Shelby Jordan
       Jordan & Ortiz, P.C.
       500 North Shoreline Blvd., Suite 804
       Corpus Christi, TX 78401


       BANKRUPTCY   RULE  9014   GOVERNS     OBJECTIONS TO
       CONFIRMATION OF THE PLAN. UNLESS AN OBJECTION TO
       CONFIRMATION IS TIMELY SERVED AND FILED, THE
       BANKRUPTCY COURT MAY NOT CONSIDER IT.

       C. Requirements for Confirmation of a Plan

       At the Confirmation Hearing, the Bankruptcy Court must determine whether the
Bankruptcy Code’s requirements for confirmation of the Plan have been satisfied, in which event
the Bankruptcy Court will enter an order confirming the Plan. As set forth in section 1129 of the
Bankruptcy Code, the requirements are as follows:

                      1.     The Plan complies with the applicable provisions of the Bankruptcy
       Code.


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                   2.     The proponents of the plan complied with the applicable provisions
     of the Bankruptcy Code.

                    3.      The plan has been proposed in food faith and not by any means
     forbidden by law.

                     4.      Any payment made or promised by the Debtors, by the plan
     proponents, or by a person, issuing securities or acquiring property under the plan, for
     services or for costs and expenses in, or in connection with, the case, or in connection with
     the plan and incident to the case, has been approved by, or is subject to the approval of the
     Bankruptcy Court as reasonable.

                      5.

                             (a)(i) The proponent of the plan has disclosed the identify and
            affiliations of any individual proposed to serve, after confirmation of the plan, as a
            director, officer, or voting trustee of the Debtors, an affiliate of the Debtors
            participating in a joint plan with the Debtor, or a successor to the Debtors under the
            plan; and

                            (a)(ii) the appointment to, or continuance in, such office of such
            individual, is consistent with the interests of creditors and equity security holders
            and with public policy; and

                            (b)    the proponent of the plan has disclosed the identity of any
            insider that will be employed or retained by the reorganized debtor and the nature
            of any compensation for such insider.

                        6. Any governmental regulatory commission with jurisdiction, after
     confirmation of the plan, over the rates of the debtor has approved any rate change provided
     for in the plan, or such rate change is expressly conditioned on such approval.

                      7.    With respect to each impaired class of claims or interests:

                            (a)(i) each holder of a claim or interest of such class has accepted
            the plan or will receive or retain under the plan on account of such claim or interest
            property of a value, as of the effective date of the plan, that is not less than the
            amount that such holder would so receive or retain if the Debtors were liquidated
            on such date under Chapter 7 of the Bankruptcy Code on such date; or

                            (a)(ii) if section 111(b)(2) of the Bankruptcy Code applies to the
            claims of such class, the holder of a claim of such class will receive or retain under
            the plan on account of such claim property of a value, as of the effective date of the
            plan, that is not less than the value of such holder’s interest in the estate’s interest
            in the property that secures such claims.


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                      8.   With respect to each class of claims or interests:

                           (a)     such class has not accepted the plan; or

                           (b)     such class is not impaired under the plan.

                        9. Except to the extent that the holder of a particular claim has agreed
     to a different treatment of such claim, the plan provides that:

                           (a)    with respect to a claim of a kind specified in section
            507(a)(2) or 507(a)(3) of the Bankruptcy Code, on the effective date of the plan,
            the holder of such claim will receive on account of such claim cash equal to the
            allowed amount of such claim;

                           (b)     with respect to a class of claims of a kind specified in section
            501(a)(1), 507(a)(4), 507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code,
            each holder of a claim of such class will receive:

                                   (i)     if such class has accepted the plan, deferred cash
                    payments of a value, as of the effective date of the plan, equal to the allowed
                    amount of such claim; or

                                    (ii)    if such class has not accepted the plan, cash on the
                    effective date of the plan equal to the allowed amount of such claims; and

                           (c)     with respect to a claim of a kind specified in section
            507(a)(8) of the Bankruptcy Code, the holder of a claim will receive on account of
            such claim regular installment payments in cash—

                                    (i)   of a total value, as of the effective date of the plan,
                    equal to the allowed amount of such claim;

                                   (ii)     over a period ending no later than 5 years after the
                    date of the order for relief under section 301, 302, or 303; and

                                  (iii)  in a manner not less favorable than the most favored
                    nonpriority unsecured claim provided for by the plan (other than cash
                    payments made to a class of creditors under section 1122(b)); and

                           (d)     with respect to a secured claim which would otherwise meet
            the description of an unsecured claim of a governmental unit under section
            507(a)(8), but for the secured status of that claim, the holder of that claim will
            receive on account of that claim, cash payments, in the same manner and over the
            same period, as described in paragraph (c) above.



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                         10. If a class of claims is impaired under the plan, at least one class of
       claims that is impaired has accepted the plan, determined without including any acceptance
       of the plan by any insider holding a claim of such class.

                          11. Confirmation of the plan is not likely to be followed by the
       liquidation, or the need for further financial reorganization, of the Debtors or any successor
       to the Debtors under the plan, unless such liquidation or reorganization is proposed in the
       plan.

                       12. All fees payable under 38 U.S.C. § 1930, as determined by the
       Bankruptcy Court at the hearing on confirmation of the plan, have been paid or the plan
       provides the payment of all such fees on the effective date of the plan.

                          13. The plan provides for the continuation after its effective date of
       payment of all retiree benefits, as that term is defined in section 1114 of the Bankruptcy
       Code, at the level established pursuant to subsection (c)(1)(B) or (g) of section 1114, at any
       time prior to confirmation of the plan, for the duration of the period the Debtor has
       obligated itself to provide such benefits.

                        14. In the case in which the Debtor is an individual and in which the
       holder of an allowed unsecured claim objects to confirmation of the plan—

                               (a)    the value, as of the effective date of the plan, of the property
               to be distributed under the plan on account of such claim is not less than the amount
               of the claim; or

                               (b)    the value of the property to be distributed under the plan is
               not less than the projected disposable income of the debtor (as defined in section
               1325(b)(2)) to be due under the plan, or during the period for which the plan
               provides payments, whichever is longer.

       The Debtor believes that the Plan satisfies all the statutory requirements of Chapter 11 of
the Bankruptcy Code that the Debtor has complied or will have complied with all the requirements
of Chapter 11, and that the Plan is proposed in good faith.

        The Debtor believes that Holders of all Allowed Claims impaired under the Plan will
receive payments or distributions under the Plan having a present value as of the Effective Date
not less than the amounts likely to be received if the Debtor were liquidated under Chapter 7 of
the Bankruptcy Code. At the Confirmation Hearing, the Bankruptcy Court will determine whether
Holders of Allowed Claims or Interests would receive greater distributions under the Plan than
they would receive in liquidation under Chapter 7.

        The Debtor also believes that the feasibility requirement for confirmation of the Plan is
satisfied by the fact that the Debtor’s future operating revenues and income will be sufficient to
satisfy the Debtor’s obligations under the Plan, and all creditors will ultimately be paid in full.



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These facts and other demonstrating the confirmability of the Plan will be shown at the
Confirmation Hearing.

       D. Cramdown

        In the event that any impaired Class of Claims entitled to vote on the Plan does not accept
the Plan, the Bankruptcy Court may still confirm the Plan at the request of the Debtor if, as to each
such impaired Class that has not accepted the Plan, the Bankruptcy Court determines that the Plan
“does not discriminate unfairly” and is “fair and equitable” with respect to that Class. A plan of
reorganization “does not discriminate unfairly” within the meaning of the Bankruptcy Code if no
Class receives more than it is legally entitled to receive for its claims or equity interests.

        “Fair and equitable” has different meanings with respect to the treatment of secured and
unsecured claims. As set forth in section 1129(b)(2) of the Bankruptcy Code, those meanings are
as follows:

               1.      With respect to a class of secured claims, the plan provides:
                               (a)(i) that the holders of such claims retain the liens securing such
               claims, whether the property subject to such liens is retained by the Debtor or
               transferred to another entity, to the extent of the allowed amount of such claims;
               and

                               (ii)    that each holder of a claim of such class receive on account
               of such claim deferred cash payments totaling at least the allowed amount of such
               claim, of a value, as of the effective date of the plan, of at least the value of such
               holder’s interest in the estate’s interest in such property

                               (b)     for the sale, subject to section 363(k) of the Bankruptcy
               Code, of any property that is subject to the liens securing such claims, free and clear
               of such liens, with such liens to attach to the proceeds of such sale, and the treatment
               of such liens on proceeds under clause (a) and (b) of this subparagraph; or

               2.      With respect to a class of unsecured claims, the plan provides:

                              (a)    that each holder of a claim of such class receive or retain on
               account of such claim property of a value, as of the effective date of the plan, equal
               to the allowed amount of such claim; or

                              (b)     the holder of any claim or interest that is junior to the claims
               of such class will not receive or retain under the plan on account of such junior
               claim or interest any property, except that in a case in which the Debtor is an
               individual, the Debtor may retain property included in the estate under section
               1115, subject to the requirements of subsection (a)(14).

               1.      With respect to a class of interest, the plan provides:



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                               (a) that each holder of an interest of such class receive or retain on
               account of such interest property of a value, as of the effective date of the plan,
               equal to the greatest of the allowed amount of any fixed liquidation preference to
               which such holder is entitled, any fixed redemption price to which such holder is
               entitled or the value of such interest; or

                               (b) that the holder of any interest that is junior to the interests of
               such class will not receive or retain under the plan on account of such junior
               interest any property.

        In the event that one or more Classes of impaired Claims reject the Plan, the Bankruptcy
Court will determine at the Confirmation Hearing whether the Plan is fair and equitable with
respect to, and does not discriminate unfairly against, any rejected impaired Class of Claims. For
the reasons set forth above, the Debtor believes the Plan does not discriminate unfairly against,
and is fair and equitable with respect to, each impaired Class of Claims.

                                VII.         RISK FACTORS

       The following is intended as a summary of certain risks associated with the Plan, but it is
not exhaustive and must be supplemented by the analysis and evaluation made by each Holder of
a Claim of the Plan and this Disclosure Statement as a whole with such Holder’s own advisors.

       A. Insufficient Acceptances

        For the Plan to be confirmed, each impaired Class of Claims is given the opportunity to
vote to accept or reject the Plan. With regard to such impaired voting Classes, the Plan will be
deemed accepted by claimants in such Class actually voting on the Plan who hold at least two
thirds (2/3) in amount and more than one half (1/2) in number of the total Allowed Claims of the
Class voted. Only those members of a Class who vote to accept or reject the Plan will be continued
for voting purposes. The Debtor reserves the right to request confirmation pursuant to the
cramdown provisions in section 1129(b) of the Bankruptcy Code, which will allow confirmation
of the Plan regardless of the fact that a particular impaired Class of Claims has not accepted the
Plan. However, there can be no assurance that any impaired Class of Claims under the Plan will
accept the Plan or that the Debtor would be able to use the cramdown provisions of the Bankruptcy
Code for confirmation of the Plan.

       B. Confirmation Risks

       The following specific risks exist with respect to confirmation of the Plan:

                       (i)     Any objection to confirmation of the Plan filed by a member of a
       Class of Claims can either prevent confirmation of the Plan or delay confirmation for a
       significant period of time.




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                       (ii)    If the Debtor must seek confirmation of the Plan over the rejection
         of one or more impaired Classes of Claims, the cramdown process could delay or prevent
         confirmation.

         C. Post-Confirmation Risks

         The Debtor’s performance of his obligations under the Plan is subject to his ability to
 continue to generate income in the future from his existing assets and businesses and/or from other
 business opportunities that may arise in the future. In many instances, the Debtor’s ability to realize
 income from these businesses is dependent on the continued interest and performance of third
 parties, such as viewers. While the Debtor believes that he will be able to meet all of his obligations
 under the Plan, should the Debtor’s businesses, particularly FSS, fail to generate sufficient Net
 Proceeds, the Debtor’s ability to meet his obligations under the Plan could be adversely affected.
 Deplatforming may also adversely affect the Debtor’s ability to generate funds, through FSS or
 otherwise, that contribute to his obligations under the Plan. Further, the Debtor’s media and
 broadcasting company is subject to an increasingly oversaturated media market and fluctuations
 in interest due to negative publicity received by the Debtor. FSS is also subject to the same industry
 specific and general economic risk factors that face all similarly situated businesses. The Debtor
 may experience a health condition or end-of-life event, or become incapacitated, such that he
 cannot work and thus contribute to the Plan. Before voting on the Plan, each Holder of a Claim
 entitled to vote on the Plan should carefully consider the risk factors set forth herein as well as all
 of the information contained in this Disclosure Statement and hereto.

VIII.        ALTERNATIVE TO CONFIRMATION AND CONSUMMATION OF THE
                          PLAN: LIQUIDATION ANALYSIS

         The Debtor has evaluated other alternatives to reorganization under the Plan, including the
 liquidation of the Debtor. After studying possible alternatives to the Plan, the Debtor has concluded
 that the Plan is the best alternative and will maximize recoveries by Holders of Claims, assuming
 confirmation of the Plan and consummation of the transactions contemplated by the Plan. The
 following discussion provides a summary of the Debtor’s analysis leading to its conclusion that
 the Plan will provide the highest value to Holders of Claims.

         In contrast to the Plan, the Debtor could liquidate pursuant to Chapter 7 of the Bankruptcy
 Code. In a Chapter 7 bankruptcy, a trustee is appointed to collect and liquidate property of the
 bankruptcy estate for the benefit of all creditors in the order of their priority under the Bankruptcy
 Code. The Debtor has analyzed whether a Chapter 7 liquidation of the assets of the Debtor would
 be in the best interests of the Creditors and has determined unsecured creditors would receive less
 in a Chapter 7 than under the Plan.

         Although Chapter 11 administrative costs are subordinated to the Chapter 7 administrative
 costs, both the administrative costs of the Chapter 11 and Chapter 7 are senior to unsecured
 creditors. The Debtor does not believe that a Chapter 7 would provide any tangible benefit to
 unsecured creditors, which could ever exceed the distributions received under the Plan. Indeed,
 the Debtor believes unsecured creditors would more than likely receive substantially less in a
 Chapter 7, in large part because, under the Plan, the Debtor will liquidate his most valuable assets


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for the benefit of the Creditors and contribute millions of dollars in future income to the Plan for
distribution, while in a Chapter 7 liquidation unsecured creditors would receive between $4.1M
and $6.7M. A more detailed liquidation analysis is attached hereto as Exhibit D.

       Accordingly, the Plan satisfies the requirement under the Bankruptcy Code section
1129(a)(7) that requires creditors receive under a plan of reorganization as much as they would
receive in a Chapter 7.

 IX.         CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        A. Importance of Obtaining Professional Tax Assistance

        THE FOLLOWING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
        CERTAIN LIKELY U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE
        PLAN, TO PROVIDE ASSISTANCE AND GENERAL GUIDANCE, IS NOT
        PROFESSIONAL ADVICE, AND IS NOT A SUBSTITUTE FOR CAREFUL
        TAX PLANNING WITH A TAX PROFESSIONAL. THE BELOW
        DISCUSSION IS FOR GENERAL INFORMATIONAL PURPOSES ONLY AND
        IS NOT TAX ADVICE. THE TAX CONSEQUENCES ARE IN MANY CASES
        UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
        INDIVIDUAL CIRCUMSTANCES. ACCORDINGLY, HOLDERS ARE
        URGED TO CONSULT WITH THEIR TAX ADVISORS ABOUT THE U.S.
        FEDERAL, STATE, AND LOCAL, IF APPLICABLE, TAX CONSEQUENCES
        OF THE PLAN.

        B. Discharge of Indebtedness

        The Internal Revenue Code (“IRC”) generally provides that a taxpayer must include in
income the amount of discharge of indebtedness (“DOI”) it realizes when its creditors accept less
than full payment in satisfaction of the creditors’ undisputed debts. The realized amount of DOI is
generally the difference between the amount of indebtedness and the amount received by the
creditor in exchange for the indebtedness. However, IRC Section 108(a) provides that DOI will
not be included in the taxpayer’s taxable income if that taxpayer is under the jurisdiction of a court
in a case under Title 11 of the United State Code (i.e., a chapter 11 bankruptcy) and the DOI arises
from a court ordered discharge or arises pursuant to a plan of reorganization approved by a
bankruptcy court. in the event IRC Section 108(a) excludes DOI from the income of a debtor in
bankruptcy, the debtor’s tax attributes will be reduced by the amount of DOI from the income of
a debtor so general business credit carryovers, capital loss carryovers and the tax basis of its assets.
In the alternative, the debtor may make an election to alter the order of attributable reduction such
that the tax basis of depreciable property would be reduced first.

        C. Impact on Holders of Claims Against Debtors

       With respect to the Distributions to Holders of Claims under the Plan, the Debtor urges any
Holder of Claims under the Plan, concerned about tax consequences of the Plan on that party to



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consult its tax advisor. The tax consequences of the Plan to individual Holders of Claims will
obviously hinge on the specific circumstances of that Holder.

       D. Circular 230 Disclosures

       The Disclosure Statement was not intended nor written by the Debtor or the Debtor’s
representatives to be used (and it shall not be used) by any taxpayer to avoid penalties that might
otherwise be imposed on the taxpayer in connection with (or as a result of) any of the transactions
or matters described herein. This Disclosure Statement was written to support the promotion or
marketing of the transactions or matters addressed in this Disclosure Statement. Each taxpayer
should seek tax advice based on his or her particular circumstances from an independent advisor.

                                  X.        CONCLUSION

       The Debtor urges all Holders of Claims to vote to ACCEPT the Plan and to evidence such
acceptance by mailing their ballots in the self-addressed stamped envelope so that they will be
received by ________, 2024.


       DATED: January 23, 2024

                                                     ALEXANDER E. JONES
                                                     /s/ DRAFT ____




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       EXHIBIT A
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                  §    Chapter 11
                                        §
ALEXANDER E. JONES,                     §
                                        §
         Debtor.                        §    Case No. 22-33553 (CML)
                                        §




             DEBTOR’S PROPOSED AMENDED PLAN OF REORGANIZATION




Dated: January 23, 2024.             CROWE & DUNLEVY, P.C.

                                     Vickie L. Driver
                                     State Bar No. 24026886
                                     Christina W. Stephenson
                                     State Bar No. 24049535
                                     2525 McKinnon St., Suite 425
                                     Dallas, TX 75201
                                     Telephone: 737.218.6187
                                     Email: dallaseservice@crowedunlevy.com

                                     -and-

                                     Shelby A. Jordan
                                     State Bar No. 11016700
                                     S.D. No. 2195
                                     Antonio Ortiz
                                     State Bar No. 24074839
                                     S.D. No. 1127322
                                     JORDAN & ORTIZ, P.C.
                                     500 North Shoreline Blvd., Suite 900
                                     Corpus Christi, TX 78401
                                     Telephone: (361) 884-5678
                                     Facsimile: (361) 888-5555
                                     Email: sjordan@jhwclaw.com
                                            aortiz@jhwclaw.com

                                     ATTORNEYS FOR ALEXANDER E. JONES
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                                               INTRODUCTION

        Alexander E. Jones proposes this Plan pursuant to Bankruptcy Code section 1121(a).
Reference is made to the Disclosure Statement, distributed contemporaneously herewith, for a
discussion of the Debtor’s assets, liabilities, resolutions of certain material disputes, future income
projections, liquidation analysis, risk factors, summary and analysis of the Plan, and certain related
matters. The Distributions to be made pursuant to this Plan to Holders of Allowed Claims, in each
of the Classes of Claims against the Debtor set forth in Article III of this Plan, are set forth in
Article V of this Plan.

     THE DEBTOR URGES ALL HOLDERS OF CLAIMS TO READ THIS PLAN AND
THE DISCLOSURE STATEMENT IN THEIR ENTIRETY. NO SOLICITATION MATERIALS
OTHER THAN THE DISCLOSURE STATEMENT AND ANY DOCUMENTS, SCHEDULES
OR EXHIBITS ATTACHED THERETO OR REFERENCED THEREIN HAVE BEEN
AUTHORIZED BY THE DEBTOR OR THE BANKRUPTCY COURT FOR USE IN
SOLICITING ACCEPTANCES OR REJECTIONS OF THIS PLAN.

                                           SUMMARY OF PLAN1

         The Plan provides for the reorganization of the Debtor and the payment of Allowed Claims
through: (a) the continued orderly liquidation of certain non-exempt assets of the Debtor; (b) the
settlement of various estate claims against individuals and businesses; and (c) the Debtor’s
commitment to contribute substantial funds from his future income. More specifically, the Debtor
will contribute 100% of the Net Disposable Income of Free Speech System, LLC (“FSS”) as set
forth in the FSS Plan and 50% of the Debtor’s Plan Income to both settling and non-settling parties,
until such time as certain minimum payments have been contributed for settling parties, and then
25% of the Debtor’s Plan Income over the remaining Plan Term to non-settling parties. As a
result, all allowed administrative claims, priority claims, and secured claims will be paid in full,
and allowed unsecured creditors will receive a substantial Distribution (and significantly more than
they would receive in a liquidation whether through a liquidating chapter 11 plan or a chapter 7).

        The Plan also allows for unsecured creditors to opt in to a “settling class” allowing for
faster payment of their claims and repayment from certain non-exempt assets of the Debtor in
exchange for settlement of certain existing litigation claims. This settlement class facilitates the
Plan and benefits all stakeholders by resolving pending litigation that would otherwise be both
costly and time consuming for the Debtor and the bankruptcy estate. Finally, the Plan incentivizes
the Debtor to satisfy his obligations to fund the Plan as soon as possible to accelerate payments to
creditors.




1
  This Summary is intended solely to provide an overview of the Plan. The Summary shall not be binding on the
Debtor, and in the event of any conflict between the Summary and any other provision of the Plan, such other provision
shall be controlling.

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                                             ARTICLE I:

                 DEFINITIONS, CONSTRUCTION, AND INTERPRETATION

          The capitalized terms used herein shall have the respective meanings set forth below. A
  capitalized term used herein that is not defined in this Article shall have the meaning ascribed to
  that term, if any, in the Bankruptcy Code. The rules of construction contained in section 102 of
  the Bankruptcy Code shall apply to the construction of the Plan. Whenever the context requires,
  words denoting the singular number shall include the plural number and vice versa, and words
  denoting one gender shall include the other gender and vice versa. All exhibits and schedules
  attached to the Plan are incorporated herein.

         1.01.   “Administrative Claim” means any Claim for an Administrative Expense.

          1.02. “Administrative Expense” means any cost or expense of administration of this case
  incurred on or before the Effective Date that is entitled to priority under section 507(a)(2) and
  allowed under section 503(b) of the Bankruptcy Code, including, without limitation, Fee Claims
  and all other claims for compensation or reimbursement of expenses to the extent allowed by the
  Bankruptcy Court under the Bankruptcy Code, Cure Claims, and all fees and charges assessed
  against the Debtor’s Estate under the Bankruptcy Code.

         1.03. “Allowance Date” means the date on which a Claim, an Administrative Claim, or
  any Secured Claim becomes an Allowed Claim.

           1.04. “Allowed” means, when used with respect to a Claim (including any
  Administrative Claim), or any portion thereof, a Claim, Administrative Claim, or any portion
  thereof (a) that has been allowed by a Final Order, (b) that was listed in the Schedules as neither
  disputed, contingent nor unliquidated and for which no timely Proof of Claim was filed, (c) for
  which a Proof of Claim in a liquidated amount has been timely filed pursuant to the Bankruptcy
  Code or as required by any Final Order of the Bankruptcy Court and as to which either (i) no
  objection to its allowance has been filed on or before the Objection Deadline or within any other
  period fixed by the Bankruptcy Code or a Final Order of the Bankruptcy Court or (ii) any objection
  to its allowance has been settled, waived through payment, withdrawn, or denied by a Final Order
  of the Bankruptcy Court, or (d) that is expressly allowed in a liquidated amount in the Plan. For
  the avoidance of doubt, in order to have an Allowed Claim, each Non-Electing Plaintiff must have
  a Final Order against the Debtor in their respective state court litigation case.

          1.05. “Avoidance Action” means any cause of action under any of sections 544, 545,
  546, 547, 548, 549, 550, 551, or 553(b) of the Bankruptcy Code, which actions are waived except
  as specified in the Plan.

         1.06. “Bankruptcy Case” means the Debtor’s Bankruptcy Case No. 22-33553 under
  chapter 11 of the Bankruptcy Code.

           1.07. “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended, and
codified at title 11 of the United States Code.

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          1.08. “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
  District of Texas, Houston Division, or such other court having jurisdiction over this case.

          1.09. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
  prescribed by the United States Supreme Court pursuant to section 2075 of title 28 of the United
  States Code.

         1.10. “Business Day” means any day on which commercial banks are open for business
  in Austin, Texas.

           1.11.   “Cash” means legal tender of the United States of America or Cash equivalents.

          1.12. “Cause of Action” means any cause of action or right to payment arising under
  federal, state, or common law, including Avoidance Actions, that the Debtor or the Estate may
  hold against any Person.

           1.13. “Claim” shall have the meaning provided in section 101(5) of the Bankruptcy
  Code.

           1.14.   “Class” means a category of Holders of Claims as set forth in the Plan.

           1.15. “Collateral” means any property of the Debtor subject to a valid and enforceable
lien to secure the payment of a Claim.

         1.16. “Confirmation Date” means the date on which the Bankruptcy Court enters the
  Confirmation Order.

         1.17. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to Bankruptcy Code section 1128 on confirmation of the Plan.

           1.18.   “Confirmation Order” means the order of the Bankruptcy Court confirming this
  Plan.

           1.19. “Creditor” shall mean the Holder of a Claim.

         1.20. “Cure Claim” means a Claim arising from the assumption of an Executory
  Contract under section 365(b) of the Bankruptcy Code.

          1.21. “Debtor” means Alexander E. Jones, and shall also include, where applicable,
  Jones from and after the Effective Date as reorganized pursuant to this Plan.

          1.22. “Disallowed” means, when used with respect to a Claim, a Claim or the portion
  thereof which, in a properly entered order of the Bankruptcy Court, is fully and finally (a) denied
  allowance, or (b) is estimated for purposes of payment or other Plan Distributions at zero ($0.00).
  Disallowed means, when used with respect to an Administrative Expense of a professional that is
  a Fee Claim, an Administrative Expense or portion thereof that is denied by the Bankruptcy Court
  or other court of competent jurisdiction or that is estimated by the Bankruptcy Court for purposes
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of payment or other Plan Distributions at zero ($0.00).

        1.23. “Disbursement Agent” means a person designated by the Debtor, with the consent
of the Electing Plaintiffs, who shall have the responsibilities set forth in Article X of the Plan. The
Disbursement Agent may be the same person as the trustee for the FSS Trust.

         1.24. “Discharge Date” means the date upon which the Court grants the Debtor a
discharge upon the earlier of (i) the Debtor having satisfied his payment obligations under the Plan
or (ii) all Allowed Claims shall have been paid.

        1.25. “Disclosure Statement” means the Disclosure Statement of Jones with respect to
this Plan of Reorganization, as approved by the Court, as it may be altered, amended, or modified
from time to time in accordance with the provisions of the Bankruptcy Code and the Bankruptcy
Rules, together with any Exhibits thereto.

         1.26. “Disputed” when used with respect to a Claim, means any such Claim that is listed
in the Debtor’s Schedules as disputed, contingent, or unliquidated, any Claim that is the subject of
an objection filed in the Bankruptcy Court, any Claim that is disputed by the Debtor in any
litigation, lawsuit, or adversary proceeding in the Bankruptcy Court or any other court of competent
jurisdiction, or any Claim that is not Allowed.

       1.27. “Distribution” means the property required by this Plan to be distributed to the
Holders of Allowed Claims.

        1.28. “Domestic Support Obligations” has the meaning provided in Section 101(14A)
of the Bankruptcy Code, as such obligations may be modified from time to time by a court of
appropriate jurisdiction.

          1.29. “Effective Date” means the first Business Day that is the later of fourteen (14) days
after the Confirmation Date of this Plan if the Confirmation Order is not stayed prior to such date
or, if the Confirmation Order is stayed, the first Business Day following the lifting, dissolution, or
removal of such stay.

        1.30. “Electing Plaintiffs” means those certain unsecured creditor parties who elect
“Opt-In Settlement” Claim Treatment under Class 5 by the Voting Deadline and vote in favor of
the Plan.

         1.31. “Electing Plaintiff Pro Rata Share” means the ratio, expressed as a percentage, of
an Electing Plaintiff’s Allowed Claim divided by the Allowed Claims of all Electing Plaintiffs,
collectively.

       1.32. “Estate” means the Debtor’s estate in this case created pursuant to section 541 of
the Bankruptcy Code.

       1.33. “Executory Contract” means any prepetition executory contract or unexpired lease
governed by section 365 of the Bankruptcy Code.

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          1.34. “Fee Application” means an application for the allowance of a Fee Claim.

          1.35. “Fee Claim” means a Claim by a Professional or any other party-in-interest
pursuant to sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code or otherwise
relating to services performed after the Petition Date and prior to and including the Effective Date.

         1.36. “Final Decree” means the final decree entered by the Bankruptcy Court on or after
the Effective Date and pursuant to Bankruptcy Rule 3022.

           1.37. “Final Order” means (a) an order as to which the time to appeal, petition for
certiorari or move for reargument, rehearing, reconsideration, new trial, or to alter or amend findings
or judgment has expired and as to which no appeal, petition for certiorari or other proceedings for
reargument, rehearing, reconsideration, new trial, or to alter or amend findings or judgment shall
then be pending or (b) in the event that an appeal, writ of certiorari, reargument, rehearing,
reconsideration, new trial, or motion to alter or amend findings or judgment thereof has been sought,
such order shall have been affirmed by the highest court to which such order was appealed, or
certiorari has been denied or from which reargument, rehearing, reconsideration, new trial, or motion
to alter or amend findings or judgment was sought, and the time to take any further appeal, petition
for certiorari or move for reargument, rehearing, reconsideration, new trial, or to alter or amend
findings or judgment shall have expired; provided, however that no order shall fail to be a Final
Order solely because of the possibility that a motion pursuant to Rule 59 or Rule 60 of the Federal
Rules of Civil Procedure may be filed.

          1.38. “FSS” means Free Speech Systems, LLC.

          1.39. “FSS Plan” means a plan under Chapter 11 Subchapter V of the Bankruptcy Code
for FSS. “FSS Plan” shall refer specifically to Docket No. 756 in Case No. 22-60043 unless further
amended by FSS, at which time “FSS Plan” shall refer to such plan as amended.

          1.40. “FSS Trust” means the Free Speech Systems Settlement Trust established pursuant
to the FSS Plan.

           1.41. “General Unsecured Claims” means non-priority unsecured claims held by
parties-in-interest.

         1.42. “GUC Pro Rata Share means the ratio, expressed as a percentage, of a Holder of an
Allowed General Unsecured Claim in Class 6 divided by the Allowed Claims of all Holders of Allowed
General Unsecured Claims in Class 6, collectively.

           1.43. “Holder” means a Person who is the beneficial owner of a Claim. For purposes of
a Distribution, a Person must be a Holder as of the Initial Distribution Date. For purposes of voting
to accept or reject this Plan, a Person must be a Holder as of the Voting Record Date. A Holder may
transfer their claim to another Person for purposes of Distribution.

          1.44. “Income Stream Payment” means for a particular Plan Year during the Plan Term
(i) 50% of the Debtor’s Plan Income for such Plan Year through the end of the year in which the
Payment Trigger occurs; and (ii) 25% of the Debtor’s Plan Income for each such Plan Year following
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the year in which the Payment Trigger occurs.

          1.45. “Initial Distribution Date” means the date, determined by the Disbursement
Agent, as soon as reasonably practical after the Effective Date, that Distributions with respect to
Priority Tax Claims, Secured Tax Claims and Non-Tax Priority Claims shall commence.

           1.46. “Lien” has the meaning provided in Bankruptcy Code section 101(37) and shall
include a “statutory lien” as defined in Bankruptcy Code section 101(53).

          1.47. “Minimum Annual Distribution” means, for each Electing Plaintiff in any given
Plan Year during the Plan Term, the Plaintiff Pro Rata Share for such Plaintiff multiplied by $5.5
million, minus, the amount received by such Electing Plaintiff from the FSS Trust with respect to
such Plan Year.

           1.48. “Net Proceeds” means any amounts collected by the Debtor from any disposition
of any non-exempt property, after payment of all reasonable and customary costs and expenses
associated therewith which may be required to be paid under applicable law or agreement to
effectuate the receipt of such proceeds, including, without limitation, any reasonable attorney fees
not otherwise paid under the Plan as an Administrative Expense.

         1.49. “Non-Electing Payment” means, on an annual basis for a particular Plan Year, the
Income Stream Payment, minus the Distributions each Electing Plaintiff is entitled to under the Plan.

           1.50. “Non-Electing Plaintiffs” means those certain unsecured creditor parties who do
not elect “Opt-In Settlement” Claim Treatment under Class 5 and will instead be treated as general
unsecured creditors under Class 6.

           1.51. “Non-Exempt Assets” means, the Debtor’s Cash as of the Effective Date, less the
$250,000 reserve for living and post-confirmation legal expenses (as set forth in Section 6.02), as
well as assets listed on the schedules of assets of the Debtor (other than assets scheduled on Schedule
C as exempt for which there is no pending exemption objection), including, for the avoidance of
doubt, any income tax refund owed to the Debtor as of the Petition Date. Notwithstanding the
foregoing, Non-Exempt Assets does not include the Charger, the Rolex Oyster Perpetual Date, or
any ownership interests the Debtor holds in entities and trusts, which the Debtor will retain post-
confirmation due to the expense in replacing a car, the inability of creditors to reach trust corpus, or
the inability to liquidate for value above liquidation costs. For clarity, Schedule A, attached hereto,
contains a chart setting forth the Non-Exempt Assets, Exempt Assets, and those assets this Plan
proposes that the Debtor retain that are not exempt.

           1.52. “Non-Tax Priority Claim” means any Claim that, if allowed, would be entitled to
priority in payment under Bankruptcy Code section 507(a) other than a Priority Tax Claim, an
Administrative Claim, or a Domestic Support Obligation.

           1.53. “Objection Deadline” means the date by which objections to Claims shall be filed
with the Bankruptcy Court and served upon the respective Holder(s) thereof as provided in section
10.02 of the Plan, which date shall be ninety (90) days after the Effective Date unless extended by
order of the Bankruptcy Court for good cause shown.
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          1.54. “Opt-In Settlement Unsecured Claims” means the Claims held by those certain
Electing Plaintiffs who elect “Opt-In Settlement” Claim Treatment under Class 5.

           1.55. “Ordinary Course of Business” shall have the meaning given to such term as
utilized in Section 363(b) of the Bankruptcy Code.

           1.56. “Payment Trigger” shall mean the receipt by each Electing Plaintiff of their
Plaintiff Pro Rata Share of $55 million, collectively from (i) the FSS Trust; (ii) the Income Stream
Payment pursuant to this Plan and (iii) the 70% of proceeds from liquidation of Non -Exempt Assets
minus cost of liquidation.

          1.57. “Person” means and includes natural persons, corporations, limited partnership,
general partnerships, joint ventures, trusts, land trusts, business trusts, unincorporated
organizations, or other organizations, irrespective of whether they are legal entities, governments and
agencies and political subdivisions thereof or other entities.

          1.58.   “Petition Date” means December 2, 2022.

          1.59. “Plaintiff” means each of the following: Neil Heslin, Scarlett Lewis, Leonard
Pozner, Veronique De La Rosa, the Estate of Marcel Fontaine, David Wheeler, Francine Wheeler,
Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee
Soto Parisi, Carlos M. Soto, Jilian Soto-Marino, William Aldenberg, William Sherlach, and Robert
Parker.

        1.60. “Plaintiff Pro Rata Share” means the ratio, expressed as a percentage, of a Plaintiff’s
 Allowed Claim divided by the Allowed Claims of all Plaintiffs, collectively.

          1.61. “Plan” or “Plan of Reorganization” means this Plan of Reorganization either in
 its present form or as it may hereafter be altered, amended, or modified from time to time.

          1.62.   “Plan Default” means the occurrence of a default under Article XIII of this Plan.

          1.63. “Plan Income” means, on an annual basis, the amount of cash basis income plus
 taxable fringe benefits received by the Debtor from all sources, including salary, equity
 distributions, unspecified donations, proceeds from litigation claims after litigation expenses, and
 other sources net of direct expenses, after deducting estimated taxes, health insurance, and
 Domestic Support Obligations. The Disbursement Agent has the sole authority to review the
 Debtor’s annual income and deductions as well as FSS financials to ensure all income is reported
 and all deductions are appropriate hereunder. Payments for Disbursement Agent expenses shall be
 deducted from the initial funding of the 30% Net Proceeds of the Non-exempt Asset liquidation;
 then from Plan Income prior to calculations for Distributions. Plan Income shall also include, after
 the payment of senior classes as well as all Administrative Expense Claims and Priority Claims,
 the net proceeds from liquidating the Non-Exempt Assets and all Cash contributed by the Debtor
 to the FSS Trust on or after the Effective Date. For the avoidance of doubt, Plan Income shall not
 include amounts paid by the FSS Trust pursuant to the FSS Plan.

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         1.64. “Plan Supplement” shall mean those certain documents and schedules to be filed
no later than seven (7) days prior to the Confirmation Hearing, which shall include the identity of
the Disbursement Agent and related agreements, the terms of any proposed settlements with
Related Parties and schedules of assumed and rejected contracts to the extent applicable.

       1.65. “Plan Term” shall mean the period from the Effective Date through 120 months
from the Effective Date, as may be extended pursuant to Section 13.03 hereof, unless otherwise
determined by a Final Order of the Bankruptcy Court.

       1.66. “Plan Year” shall mean the twelve month period beginning with the first day of
the month following the Effective Date.

         1.67. “Priority Tax Claim” means any Claim against the Debtor that, if Allowed, would
be entitled to priority in payment under section 507(a)(8) of the Bankruptcy Code.

         1.68. “Professional” means a Person defined as a professional person in sections 327 or
1103 of the Bankruptcy Code who has been employed pursuant to an order of the Bankruptcy Court
in this chapter 11 case and any professional seeking compensation or reimbursement of costs and
expenses in connection with this chapter 11 case pursuant to section 503(b)(4) or 1129(a)(4) of the
Bankruptcy Code.

       1.69. “Rejection Bar Date” means the day that is thirty (30) days after the entry of the
Confirmation Order.

        1.70. “Rejection Damage Claim” means a Claim by a party to an Executory Contract
with the Debtor that has been rejected by the Debtor pursuant to this Plan or a prior Final Order of
the Bankruptcy Court entered in this case.

       1.71. “Related Parties” means those certain individuals or companies related to the
Debtor via blood, marriage, or ownership as identified on Schedule B.

        1.72. “Rental Property” means that certain real property owned by the Debtor located in
Travis County, Texas which as of the date of this Plan is occupied by an individual tenant who is
not a Related Party.

         1.73. “Secured Claim” means a Claim that is secured by a security interest in or a lien
on property of the Estate to the extent of the value, as of the Effective Date or such other date
established by the Bankruptcy Court, of such Claim Holder’s interest in the Estate’s interest in such
property as determined by a Final Order of the Bankruptcy Court pursuant to section 506 of the
Bankruptcy Code or as otherwise agreed upon in writing by the Debtor and the Claim Holder.
Secured Claims shall include Claims secured by security interests or liens junior in priority to
existing security interests or liens, whether by operation of law, contract, or otherwise, but solely
to the extent of the value, as of the Effective Date or such other date established by the Bankruptcy
Court, of such Claim Holder’s interest in the Estate’s interest in such property after giving effect
to all security interests or liens senior in priority.

        1.74.   “Secured Tax Claim” means a Claim by a governmental unit for the payment of a
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tax assessed against property of the Estate and that is secured as of the Effective Date by a Lien
against such property, which Lien is valid, perfected and enforceable under applicable law and is
not subject to avoidance under the Bankruptcy Code or applicable non-bankruptcy law, but only to
the extent of the value of the property securing such Claim.

        1.75. “Schedules” means the schedules of assets and liabilities and the statement of
financial affairs filed by the Debtor as required by section 521 of the Bankruptcy Code and
Bankruptcy Rule 1007, as such schedules and statement have been or may be supplemented or
amended.

        1.76. “United States Trustee” means the United States Trustee appointed under Section
591, Title 28, United States Code to serve in the Southern District of Texas.

        1.77. “Unsecured Claim” means a Claim that is not a Secured Claim, an Administrative
Claim, a Priority Tax Claim or a Non-Tax Priority Claim.

        1.78. “Voting Record Date” means the date on which an Order conditionally approving
the Disclosure Statement is signed.

                                           ARTICLE II:

                                    UNCLASSIFIED CLAIMS

        2.01.   Administrative Claims.

          (a)      Time for Filing Administrative Claims. The Holder of any Administrative
  Claim that is incurred, accrued, or in existence prior to the Effective Date, other than (i) a Fee
  Claim, (ii) an Allowed Administrative Claim, or (iii) a liability incurred in the Ordinary Course
  of Business must file with the Bankruptcy Court and serve on all parties required to receive such
  notice a request for the allowance of such Administrative Claim on or before thirty (30) days
  after the Effective Date. Such request must include at a minimum (i) the name of the Holder of
  the Claim, (ii) the amount of the Claim, and (iii) the basis of the Claim. Failure to timely and
  properly file and serve the request required under this Section shall result in the Administrative
  Claim being forever barred and discharged. Objections to such requests must be filed and served
  pursuant to the Bankruptcy Rules on the requesting party and the Debtor within thirty (30) days
  after the filing of the applicable request for payment of an Administrative Claim.

           (b)     Time for Filing Fee Claims. Any Person who holds or asserts an Administrative
  Claim that is a Fee Claim shall be required to file with the Bankruptcy Court and serve on all
  parties required to receive such notice a Fee Application within sixty (60) days after the Effective
  Date. Failure to timely and properly file and serve a Fee Application as required under this
  Section shall result in the Fee Claim being forever barred and discharged. No Fee Claim will be
  deemed Allowed until an order allowing the Fee Claim becomes a Final Order. Objections to
  Fee Applications must be filed and served pursuant to the Bankruptcy Rules on the Debtor and
  the Person to whose application the objections are directed or made within thirty (30) days after
  the filing of the Fee Application subject to objection. No hearing may be held on a specific Fee
  Application until the foregoing objection period with respect to that Fee Application has expired.
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         (c)    Allowance of Administrative Claims. An Administrative Claim with respect to
 which a request for payment is required and has been properly filed pursuant to Section 2.01(a)
 of the Plan shall become an Allowed Administrative Claim if no timely objection is filed. If a
 timely objection is filed, the Administrative Claim shall become an Allowed Administrative
 Claim only to the extent Allowed by a Final Order. An Administrative Claim that is a Fee Claim,
 and with respect to which a Fee Application has been properly filed and served pursuant to
 Section 2.01(b) of the Plan, shall become an Allowed Administrative Claim only to the extent
 Allowed by a Final Order.

         (d)    Payment of Allowed Administrative Claims. Except to the extent that a Holder
 of an Allowed Administrative Claim has been paid prior to the Effective Date with respect to
 Administrative Claims against the Debtor, or agrees to a different treatment, each Holder of an
 Allowed Administrative Claim (other than Allowed Administrative Claims incurred in the
 Ordinary Course of Business, which are paid pursuant to Section 2.01(e) below) shall receive
 from the Debtor, in full satisfaction, release and discharge of and exchange for such
 Administrative Claim, and after the application of any retainer or deposit held by such Holder,
 Cash equal to the Allowed amount of such Administrative Claim within ten (10) Business Days
 after the Allowance Date with respect to such Allowed Administrative Claim.

         (e)      Administrative Claims Incurred in the Ordinary Course of Business. Holders
 of Administrative Claims based on liabilities incurred in the Ordinary Course of Business of the
 Debtor during the Bankruptcy Case (other than Claims of governmental units for taxes or Claims
 and/or penalties related to such taxes, or alleged Administrative Claims arising in contract or
 tort) shall not be required to file any request for payment of such Claims. Each Administrative
 Claim incurred in the Ordinary Course of Business of the Debtor will be paid by the Debtor
 pursuant to the terms and conditions of the transaction giving rise to such Administrative Claim,
 without any further action by the Holder of such Administrative Claim. The Debtor reserves and
 shall have the right to object before the Objection Deadline to any Administrative Claim arising,
 or asserted as arising, in the Ordinary Course of Business, and shall withhold payment of such
 claim until such time as any objection is resolved pursuant to a settlement or a Final Order.

       2.02.   Priority Tax Claims.

        Except to the extent that an Allowed Priority Tax Claim has been paid or otherwise satisfied
prior to the Initial Distribution Date (which shall occur only if reasonably determined by the Debtor
to be not material in amount with respect to the Debtor’s obligations under the Plan), each Holder
of an Allowed Priority Tax Claim, in full satisfaction, release, settlement, and discharge of and
exchange for such Claim, shall receive from the Debtor (a) deferred Cash payments over a period
not exceeding five (5) years after the Petition Date in an aggregate principal amount equal to the
Allowed amount of such Priority Tax Claim, plus interest, from the Petition Date through the date
such Claim is paid in full, on the unpaid portion thereof at the rate of interest determined under
applicable nonbankruptcy law as of the calendar month in which the Confirmation Date occurs, in
equal annual installments with the first payment to be due on the later of (i) the Initial Distribution
Date or (ii) five (5) Business Days after the date when a Priority Tax Claim becomes an Allowed
Priority Tax Claim, and subsequent payments to be due on each anniversary of the Initial
Distribution Date, or (b) such other less favorable treatment to which such Holder and the Debtor
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agree in writing. Notwithstanding the foregoing, (a) any Claim or demand for payment of a penalty
(other than a penalty of the type specified in Bankruptcy Code section 507(a)(8)(G)) shall be
Disallowed pursuant to the Plan and the Holder thereof shall not assess or attempt to collect such
penalty from the Debtor or from any of the assets, and (b) provided that the Debtor has otherwise
complied with the terms and provisions of the Plan, the Debtor shall have the right to pay any
Allowed Priority Tax Claim, or any unpaid balance of such Claim, in full, at any time after the
Effective Date, without premium or penalty.

       2.03.   Domestic Support Obligations.

        On the Effective Date, the Debtor shall make any payments that may be required to comply
with any post-petition unfunded obligations on account of any Domestic Support Obligations, as
may be required for the Debtor to be current with respect to such Domestic Support Obligations
as of the Effective Date as required pursuant to section 1129(a)(14) of the Bankruptcy Code. After
the Effective Date the Debtor shall timely make all payments on account of Domestic Support
Obligations to the parties entitled to receive such payments, in each case at the times and in the
amounts required by the agreements and orders evidencing such Domestic Support Obligations,
as such agreements may from time to time be modified in accordance with applicable state law.

       2.04.   U.S. Trustee Fees.

       The Debtor shall continue to remit to the office of the United States Trustee all appropriate
post confirmation monthly reports for all relevant time periods until the Bankruptcy Case is closed
by order of the Bankruptcy Court or converted to a case under chapter 7 of the Bankruptcy Code.
The Debtor shall pay to the United States Trustee the appropriate sum required pursuant to 28
U.S.C. § 1930(a)(6) for all quarters as applicable and shall continue to remit quarterly fee payments
based on all disbursements, until the Bankruptcy Case is closed by order of the Bankruptcy Court,
or converted to a case under chapter 7 of the Bankruptcy Code.

                                           ARTICLE III:

                                CLASSIFICATION OF CLAIMS

       3.01.   Introduction.

        All Claims, except Administrative Claims, are placed in the Classes set forth below. In
accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims have not been
classified.

        The Plan contemplates separate Classes for the Debtor for voting and Distribution
purposes. To the extent a Class contains one or more subclasses, each such subclass is deemed to
be a separate Class for all purposes under the Bankruptcy Code and the Plan.

        Except for the unclassified Claims discussed in Article II above, Section 3.02 of the Plan
sets forth a designation of Classes of all Claims in accordance with Bankruptcy Code section
1122(a). A Claim is classified in a particular Class only to the extent any portion of the Claim
qualifies within the description of the Class and is classified in a different Class to the extent any
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portion of the Claim qualifies within the description of that different Class. If a Claim is acquired
or transferred, the Claim shall be placed in the Class in which it would have been placed if it were
owned by the original Holder of such Claim. A Claim is also placed in a particular Class for the
purpose of receiving Distributions only to the extent that such Claim is an Allowed Claim in that
Class, and such Claim has not been paid, satisfied or released before the Effective Date.

       3.02.    Claims Against the Debtor.

         (a)     Class 1: Non-Tax Priority Claims

         (b)     Class 2: Priority Tax Claims

         (c)     Class 3: Secured Claim of Bank of America

         (d)     Class 4: Secured Claim of Security Bank of Crawford

         (e)     Class 5: Unsecured “Opt-In Settlement” Claims

         (f)     Class 6: General Unsecured Claims

         (g)     Class 7: Administrative Convenience Claims



                                           ARTICLE IV

               IDENTIFICATION OF UNIMPAIRED AND IMPAIRED CLAIMS

       4.01.    Unimpaired Claims

      Claims against the Debtors in Classes 1, 2, 3, and 4 are not impaired under the Plan, and
the Holders of those Claims are conclusively presumed to have accepted the Plan under
Bankruptcy Code section 1126(f) and are thus not entitled to vote on the Plan.

       4.02.    Impaired Claims

       Claims against the Debtor in Classes 5, 6, and 7 are impaired under the Plan, and the
Holders of those Claims are entitled to vote to accept or reject the Plan.

       4.03.    Controversy Concerning Impairment

       In the event of a controversy as to whether any Claim or any Class of Claims is impaired
under the Plan, the Bankruptcy Court will determine the controversy, after notice and a hearing.




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                                            ARTICLE V

                                    TREATMENT OF CLAIMS

       5.01. Non-Tax Priority Claims – Class 1

        On or as soon as practicable after the later of (a) the Initial Distribution Date or (b) the
Allowance Date with respect to a Non-Tax Priority Claim, each Holder of such Allowed Non- Tax
Priority Claim shall receive from the Disbursement Agent, in full satisfaction, settlement, release,
and discharge of and in exchange for such Allowed Non-Tax Priority Claim, (y) Cash in an amount
equal to the Allowed amount of its Non-Tax Priority Claim, or (z) such other, less favorable
treatment to which such Holder and the Debtor agrees in writing. To the extent an Allowed Non-
Tax Priority Claim entitled to priority treatment under 11 U.S.C. §§ 507(a)(4) or (5) exceeds the
statutory cap applicable to such Claim, such excess amount shall be treated as a Class 6 General
Unsecured Claim against the Debtor.

       5.02. Priority and Secured Tax Claims – Class 2

        With respect to any Allowed Priority Tax Claim, to the extent not already paid or otherwise
satisfied, on or as soon as practicable after the later of (a) the Initial Distribution Date or (b) the
Allowance Date with respect to a Priority Tax Claim, each Holder of an Allowed Priority Tax
Claim shall receive from the Debtor in full satisfaction, settlement, release, and discharge of and
in exchange for such Allowed Priority Tax Claim, (x) Cash equal to the Allowed Amount
of its Allowed Priority Tax Claim, plus interest thereon at the rate provided under applicable non-
bankruptcy law pursuant to Section 511 of the Bankruptcy Code from the Petition Date through
the date such Claim is paid in full, or (z) such other, less favorable treatment as may be agreed
upon in writing by such Holder and the Debtor.

        The Holder of a Secured Tax Claim for ad valorem taxes for any tax year from 2023 and
thereafter shall retain all rights and remedies for payment thereof in accordance with applicable
non-bankruptcy law.

        Notwithstanding any other provision of the Plan, each Holder of an Allowed Secured Tax
Claim shall retain its Lien on any Collateral that secures its Claim or the proceeds of such Collateral
(to the extent such Collateral is sold by the Debtor, free and clear of such Lien) to the same extent
and with the same validity and priority as such Lien held as of the Petition Date until (a) the Holder
of such Allowed Secured Tax Claim (i) has been paid Cash equal to the value of its Allowed
Secured Tax Claim and/or (ii) has received a return of the Collateral securing its Allowed Secured
Tax Claim, or (iii) has been afforded such other treatment as to which such Holder and the Debtor
have agreed upon in writing, or (b) such purported Lien has been determined by a Final Order to
be invalid or avoidable. To the extent that a Secured Tax Claim exceeds the value of the interest
of the Estate in the property that secured such Claim, such Claim shall be deemed Disallowed
pursuant to Bankruptcy Code section 502(b)(3).

       If the Debtor fails to timely make any payment to a Holder of an Allowed Secured Tax
Claim as required under Section 5.02 of the Plan, the affected Holder of an Allowed Secured Tax
Claim may send written notice of default to the Debtor. If the default is not cured within twenty-
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one (21) days after notice of default is mailed, such Holder may proceed with any remedies for
collection of amounts due under applicable non-bankruptcy law without further order of the
Bankruptcy Court.

       5.03. Secured Claim of Bank of America – Class 3

        (a)    Allowance. The Allowed amount of the Class 3 Secured Claim shall be equal to
the aggregate of (1) $26,354.73, plus (2) accrued and unpaid interest at the Contract Rate from the
Petition Date until the Rental Property is sold and such claim is paid in full, less any payments
made on account of such Claim from and after the Petition Date that are required to be applied as
payments of principal pursuant to an Order of the Bankruptcy Court.

        (b)    Treatment. Except to the extent that the Holder of the Allowed Class 3 Secured
Claim agrees to less favorable treatment of such Allowed Class 3 Secured Claim, the Holder of
the Allowed Class 3 Secured Claim shall receive from the Debtor, in full satisfaction, settlement,
release, and discharge of and in exchange for such Allowed Class 3 Secured Claim, Cash in an
amount equal to such Allowed Class 3 Secured Claim on the later of (i) the Effective Date, or (ii)
the date the Rental Property is sold and the Debtor has received the Net Proceeds of such sale in
immediately available funds. As of the Effective Date, the Debtor’s obligations under the loan
documents giving rise to the Allowed Class 3 Secured Claim, shall be reinstated and Bank of
America shall retain its lien rights pending sale of the Rental Property and payment of the Class 3
Claim in full.

       5.04. Secured Claim of Security Bank of Crawford – Class 4

       (a)     Allowance. The Allowed amount of the Secured Claim of Security Bank of
Crawford shall be equal to the aggregate of (1) $80,161.04, plus (2) accrued and unpaid interest at
the Contract Rate from the Petition Date until the Effective Date, less any payments made on
account of such Claim from and after the Petition Date and applied to the principal amount of such
Claims as required by the Bankruptcy Code. Payments are currently being made in accordance
with the relevant loan documents by FSS and are scheduled to continue under the FSS Plan.

        (b)    Treatment. From and after the Effective Date, the Debtor shall reinstate his existing
guarantor obligations under the applicable loan documents with respect to the Class 4 Claim of
Security Bank of Crawford, secured by the existing collateral, until such time as the loan
obligations are paid in full.

       5.05. “Opt-In Settlement” Unsecured Claims – Class 5

         (a)     Allowance. On the Effective Date, the Opt-In Settlement Unsecured Claims shall
         consist of the Claims of the Electing Plaintiffs.
              1)      Each Electing Plaintiff shall receive Cash in the amount of:
                          i)      such Electing Plaintiff’s Electing Plaintiff Pro Rata Share of
                                  70% of the Net Proceeds from the sale or other monetization of
                                  Non-Exempt Assets, as soon as reasonably practicable following
                                  the receipt of such Net Proceeds; and

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                           ii)     from the Effective Date until the year in which the Payment
                                   Trigger occurs, the greater of such Electing Plaintiff’s
                                   (x) Minimum Annual Distribution or (y) Plaintiff Pro Rata Share
                                   of the Income Stream Payment on an annual basis. The Electing
                                   Plaintiffs shall cease receiving Distributions under this Plan
                                   beginning the year following the occurrence of the Payment
                                   Trigger; provided; that Electing Plaintiffs may continue to
                                   receive payments under the FSS Plan and FSS Trust to the extent
                                   applicable. Payments under this paragraph shall be made on or
                                   before the first Business Day in May of each year following the
                                   Effective Date.

       The Net Proceeds from the liquidation of the Non-Exempt Assets including Cash paid by the
Debtor to the Disbursement Agent on the Initial Distribution shall reduce the Minimum Annual
Distribution for the first Plan Year.

                 2)    Each Electing Plaintiff shall have an Allowed Claim in the amount set forth
                       next to such person’s name on Exhibit A hereto. No further litigation with
                       respect to conduct occurring on or prior to the Confirmation Date shall be
                       pursued on behalf of Electing Plaintiffs against the Debtor or any Related
                       Party.

         (b)    Treatment. The Opt-In Settlement Unsecured Claims treatment shall be in full
                 satisfaction, settlement, release, and discharge of and in exchange for such
                 Allowed Claim. Such Claims shall be discharged after payments are made as set
                 forth herein. Also, for each year in which no uncured Plan Default occurs, 10% of
                 each Opt-In Settlement Unsecured Claim shall be waived and forever discharged.
                 However, whatever Opt-In Settlement Unsecured Claims that are not paid under
                 the Plan or waived and discharged pursuant to the preceding sentence, shall be
                 deemed to be non-dischargeable without further court process in the event of a
                 final, uncured Plan Default. The Debtor, the Disbursement Agent and the Electing
                 Plaintiffs will work cooperatively to determine the most tax efficient method of
                 distribution, which may include the Debtor directing FSS to make Income Stream
                 Payments from FSS or from the FSS Trust to the extent practicable.

         (c)    Settlement Injunction.

                1)     As consideration for the concessions made by the Electing Plaintiffs herein,
                       the Debtor agrees that, without first obtaining the permission of all Electing
                       Plaintiffs, the Debtor may not in any way publicly discuss the 2012 mass
                       shooting at Sandy Hook Elementary School, the Electing Plaintiffs, the
                       Electing Plaintiffs’ family members (including victims of the Sandy Hook
                       shooting) or any Claims or litigation arising from or relating to Debtor’s past
                       statements about the Sandy Hook mass shooting—other than to state that he
                       has no comment about such events or individuals. The Debtor will take all
                       reasonable steps to ensure that FSS does not make a public statement that
                       the Debtor would be prohibited from making under this paragraph. Failure
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                      by Debtor to comply with this provision constitutes a Plan Default
                      enforceable by the Electing Plaintiffs.

               2)     So long as no Plan Default has occurred and is continuing, the Electing
                      Plaintiffs agree that they will not seek to have Debtor or FSS removed from
                      any forums or platforms (electronic or physical), unless such forums or
                      platforms are owned or controlled by Electing Plaintiffs. So long as no Plan
                      Default has occurred and is continuing, the Electing Plaintiffs agree that they
                      will not seek to have any statements by Debtor or FSS removed from any
                      forums or platforms (electronic or physical), unless such forums or platforms
                      are owned or controlled by Electing Plaintiffs. Notwithstanding anything
                      else to the foregoing, Electing Plaintiffs shall not disparage the Debtor or
                      FSS and will make no public comment on the legal claims giving rise to the
                      Electing Plaintiffs’ Allowed Claims, or the treatment thereof under the Plan.
                      If Electing Plaintiffs do not comply with the terms set out in this paragraph,
                      Debtor may seek relief from the Bankruptcy Court, including injunctive
                      relief.

               3)     The Bankruptcy Court retains post-confirmation jurisdiction to determine
                      any such disputes.

        5.06. General Unsecured Claims – Class 6

         Following the Allowance Date of each General Unsecured Claim, after the resolution of
any existing appeals or litigation of such Claims, and except to the extent that a Holder of an
Allowed General Unsecured Claim agrees, under the terms of a writing executed by such Holder,
to less favorable treatment of such Allowed General Unsecured Claim, each Holder of an Allowed
General Unsecured Claim shall receive from the Debtor, in exchange for such Allowed General
Unsecured Claim, such Holder’s GUC Pro Rata Share of (x) prior to the occurrence of the Plan
Trigger, the amount of the Income Stream Payment remaining after Electing Plaintiffs are paid
pursuant to the terms of Section 5.05 of the Plan, and (y) beginning the year following the
occurrence of the Payment Trigger, all of the Income Stream Payment. Non-Electing Plaintiffs will
be enjoined against collecting against the Debtor during the Plan Term; however, such Non-
Electing Plaintiffs may, to the extent such Holder has a non-dischargeable claim, collect against
the Debtor’s non-exempt assets, unless such Claim is otherwise stayed, following the end of the
Plan Term. Any Claims of Non-Electing Plaintiffs shall be reduced by any payments received by
such claimants under the Plan.

       After the Initial Distribution, annual payments shall be made on or before the first Business
Day in the fifth month of the Plan Year.

        5.07. Administrative Convenience Claims – Class 7

       Each Holder of an Allowed Unsecured Claim in the amount of $5,000 or less, or such
Holders as agree to reduce their Claim to $5,000, shall receive from the Debtor, in full satisfaction,
settlement, release, and discharge of and in exchange for such Allowed Claim, a Cash payment as
soon as reasonably practicable following the Effective Date in the full amount of such Allowed
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Claim. Insiders with Allowed Claims may opt to settle their Claims to be paid as an Administrative
Convenience Claims Holder, but such Claim will be limited to $5,000, and be deemed fully
satisfied upon payment of that amount.

                                           ARTICLE VI

          MEANS FOR EXECUTION AND IMPLEMENTATION OF THIS PLAN

       6.01.   The Settlements

       (a)     Opt-In Settlement Unsecured Claims: Pursuant to Bankruptcy Rule 9019 and
               section 1123(b)(3)(A) of the Bankruptcy Code, in consideration for the
               classification, Distribution, and other benefits provided under the Plan, upon the
               Effective Date, the provisions of the Plan shall constitute a good-faith compromise
               and settlement of the Opt-In Settlement Unsecured Claims, which shall be binding
               upon Persons receiving Distributions under the Plan, the Debtor, and any other
               party treated under the Plan.

               As of the Effective Date, all litigation in any jurisdiction, including dischargeability
               litigation and any appeals thereof, amongst Holders of Opt-In Settlement
               Unsecured Claims including, without limitation, all litigation listed on Exhibit B,
               shall each be terminated with prejudice and without further costs to any party, and
               all necessary parties shall execute and deliver any related satisfactions of judgment
               or other documentation necessary to terminate such litigation and release any
               related judgment liens arising in or on account of such matters. The Debtor and the
               Holders of Opt-In Settlement Unsecured Claims agree that the resolution of such
               litigation takes into account a good faith evaluation by all parties of the costs and
               merits of such litigation, and that the dismissal of such ongoing litigation (including
               without limitation any pending appeals) as set forth herein is a good faith reasonable
               resolution of such litigation, in exchange for the consideration provided.

       (b)     Claims Against Related Parties: Pursuant to Bankruptcy Rule 9019 and section
               1123(b)(3)(A) of the Bankruptcy Code, in consideration for the benefits provided
               under the Plan, upon the Effective Date, the provisions of the Plan shall constitute
               a good-faith compromise and settlement of the estate’s Claims against Related
               Parties, which shall be binding upon Persons receiving Distributions under the Plan,
               the Debtor, and any other party treated under the Plan. Evidence in support of such
               settlements will be presented at the Confirmation Hearing. The proposed settlement
               and resolution of such Claims against Related Parties considers a good faith
               evaluation by all parties of the costs and merits of such litigation, as well as the
               collectability of any potential judgments in favor of the estate.

      Entry of the Confirmation Order shall constitute a determination by the Bankruptcy Court
pursuant to Bankruptcy Rule 9019 that the terms and conditions of the foregoing settlements and
the termination of all litigation (including, without limitation, any appeals) required thereunder is
reasonable, and in the best interests of the Debtor, his Estate, and all Creditors of the Debtor and
other parties in interest.
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          6.02.   Sources of Cash and Terms of Payment for Plan Distributions

        The sources of Cash necessary for the Debtor to pay Allowed Claims that are to be paid in Cash
by the Debtor under the Plan will be: (a) the Cash of the Debtor on hand as of the Effective Date, minus
a reserve totaling $250,000 (to account for three (3) months of reasonable living expenses as well as
certain post-confirmation legal expenses); and (b) Net Proceeds from the sale of the Debtor’s Non-
Exempt Assets; and (c) Cash generated or received by the Debtor after the Effective Date from any other
source, including but not limited to Cash flow to the Debtor from AEJ Trust and refunded trust expenses.

        Funds from payments under the FSS Plan made by the FSS Trust shall be used solely with respect
to the calculation of the Minimum Plan Distribution and are not being relied upon for purposes of
confirming this Plan.

         On the Effective Date, all Avoidance Actions not resolved will vest in the Disbursement Agent
or, at the option of the Debtor, the FSS Trust, and they will have the exclusive right to prosecute, settle,
or compromise all Avoidance Actions. Any such net payments resolving any Avoidance Actions shall
constitute Net Proceeds of Non-Exempt Assets for purposes of the Plan.

          6.03.   Payments.

          (a)    The Disbursement Agent shall remit payment of the following Allowed Claims in
  accordance with the limitations on the amount of such payments as set forth in the Plan, and the
  other terms and conditions of the Plan:

                  (i)    Administrative Claims, other than Administrative Claims Incurred
          in the Ordinary Course of Business as set forth in Section 2.01(d).

                  (ii)    Non-Tax Priority Claims as set forth in Section 5.01.

                  (iii)   Administrative Convenience Claims as set forth in Section 5.07.

                  (iv)    General Unsecured Claims as set forth in Section 5.06.

                  (v)      Administrative Claims Incurred in the Ordinary Course of Business
          as set forth in Section 2.01(e).

                  (vi)    Priority Tax Claims as set forth in Section 2.02.

                  (vii)   Domestic Support Obligations as set forth in Section 2.03.

                  (viii) U.S. Trustee fees as set forth in Section 2.04.

                  (ix)    Secured Tax Claims as set forth in Section 5.02

                  (x)     Secured Claim of Bank of America as set forth in Section 5.03.

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               (xi)    Secured Claim of Security Bank of Crawford as set forth in Section 5.04.

               (xii)   Unsecured Claims of Opt-In Settlement Claimants as set forth in Section
                       5.05.

       6.04. Post Effective Date Management.

        The Debtor shall continue to manage and control his assets after the Effective Date. To the
extent this Plan provides for the sale of the Debtor’s assets, the Disbursement Agent shall manage
and control the sale of such assets and shall liquidate such assets as expeditiously as reasonably
possible, consistent with the terms of this Plan and the goal of maximizing the value thereof for
the benefit of the Holders of Claims secured by a Lien on those assets and other stakeholders.

                                          ARTICLE VII

                       TREATMENT OF EXECUTORY CONTRACTS

       7.01.   General Treatment of Executory Contracts: Rejected

        The Plan constitutes and incorporates a motion under Bankruptcy Code sections 365 and
1123(b)(2) to (a) reject, as of the Effective Date, all Executory Contracts to which the Debtor is a
party, except for any Executory Contract that was terminated before the Effective Date or has been
assumed or rejected pursuant to an order of the Bankruptcy Court entered before the Effective
Date, and (b) assume all Executory Contracts identified in any schedule of assumed contracts that
may be included in the Plan Supplement.

        The Confirmation Order shall constitute an order of the Bankruptcy Court under
Bankruptcy Code sections 365 and 1123(b)(2) approving the rejection or assumption, as
applicable, of Executory Contracts pursuant to the Plan as of the Effective Date. Notice of the
Confirmation Hearing shall include the proposed Cure Amount with respect to any Executory
Contract that may be assumed under the Plan, and the Notice of the Confirmation Hearing shall
also notify all non-debtor parties to Executory Contracts that all Executory Contracts will be
rejected under the Plan except for any Executory Contract that was terminated before the Effective
Date or has been assumed or rejected pursuant to an order of the Bankruptcy Court entered before
the Effective Date, and any Executory Contracts identified in the Plan Supplement to be assumed.
For the avoidance of doubt, to the extent the Debtor’s premarital agreement could be characterized
as an executory contract, such agreement shall be assumed under this Plan. The Debtor does not
anticipate any cure costs associated with such agreement.

       7.02. Cure Payments and Release of Liability

        Except as otherwise provided in a Final Order, pursuant to Bankruptcy Code sections
365(a), (b), (c) and (f), all Cure Claims that may require payment under Bankruptcy Code section
365(b)(1) under any Executory Contract that is assumed pursuant to a Final Order shall be paid by
the Debtor as an Allowed Administrative Claim within fifteen (15) Business Days after such order
becomes a Final Order with respect to Cure Claims that are not Disputed or within fifteen (15)
Business Days after a Disputed Cure Claim is Allowed by agreement of the parties or a Final
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Order. If a party to an assumed Executory Contract has not filed an appropriate pleading on or
before the date of the Confirmation Hearing disputing any proposed Cure Claim, the cure of any
other defaults, the promptness of the Cure Claim payments, or the provision of adequate assurance
of future performance, then such party shall be deemed to have waived its right to dispute such
matters. Any party to an assumed Executory Contract that receives full payment of a Cure Claim
shall waive the right to receive any payment on a Class 6 General Unsecured Claim that relates to
or arises out of such assumed Executory Contract.

       7.03.   Bar to Rejection Claims

        If the rejection of an Executory Contract pursuant to Section 7.01 of the Plan gives rise to
a Claim by any non-Debtor party or parties to such Executory Contract, such Claim shall be forever
barred and shall not be enforceable against the Debtor, the Estate, or the agents, successors, or
assigns of the foregoing, unless a proof of such Claim is filed with the Bankruptcy Court and
served upon the Debtor on or before the Rejection Bar Date. Any Holder of a Claim arising out of
the rejection of an Executory Contract that fails to file a proof of such Claim on or before the
Rejection Bar Date shall be forever barred, estopped, and enjoined from asserting such Claim
against the Debtor, the Estate or any of their assets and properties. Nothing contained herein shall
extend the time for filing a proof of Claim for rejection of any Executory Contract rejected before
the Confirmation Date.

       7.04.   Rejection Claims

        Any Rejection Damage Claim arising from the rejection of an Executory Contract shall be
treated as a General Unsecured Claim pursuant to the Plan, except as limited by the provisions of
Bankruptcy Code sections 502(b)(6) and 502(b)(7) and mitigation requirements under applicable
law. Nothing contained herein shall be deemed an admission by the Debtor that such rejection
gives rise to or results in a Rejection Damage Claim or shall be deemed a waiver by the Debtor or
any other party in interest of any objections to such Rejection Claim if asserted.

                                          ARTICLE VIII

   CONDITIONS TO CONFIRMATION DATE AND EFFECTIVE DATE; EFFECT OF
                        PLAN CONFIRMATION

       8.01.   Conditions Precedent to Confirmation Date

       The occurrence of the Confirmation Date of the Plan is subject to satisfaction or waiver by
the Debtor of each of the following conditions:

        (a)     The Bankruptcy Court shall have entered a Final Order, in form and substance
 acceptable to the Debtor, approving the Disclosure Statement;

        (b)     The proposed Confirmation Order shall be in form and substance acceptable to
 the Debtor; and

         (c)     All of the schedules, documents, supplements and exhibits to the Plan shall have
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 been filed in form and substance acceptable to the Debtor.

       8.02.   Conditions Precedent to the Effective Date

       The occurrence of the Effective Date is subject to the occurrence or waiver by the Debtor
of each of the following conditions precedent:

         (a)     The Confirmation Date shall have occurred;

        (b)     The Confirmation Order shall have become a Final Order in form and substance
 acceptable to the Debtor; and

         (c)     FSS Plan confirmation shall have occurred and the FSS Plan shall become
 effective.

        Without limiting the foregoing, the Effective Date may occur notwithstanding the
pendency of an appeal of the Confirmation Order so long as there is no stay in effect and the Debtor
so elects in writing. The Effective Date may occur before the expiration of time to take an appeal
or to seek reconsideration of the Confirmation so long as there is no stay in effect if the Debtor so
elects in writing. In the event of any such appeal, the Debtor or any other party in interest may
seek the dismissal of such appeal on any grounds. The failure of the Debtor to exercise any of the
foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right that may be asserted at any time. The Debtor will file with the Bankruptcy
Court, and serve a copy on all parties in interest, a notice of the Effective Date within five (5)
Business Days after its occurrence.

       8.03.   Consequences of Non-Occurrence of Effective Date

        If the Effective Date does not timely occur, the Debtor reserves all rights to seek an order
from the Bankruptcy Court directing that the Confirmation Order be vacated and/or that the Plan
be null and void in all respects. If the Bankruptcy Court enters an order vacating the Confirmation
Order, the time within which the Debtor may assume and assign, or reject, all Executory Contracts
not previously assumed, assumed and assigned, or rejected shall be extended for a period of thirty
(30) days after the date the Confirmation Order is vacated or as further extended by the Bankruptcy
Court.

                                           ARTICLE IX

               EFFECT OF PLAN CONFIRMATION AND EFFECTIVE DATE

       9.01.   Binding Effect

       From and after the Effective Date, the Plan shall be binding upon and inure to the benefit
of the Debtor, all former, present, and future Holders of Claims, and their respective successors
and assigns, and all other parties in interest in the Bankruptcy Case. Confirmation of the Plan
binds each Holder of a Claim to the terms and conditions of the Plan, whether or not such Holder
has accepted the Plan.
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       9.02.   Vesting of Assets

        Except as otherwise provided in this Plan and the Confirmation Order, all property and
assets of the Debtor and the Estate shall vest in the Debtor in accordance with the terms of the
Plan, in each case free and clear of all Claims, Liens, encumbrances, charges and other interests.
Commencing on the Effective Date, the Debtor may deal with such property and assets and conduct
his business without any supervision by, or permission from, the Bankruptcy Court or the Office
of the United States Trustee, and free of any restriction imposed on the Debtor by the Bankruptcy
Code or by the Bankruptcy Court during the Bankruptcy Case, other than any restrictions contained
in the Plan and the Confirmation Order.

        Trusts: For the avoidance of doubt, the Debtor would clarify through this Plan that certain
Trusts are not property of the estate and therefore are not available for distribution to Creditors.
Specifically, the Alexander E. Jones Descendent and Beneficiary Trust (the “Descendent Trust”),
of which the Debtor is a grantor, is not available to satisfy Creditor Claims. The Debtor is not a
beneficiary nor a trustee for the Descendent Trust. Though the Descendent Trust holds certain
condominium assets, the Debtor asserts these trust assets are not available to satisfy estate Claims.
Second, the Green Leaf Trust: this trust is also not within the control of the Debtor, nor is he a
beneficiary, or entitled to direct the Green Leaf Trust. Therefore, the assets of the Green Leaf
Trust are not available to satisfy estate Claims. With respect to any remaining trusts, where the
Debtor either is a beneficiary and/or maintains some level of control, (x) any assets available for
distribution from such trusts as of the Effective Date shall be deemed Non-Exempt Assets subject
to liquidation by the Disbursement Agent under the Plan, and (y) any distribution to the Debtor of
income generated by such trusts following the Effective Date shall be included as Plan Income
under the Plan. See Schedule A.

       9.03.   Assertion of Causes of Action, Defenses and Counterclaims

        Except as set forth in the Plan or the Confirmation Order, effective as of the Effective Date,
with respect to the Debtor, without further action by any party, all Causes of Action, and all
defenses, counterclaims, setoffs, and rights related thereto, shall be and shall be deemed to be
vested in the Debtor. From and after the Effective Date, the Debtor shall have the exclusive right
to prosecute, settle, or compromise any Cause of Action vested in or transferred to the Debtor
under the Plan. Except to the extent otherwise set forth in the Plan, the Debtor shall retain and
may prosecute and enforce all other defenses, counterclaims, and rights that it has asserted or could
assert against or with respect to all Claims asserted against the Debtor or property of his Estate.
No claim, right, Cause of Action, or other asset shall be deemed waived or otherwise forfeited by
virtue of the Debtor’s failure to identify such property in the Schedules or the Disclosure Statement
unless otherwise ordered by the Bankruptcy Court.

        Except as provided in the Plan, nothing contained in the Plan or the Confirmation Order
shall be deemed to be a waiver or the relinquishment of any rights or Causes of Action that the
Debtor may have or which the Debtor may choose to assert on behalf of the Debtor’s Estate under
any provision of the Bankruptcy Code or any applicable nonbankruptcy law, including, without
limitation, (i) any and all Claims against any person or entity, to the extent such person or entity
asserts a crossclaim, counterclaim, and/or Claim for setoff which seeks affirmative relief against
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the Debtor, and (ii) the turnover of any property of the Debtor’s Estate.

        Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff, or other legal or equitable defense
which the Debtor had immediately prior to the Petition Date, against or with respect to any Claim
left unimpaired by the Plan. The Debtor shall have, retain, reserve, and be entitled to assert all
such claims, causes of action, rights of setoff, and other legal or equitable defenses which the
Debtor had immediately prior to the Petition Date fully as if the Bankruptcy Case had not been
commenced, and all of the Debtor’s legal and equitable rights respecting any Claim left
Unimpaired by the Plan may be asserted after the Confirmation Date by the Debtor to the same
extent as if the Bankruptcy Case had not been commenced.

       9.04    Discharge of Debtor

        Except as expressly provided in this Plan or the Confirmation Order, all consideration
distributed under this Plan will be in exchange for, and in complete satisfaction, settlement,
discharge, and release of, all Claims against the Debtor of any nature whatsoever, whether
known or unknown, or against the assets or properties of the Debtor that arose before the
Effective Date. Except as expressly provided in this Plan or the Confirmation Order, on the
Discharge Date (and subject to its occurrence), entry of the Confirmation Order shall be deemed
to act as a discharge and release under Bankruptcy Code section 1141(d)(1)(A) of all Claims
against the Debtor and his assets, arising at any time before the Effective Date, regardless of
whether a proof of Claim was filed, whether the Claim is Allowed, or whether the Holder of the
Claim votes to accept the Plan or is entitled to receive a Distribution under the Plan, provided,
however, that in no event shall occurrence of the Discharge Date discharge the Debtor from
any obligations remaining under the Plan as of the Discharge Date. No later than five (5)
business days after the occurrence of the Discharge Date, the Debtor shall file with the
Bankruptcy Court a notice of the occurrence of the Discharge Date, and serve such notice on
all creditors. In addition, following the occurrence of the Discharge Date, the Debtor shall file
a motion seeking entry of an order of discharge after notice and a hearing, which motion (and
the discharge) shall be granted upon a showing that the Debtor has made all payments required
under the Plan. Except as expressly provided in this Plan or the Confirmation Order, any Holder
of a discharged Claim will be precluded from asserting against the Debtor or any assets of the
Debtor any other or further Claim based on any document, instrument, act, omission,
transaction or other activity of any kind or nature that occurred before the Effective Date.
Except as expressly provided in this Plan or the Confirmation Order, and subject to the
occurrence of the Discharge Date, the Confirmation Order will be a judicial determination of
discharge of all liabilities of the Debtor to the extent allowed under Bankruptcy Code section
1141, and the Debtor will not be liable for any Claims and will only have the obligations that
are specifically provided for in this Plan. Notwithstanding the foregoing, nothing contained in
the Plan or the Confirmation Order shall discharge the Debtor from (i) any debt excepted
from discharge under Bankruptcy Code section 523 by Final Order of the Bankruptcy Court
unless the Holders of such Claims have agreed to same.

       Notwithstanding the foregoing, Allowed Claims of Electing Plaintiffs under Class 5 that
have selected Opt-In Settlement Unsecured Claims shall be discharged after receipt of payments
that give rise to the occurrence of the Payment Trigger. Such payment shall be in full
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satisfaction, settlement, release and discharge of and in exchange for such Allowed Claim.

        Notwithstanding anything to the contrary set forth in this Section 9.04, Non-Electing
Plaintiffs under Class 6 will be enjoined against collecting against the Debtor during the Plan
Term; however, such Non-Electing Plaintiffs may collect against the Debtor at the conclusion
of the Plan Term if they have a Final Order allowing their Claim and finding such Claim non-
dischargeable.

        9.05    Injunction

        Except as otherwise provided in the Plan, the Confirmation Order shall provide that from
and after the Effective Date with respect to the Debtor, all Holders of Claims against the Debtor
are permanently enjoined from taking any of the following actions against the Debtor, or any of
his property on account of any such Claim: (a) commencing or continuing in any manner or in
any place, any action or other proceeding; (b) enforcing, attaching, collecting, or recovering by
any manner or means any judgment, award, decree, or order; (c) creating, perfecting, or enforcing
any encumbrance or Lien; (d) asserting a setoff, subrogation, or recoupment of any kind against
any debt, liability, or obligation due to the Debtor; or (e) commencing or continuing, in any
manner or in any place, any action that does not conform to or comply with, or is inconsistent
with, the provisions of this Plan. If allowed by the Bankruptcy Court, any Person injured by any
willful violation of such injunction shall recover actual damages, including costs and attorneys’
and experts’ fees and disbursements, and, in appropriate circumstances, may recover punitive
damages, from the willful violator. Should a Plan Default have occurred and is continuing, this
Plan Injunction shall lift in accordance with a Bankruptcy Court order determining the existence
of such Plan Default.

       Notwithstanding the foregoing, the Non-Electing Plaintiffs whose claims have been
determined to be non-dischargeable by an order of a court of competent jurisdiction that has not
been stayed, shall be enjoined from taking action against the Debtor as set forth above solely
during the Plan Term, unless otherwise set forth herein.

        9.06   Term of Bankruptcy Injunction or Stays

        Unless otherwise provided herein or in an order of the Bankruptcy Court (including without
limitation the Confirmation Order), all injunctions or stays provided in the Bankruptcy Cases under
Bankruptcy Code section 105 or 362, or otherwise, and in existence on the Confirmation Date,
shall remain in full force and effect until the Effective Date, with respect to the Debtor. Upon the
Effective Date, the injunction provided in Section 9.05 of the Plan shall be effective.

       9.07    Effectuating Documents; Further Transactions; Timing

        The Debtor is authorized to execute, deliver, file, or record such contracts, instruments,
releases, and other agreements or documents and to take such actions as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of the Plan. All transactions
that are required to occur on the Effective Date under the terms of the Plan shall be deemed to have
occurred simultaneously, unless otherwise provided in the Plan.

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                                            ARTICLE X

                        OBJECTIONS TO CLAIMS; DISTRIBUTIONS

       10.01. Objections to Claims

        Any party in interest, including the Debtor, may file objections to Claims (other than
Claims that have been previously Allowed or that are Allowed under the Plan). The Debtor (or
his designees, successors and assigns) are not obligated to object to any Claim but will nevertheless
have standing to object to any such Claim from and after the Effective Date, if they so elect.
Nothing in this Section is intended to limit the right of any party to object to Claims.

       10.02. Objection Deadline

         Except as set forth in Sections 2.01(a) and 2.01(b) of the Plan with respect to
Administrative Claims and Fee Claims, any objections to Claims must be filed no later than the
Objection Deadline. An objection to a Claim will be deemed properly served on the Holder thereof
if service is effected by any of the following methods: (a) in accordance with Federal Rule of Civil
Procedure 4, as modified and made applicable by Bankruptcy Rule 7004; (b) to the extent counsel
for a Holder is unknown, by first class mail, postage prepaid, on the signatory on the proof of
Claim or other representative identified on the proof of Claim or any attachment thereto; (c) by
first class mail, postage prepaid, on any counsel that has appeared on the behalf of the Holder in
the Bankruptcy Case; or (d) if no proof of Claim has been filed, by first class mail, postage prepaid,
on the Holder of such Claim at the address set forth in the Schedules.

       10.03.   Settlement of Objections to Claims

        From and after the Effective Date, the Debtor is authorized to approve compromises of all
Claims, Disputed Claims, and Liens pursuant to Bankruptcy Rule 9019(b) and to execute necessary
documents, including Lien releases (subject to the written consent of the party having such Lien)
and stipulations of settlement, compromise, or release, without further order of the Bankruptcy
Court; provided that the Debtor cannot settle or compromise the Claim of a Holder of a General
Unsecured Claim in an amount in excess of the amount set forth on Exhibit A to this Plan without
notice and a hearing.

       10.04. No Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, post-
petition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled
to interest accruing on or after the Petition Date. Additionally, and without limiting the foregoing,
interest shall not accrue or be paid on any Disputed Claim for the period from the Petition Date to
the date a Distribution is made when and if such Disputed Claim becomes an Allowed Claim. To
the extent any Holder of an Allowed Claim is entitled to interest accruing on or after the Petition
Date, such interest shall accrue and be payable at the applicable Contract Rate.

       10.05.   Setoffs by the Debtor; No Waiver

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        Except as otherwise set forth in the Plan, the Debtor may but shall not be required to, set
off against or recoup from any Claim or any payment or Distribution to be made by the Debtor
pursuant to the Plan in respect of such Claim, any Claim or Cause of Action of any nature
whatsoever that the Debtor may have to the fullest extent permitted under applicable law. Any
dispute related to the setoff or recoupment rights of the Debtor shall be determined by the
Bankruptcy Court. Neither the failure to effect such a setoff or recoupment nor the allowance of
any Claim hereunder shall constitute a waiver or release by the Debtor of any such Claims or
Causes of Action that the Debtor may have against such Holder or any affiliate of such Holder.

      10.06. Procedures for Treating and Resolving Disputed and Contingent Claims

         (a)      No Distributions Pending Allowance. Notwithstanding any other provision of
 the Plan, Distributions shall be made only to Holders of Allowed Claims. No Holder of a Claim
 will receive any Distribution on account thereof until and to the extent that its Claim becomes
 an Allowed Claim. To the extent a Claim that is paid by the Debtor under the Plan is not a
 Disputed Claim but is held by a Holder that is or may be liable to the Debtor (in the first instance)
 on account of a Cause of Action, or which has not otherwise become an Allowed Claim, no
 payments or Distributions shall be made with respect to all or any portion of such Claim unless
 and until such Cause of Action has been settled, withdrawn, or determined by a Final Order or
 such other court having jurisdiction over the matter, or such Claim has otherwise been Allowed
 as set forth in the Plan.

          In determining the amount of a pro rata Distribution due to the Holders of Allowed Claims
 payable by the Debtor, the Disbursement Agent will make the pro rata calculation as if all Claims
 of the applicable Class were Allowed in the full amount claimed or in the amount estimated under
 Section 10.06(b) hereof. For the purposes of claims held by Plaintiffs that are not Allowed by
 this Plan, Disbursement Agent shall reserve for Claims in the amounts set forth on Exhibit A
 hereto until such Claim is Allowed or Disallowed in whole or in part by Final Order. The
 Disbursement Agent shall withhold Distributions otherwise due hereunder to the Holder of a
 Disputed Claim until the Objection Deadline, to enable the Debtor or any other party in interest
 to file a timely objection thereto.

         (b)     Claim Estimation. The Debtor or Disbursement Agent may request estimation
 or limitation of any Claim that is not Allowed under this Plan pursuant to Bankruptcy Code
 section 502(c) regardless of whether that Claim was previously objected to or whether the
 Bankruptcy Court has ruled on any such objection; provided, however, that the Bankruptcy Court
 will determine (i) whether such Claims are subject to estimation pursuant to Bankruptcy Code
 section 502(c) and (ii) the timing and procedures for such estimation proceedings, if any. The
 Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
 concerning any objection to any Claim, including, without limitation, during the pendency of
 any appeal relating to any such objection. If the Bankruptcy Court estimates any Claim, the
 amount so estimated shall constitute either the Allowed amount of such Claim or a maximum
 limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
 constitutes a maximum limitation on the amount of such Claim, the Debtor may pursue
 supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
 objection, estimation, and resolution procedures are intended to be cumulative and not exclusive
 of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
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resolved by any mechanism approved by the Plan or the Bankruptcy Court.

      (c)   Distribution Reserve Accounts.

             (i)     On or after the Effective Date, the Disbursement Agent may create one or
     more separate Distribution Reserve Accounts as is appropriate from the Cash to be
     distributed to or for the benefit of the Holders of Disputed Claims, Administrative Claims,
     Non-Tax Priority Claims, Administrative Convenience Claims, or other Claims which have
     not been Allowed, in each case pending the allowance thereof. Each Distribution Reserve
     Account may be segregated by Class or, as applicable, by Administrative Claims, Non-Tax
     Priority Claims, Administrative Convenience Claims, or other Claims. A Holder of a
     Claim will not be entitled to receive or recover any amount in excess of the amount
     provided in the Distribution Reserve Account to pay such Claim unless permitted by a Final
     Order. As stated above, nothing in the Plan will be deemed to entitle the Holder of a
     Disputed Claim to post-petition interest on such Claim, if Allowed, unless otherwise
     required under the Plan.

            (ii)    The amount of any Cash allocable to, or retained on account of Claims in
     the Distribution Reserve Accounts for those Claims that are to be paid in full under the
     Plan shall be equal to the lesser of (a) the amount of such Claim as estimated pursuant to
     the procedure in section 10.06(b) of the Plan; (b) the amount of such Claim as asserted by
     the Holder; or (c) an amount to be agreed upon between the Debtor and the Holder of such
     Claim. The amount of any Cash allocable to, or retained on account of, any other Claims
     in the Distribution Reserve Accounts shall be as reasonably determined by the
     Disbursement Agent from time to time in accordance with the reasonable discretion of the
     Disbursement Agent, subject to all other terms and conditions of the Plan.

             (iii) For the avoidance of doubt, the Disbursement Agent shall reserve
     distributions in a separate Distribution Reserve Account for Class 6 General Unsecured
     Claims of Non-Electing Plaintiffs which have not yet been Allowed, in the amounts
     allocated to them pursuant to the treatment set forth herein.

       (d)      Distributions After Allowance of Claims. Distributions to each Holder of a
Claim that is the subject of a Distribution Reserve Account, to the extent it becomes an Allowed
Claim, will be made in accordance with the provisions of the Plan that govern Distributions to
such Holders of Claims in the applicable Class. Unless otherwise provided in the Plan, as
promptly as practicable after the date on which such Claim becomes an Allowed Claim, and in
any event not later than ten (10) Business Days after such Claim becomes an Allowed Claim,
the Disbursement Agent shall distribute to the Holder thereof from the applicable Distribution
Reserve Account, if any, any Distribution that would have been made to such Holder had its
Claim been an Allowed Claim on the date that Distributions were previously made to Holders of
Allowed Claims in the applicable Class, without interest (except as otherwise provided by the
Plan) and net of any setoff and/or any required withholding of applicable taxes. After all such
Claims have been resolved as may be required by a Final Order or other final resolution, any
remaining Cash in a relevant Distribution Reserve Account shall be distributed in accordance
with the other provisions of the Plan.


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       (e)     Allowance of Claims Subject to Bankruptcy Code Section 502(d). Allowance
of Claims will in all respects be subject to the provisions of Bankruptcy Code section 502(d),
except as provided by a Final Order or a settlement among the relevant parties.

        10.07.      Distributions Under the Plan

       (a)      Means of Cash Payment. Except as otherwise provided in the Plan, Cash
payments made pursuant to the Plan shall be in U.S. dollars and may be made, at the option of
and in the sole discretion of the Disbursement Agent, by checks drawn on or wire transfers from
a domestic bank; provided, that in the case of foreign Holders of Allowed Claims, Cash payments
may be made, at the option of and in the sole discretion of the Debtor, in such currency and by
such means as are necessary or customary in a particular jurisdiction.

        (b)     Delivery of Distributions. All Distributions to any Holder of an Allowed Claim
shall be made by the Disbursement Agent at the address of each such Holder as set forth on the
proof of Claim filed by such Holder (or at the last address of such a Holder known to the Debtor
if no proof of Claim is filed or if the Disbursement Agent has been notified in writing of a change
of address). If any Holder’s Distribution is returned as undeliverable, no further Distributions to
such Holder shall be made unless and until the Disbursement Agent is notified in writing of such
Holder’s then current address, at which time all missed Distributions shall be made to such
Holder without interest. Any Holder of an Allowed Claim whose Distribution is undeliverable
must make demand for such Distribution to the Disbursement Agent in writing on or before 120
days after the date such undeliverable Distribution was initially made, after which the
Distribution shall be retained by the Disbursement Agent for Distribution to other Holders of
Claims pursuant to the terms of the Plan, and any claim by such intended recipient with respect
to such undeliverable Distribution shall be discharged and forever barred. The Disbursement
Agent may employ or contract with other Persons as reasonably determined by the Disbursement
Agent to assist in or make the Distributions required under the Plan. To the extent that the
Disbursement Agent is required by applicable law to file information returns regarding
payments to creditors with taxing authorities including, but not limited to, the Internal
Revenue Service, the Debtor shall obtain an executed Internal Revenue Service Form W-9
(W-8 for non-US entities and individuals) from any or all Holders of a Claim prior to
making any Distribution. Should any Holder of a Claim not provide the Disbursement
Agent with such document within 60 days of receipt of the request for a W-9 or W-8, as
applicable, then the Disbursement Agent shall provide written notice to such Holder of the
failure to provide a W-9 or W-8, as applicable, and 30 additional days to provide such
information. Should any Holder of a Claim not timely provide an executed W-9 or W-8, as
applicable, within the ninety (90) day period referenced above, the Disbursement Agent
may file an objection to the Claim of such non-responding Holder based on the non-
responding Holder’s failure to provide the W-9 or W-8 (with all required information) and
shall serve the objection on such non-responding Holder via first class mail. If the non-
responding Holder of the Claim fails to respond to the objection or fails to provide to the
Disbursement Agent the W-9 or W-8, as applicable (with all required information) within
thirty (30) days after the objection is filed, the Bankruptcy Court may disallow such Claim
for all purposes and any funds to be paid such Holder of a disallowed Claim shall be
distributed in accordance with the terms of the Plan. The Disbursement Agent shall serve
any order disallowing the non- responding Holder’s Claim within five (5) business days
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 after entry of such order. The Disbursement Agent’s right to object to a Claim is limited
 to the failure of a Holder of a Claim to provide to the Disbursement Agent a W-9 or W-8,
 as applicable. The Holder of such Disallowed Claim shall be forever barred from pursuing
 the Debtor or Disbursement Agent for payment of such Claim.

          (c)     Fractional Dollars; De Minimis Distributions. Any other provision of the Plan
 notwithstanding, payments of fractions of dollars will not be made. Whenever any payment of
 a fraction of a dollar under the Plan would otherwise be called for, the actual payment made will
 reflect a rounding of the fraction to the nearest whole dollar (up or down), with half dollars being
 rounded down. No payment of less than twenty-five dollars ($25.00) shall be made with respect
 to any Allowed Claim, and the Disbursement Agent shall retain any such payment and shall
 deposit same into a pool for redistribution to other Holders of Allowed Claims in the same Class.

        (d)    Unclaimed Property. Any Distributions that are unclaimed shall be distributed
 by the Disbursement Agent to other Holders of Claims pursuant to the terms of the Plan.

        (e)     Payments on Business Days. In the event any payment, Distribution or act under
the Plan is required to be made or performed on a date that is not a Business Day, then the making
of such payment or Distribution or the performance of such act may be completed on or as soon
as reasonably practicable after the next succeeding Business Day but shall be deemed to have
been completed as of the required date.

         (f)    Voting Record Date. As of the Voting Record Date, any applicable books and
records for each of the Classes of Claims as may be maintained by Debtor shall be deemed closed,
and there shall be no further changes made to reflect any new record holders of any Claims. The
Disbursement Agent will have no obligation to recognize any transfer or sale of Claims on or
occurring after the Voting Record Date and will be entitled for all purposes herein, and subject to
all of the provisions of the Plan relating to the timing of the allowance of Claims, to recognize and
make Distributions on account of Allowed Claims only to those Holders who are identified as
Holders of Claims as of the Voting Record Date. Except as otherwise provided in a Final Order,
the transferees of Claims that are transferred pursuant to Bankruptcy Rule 3001 prior to the Voting
Record Date will be treated as the Holders of such Claims for all purposes, notwithstanding that
any period provided by Bankruptcy Rule 3001 for objecting to such transfer may not have expired
by the Voting Record Date.

        10.08. Duty to Disgorge Overpayments

        To the extent the Holder of any Allowed Claim receives more than what such Holder is
permitted to receive under the Plan, such Holder shall immediately return such excess payment(s)
to the Disbursement Agent, failing which, the Debtor or Disbursement Agent may sue such Holder
for the return of the overpayment in the Bankruptcy Court or any other court of competent
jurisdiction.

       10.09 Duties of the Disbursement Agent

       The Disbursement Agent shall make the Distributions required under the Plan. The
Disbursement Agent shall be entitled to review the financial information of FSS and the Debtor in
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accordance with the terms of the agreement entered into with the Disbursement Agent. The
Disbursement Agent shall also be responsible for the sale or other monetization of Non-Exempt
Assets under this Plan.

       10.10 Disbursement Agent Expenses

        The Disbursement Agent shall establish a bank account, initially funded with 30% of the
Net Proceeds from the sale of Non-Exempt Assets which may be used to fund the initial expenses
of the Disbursement Agent, including payment of the Disbursement Agent’s fees, on an ongoing
basis. Additional Disbursement Agent Expenses shall be paid directly by the Debtor.

                                           ARTICLE XI

                       ACCEPTANCE OR REJECTION OF THE PLAN

       11.01. Impaired Classes Entitled to Vote

       Each impaired Class entitled to vote to accept or reject the Plan will vote separately. A
Holder of a Claim or Interest as to which an objection has been filed and that has not been
temporarily allowed for purposes of voting on the Plan may not vote. A Holder of a contingent or
unliquidated Claim may vote on the Plan in an amount based on the portion, if any, of the Claim
shown as non-contingent, liquidated, and undisputed in the Schedules, or equal to $1.00 if not so
shown. Plaintiffs may vote in the amounts set forth on Exhibit C.

       11.02. Acceptance by an Impaired Class

       A Class of Claims that is entitled to vote to accept or reject the Plan shall have accepted
the Plan if it is accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in
number of the Allowed Claims in such Class that have voted on the Plan. Any Ballot that is not
properly completed and timely received by the Balloting Deadline will not be counted.

        11.03 Elimination of Vacant Classes. Any Class of Claims that is not occupied as of
the date of commencement of the Confirmation Hearing by the Holder of an Allowed Claim or a
Claim temporarily Allowed under Bankruptcy Rule 3018 shall be deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance
or rejection of the Plan by such Class under section 1129(a)(8) of the Bankruptcy Code.

       11.04. Section 1129(b) Cramdown

        If any impaired Class of Claims fails to accept the Plan in accordance with Bankruptcy
Code section 1129(a), the Debtor will seek confirmation of the Plan by the Bankruptcy Court
pursuant to the “cramdown” provisions in Bankruptcy Code section 1129(b). The Debtor asserts
that the Plan provides for fair and equitable treatment of all Classes of Claims. The Debtor reserves
the right to amend the Plan as may be necessary to obtain confirmation of the Plan under
Bankruptcy Code section 1129(b).



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                                        ARTICLE XII
                                 RETENTION OF JURISDICTION

         12.01. Jurisdiction

          Until the Bankruptcy Case is closed, the Bankruptcy Court will retain the fullest and most
  extensive jurisdiction as is legally permissible under applicable law, including under Bankruptcy
  Code sections 105(a) and 1142, including that which is necessary to ensure that the purpose and
  intent of the Plan are carried out and to hear and determine all objections thereto that could have
  been brought before the entry of the Confirmation Order. The Bankruptcy Court will retain
  jurisdiction to hear and determine all Claims against the Debtor and to enforce all Causes of
  Action and any related counterclaims, crossclaims, and/or third-party claims over which the
  Bankruptcy Court otherwise has jurisdiction. Nothing contained in the Plan will prevent the
  Debtor from taking any action as may be necessary to enforce any Cause of Action that may exist
  on behalf of the Debtor and that may not have been enforced or prosecuted by the Debtor.

         12.02. Examination of Claims

          Following the Confirmation Date, the Bankruptcy Court will retain jurisdiction to decide
  disputes concerning the classification and allowance of any Claim and the reexamination of Claims
  that have been allowed for the purposes of voting, and the determination of any objections as may
  be filed to Claims. The failure by the Debtor to object to, or to examine, any Claim for the purposes
  of voting will not be deemed a waiver of the Debtor’s right to object to, or to re-examine, such
  Claim in whole or in part, unless such claim is Allowed under the Plan.

         12.03. Determination of Disputes

           The Bankruptcy Court will retain jurisdiction after the Confirmation Date to determine
(a) all questions and disputes regarding title to the Debtor’s assets, (b) disputes concerning the
allowance of Claims, (c) all Causes of Action, controversies, disputes, or conflicts, whether or not
subject to any pending action, as of the Confirmation Date, to recover property pursuant to the
provisions of the Bankruptcy Code, and (d) all disputes and controversies regarding the operation,
implementation, and interpretation of the Plan, the Confirmation Order, and any agreements that are
identified or implement the Plan or the Confirmation Order.

         12.04. Additional Purposes

          Under Bankruptcy Code sections 105(a) and 1142, and notwithstanding entry of the
  Confirmation Order, occurrence of the Effective Date, and/or substantial consummation of the
  Plan, the Bankruptcy Court will retain exclusive jurisdiction over all matters arising out of or
  related to the Bankruptcy Case and the Plan to the fullest extent permitted by applicable law,
  including but not limited to jurisdiction to:

            (a)     hear and determine any modification of the Plan or the Plan Supplement pursuant
    to Bankruptcy Code section 1127, to cure any defect or omission or reconcile any inconsistency
    in the Plan or any order of the Bankruptcy Court, including the Confirmation Order, in such a
    manner as may be necessary or appropriate to carry out the purposes and effects thereof;
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       (b)     hear and determine disputes, issue injunctions, enter and implement other orders
and take such other actions as may be necessary or appropriate to execute, interpret, implement,
consummate, or enforce the terms and conditions of the Plan and the transactions contemplated
thereunder, the Confirmation Order, the Disclosure Statement, or any other order of the
Bankruptcy Court, or to maintain the integrity of the Plan following confirmation;

       (c)      hear and determine any and all adversary proceedings, motions, applications, and
contested or litigated matters arising out of or related to the Bankruptcy Case or the Plan;

      (d)     enforce all orders, judgments, injunctions, releases,                   exculpations,
indemnifications, and rulings entered or approved in the Bankruptcy Case;

       (e)     hear and determine all disputes involving the existence, nature, or scope of the
discharge, plan defaults, injunctions, releases, exculpations, and indemnifications granted
pursuant to the Plan or the Confirmation Order;

        (f)     hear and determine disputes arising in connection with the execution,
interpretation, implementation, consummation, or enforcement of the Plan, the Confirmation
Order, any transactions, performance or payments provided for or contemplated in the Plan or
the Confirmation Order, or any agreement, instrument or other document governing or relating
to any of the foregoing;

       (g)    construe and apply any findings of fact and/or conclusions of law made in or in
connection with the Confirmation Order;

       (h)     adjudicate matters arising in the Bankruptcy Case, including matters relating to
the formulation and consummation of the Plan;

          (i)    enter any orders, including injunctions, as are necessary to enforce title, rights,
and powers of the Debtor or to impose any limitations, restrictions, terms and conditions on such
title, rights, and powers as the Bankruptcy Court may deem necessary;

       (j)     hear and determine all questions and disputes regarding title to or recovery of the
Debtor’s assets and property of the Debtor;

       (k)     enter a Final Decree closing any or all of the Bankruptcy Case;

        (l)    correct any defect, cure any omission, or reconcile any inconsistency in the Plan,
the Plan Supplement, or the Confirmation Order as may be necessary to carry out the purposes
and intent of the Plan, the Plan Supplement, and the Confirmation Order including the
adjustment of the date(s) of performance under the Plan, the Plan Supplement, and any other
documents related thereto if the Effective Date does not occur as provided herein, so that the
intended effect of the Plan, the Plan Supplement, and such other documents may be substantially
realized thereby;

       (m)     enter, implement or enforce such orders as may be appropriate if the Confirmation
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 Order is for any reason stayed, reversed, revoked, modified, or vacated;

         (n)    hear and determine all applications for compensation and reimbursement of
 expenses of Professionals or any other Person under the Plan or under Bankruptcy Code sections
 330, 331, 503(b), 1103 and 1129(a)(4) of the Bankruptcy Code; provided, however, that from
 and after the Effective Date, the payment of fees and expenses of professionals retained by the
 Debtor shall be made in the ordinary course of business and shall not be subject to approval of
 the Bankruptcy Court;

         (o)    hear and determine issues concerning federal tax reporting and withholding that
 arise in connection with the confirmation or consummation of the Plan;

        (p)    hear and determine issues concerning state, local and federal taxes in accordance
 with Bankruptcy Code sections 346, 505 and 1146;

        (q)     hear and determine all matters regarding the assumption or rejection of Executory
 Contracts, including any disputes concerning Rejection Claims or Cure Claims;

        (r)     hear and determine any objection to any Claim (including any Administrative
 Claim), including the allowance, classification, priority, secured status, compromise, estimation,
 subordination, or payment thereof;

         (s)   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
 secured, unsecured, or subordinated status of any Claim (including any Administrative Claim)
 and to re-examine Claims that have been allowed for purposes of voting;

         (t)     hear and determine any Cause of Action and any collection or settlement matters
 related thereto;

         (u)    hear and determine any disputes or litigation regarding the validity, priority, or
 extent of any Lien and any Claim associated therewith; and

         (v)    hear and to determine any other matter related hereto and not inconsistent with
 the Plan, the Confirmation Order, the Bankruptcy Code, or Title 28 of the United States Code.

       12.05. Failure of the Bankruptcy Court to Exercise Jurisdiction

       If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the
Bankruptcy Case, including the matters set forth in this Article XII, the provisions of this Article
XII shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having jurisdiction with respect to such matter.

                                           ARTICLE XIII

                                MISCELLANEOUS PROVISIONS

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       13.01. General Notices

        Any notice, request, or demand required or permitted to be given in connection with the
Plan shall be (a) in writing, (b) served to the parties and addresses set forth below by certified mail,
return receipt requested, hand delivery, overnight delivery, first class mail, or fax transmission,
and (c) deemed to have been given or made when actually delivered or received:

             -to the Debtor:
             Alexander Jones
             2407 S. Congress Ave. E-144
             Austin, TX 78704

             With a copy to:

             Vickie L. Driver
             Crowe & Dunlevy, P.C.
             2525 McKinnon St., Suite 425
             Dallas, TX 75201
             Telephone: 737.218.6187
             Email: dallaseservice@crowedunlevy.com

             Shelby A. Jordan
             JORDAN & ORTIZ, P.C.
             500 North Shoreline Blvd., Suite 900
             Corpus Christi, TX 78401
             Telephone: (361) 884-5678
             Email: sjordan@jhwclaw.com

       13.02. Exemption From Transfer Taxes

        Pursuant to Bankruptcy Code section 1146(a), the issuance, transfer, or exchange of
securities or other property under the Plan; the creation, transfer, filing, or recording of any
mortgage, deed of trust, financing statement, or other security interest; or the making, delivery,
filing, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with the Plan, shall not be subject to any stamp tax, real estate tax, conveyance, filing,
or transfer fees, mortgage, recording, or other similar tax or other government assessment. The
Confirmation Order shall direct all appropriate governmental officials or agents to forgo the
collection of any such tax or assessment and to accept such documents delivered under the Plan
without the imposition or payment of any charge, fee, governmental assessment, or tax.

       13.03. Asserting and Curing Default Under the Plan

        Except as otherwise provided in the Plan, if the Debtor defaults under the provisions of the
Plan (as opposed to default under the documentation executed in implementing the terms of the
Plan), any Creditor or party in interest desiring to assert a default will provide the Debtor and his
counsel with written notice of the alleged Plan Default. The Debtor will have thirty (30) days from
receipt of written notice to cure the alleged Plan Default. If the Plan Default is not cured, any
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Creditor or party in interest affected by such Plan Default may then file with the Bankruptcy Court,
and serve on the Debtor and his counsel, a motion to compel compliance with the applicable
provision of the Plan, or otherwise seeking such remedies as may be available to such party in
interest under the Bankruptcy Code or other applicable law. The Bankruptcy Court, on finding a
Plan Default, will issue orders compelling compliance with the pertinent provisions of the Plan, or
providing such other relief as the Court may order. Nothing in the Plan shall be deemed a waiver
on the part of any party in interest to seek to assert any such remedies as described in this Section
13.04 upon default by the Debtor under the Plan.

        Assets valued at less than $25,000 at the time of receipt by the Debtor, or discovered more
than five years after the Effective Date are deemed nonmaterial, and shall not give rise to a Plan
Default. Material non-exempt assets discovered by the Debtor post-Effective Date shall be
submitted to the Disbursement Agent for distribution in accordance with the Plan. Material and
intentional misrepresentations, if properly declared under the Plan, may cause a Plan Default
herein. In the event the non-exempt asset was known to the Plaintiffs, their agents or attorneys, the
Official Committee of Unsecured Creditors, their agents or attorneys, such asset will be deemed
ineligible to cause a Plan Default under this paragraph.

        Pursuant to the Opt-In Settlement terms with the Class 5 Electing Plaintiffs, if the Debtor
can make 80% of the minimum payments for a given year, but not 100%, then the remaining
amount for that year may be amortized over the next two years without giving rise to a Plan
Default. However, if the Debtor fails to make minimum payments for two (2) years in a row, a
Plan Default will have occurred, and any Electing Plaintiff may seek remedies with respect to such
Plan Default as set forth herein. Should the Debtor become incapacitated in a way that prevents
him from working and he is unable to make payments under the Plan, such missed payments may
be added to the end of the Plan Term, and the Plan Term shall be extended accordingly. If the
Debtor, or his personal representative, asserts that he has become incapacitated under the terms of
this provision, he must file a notice with the Bankruptcy Court, which may be objected to by any
party in interest, and any dispute over same will be determined by the Bankruptcy Court.

       13.04. Revocation or Withdrawal of the Plan

        The Debtor reserves the right to revoke and/or withdraw the Plan at any time before the
Confirmation Date. If the Debtor revokes or withdraws this Plan, or if confirmation or the
Effective Date of the Plan does not occur, then the Plan shall be deemed null and void. In such
event, nothing contained herein shall be deemed to constitute a waiver or release of any Claims by
or against the Debtor or any other Person or to prejudice in any manner the rights of the Debtor or
any other Person in any further proceedings involving the Debtor or any other Person.

       13.05. Modification of the Plan

        The Debtor reserves the right to modify the Plan in writing at any time before the
Confirmation Date, provided that (a) the Plan, as modified, meets the requirements of Bankruptcy
Code sections 1122 and 1123 and (b) the Debtor shall have complied with Bankruptcy Code
section 1125. The Debtor further reserves the right to modify the Plan in writing at any time after
the Confirmation Date and before substantial consummation of the Plan, provided that (a) the Plan,
as modified, meets the requirements of Bankruptcy Code sections 1122 and 1123, (b) the Debtor
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shall have complied with Bankruptcy Code section 1125, and (c) the Bankruptcy Court, after
notice and a hearing, confirms the Plan as modified, under Bankruptcy Code section 1129. A
Holder of a Claim that has accepted or rejected the Plan shall be deemed to have accepted or
rejected, as the case may be, such Plan as modified, unless, within the time fixed by the
Bankruptcy Court, such Holder changes its previous acceptance or rejection.

       13.06. Computation of Time

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

       13.07. Due Authorization

        Each and every Holder of an Allowed Claim that receives a Distribution under the Plan
warrants that it is authorized to accept, in consideration of such Claim, the Distributions provided
for in the Plan and that there are no outstanding commitments, agreements, or understandings,
express or implied, that may or can in any way defeat or modify the rights conveyed or obligations
undertaken by it under the Plan.

       13.08. Implementation

        The Debtor may execute such documents, take such other actions, and perform all acts
necessary or appropriate to implement the terms and conditions of the Plan without the need for
further Bankruptcy Court approval.

       13.09. Execution of Documents

       Upon application by the Debtor, the Bankruptcy Court may issue an order directing any
necessary party to execute or deliver, or to join in the execution or delivery of, any instrument or
document, and to perform any act, necessary for the consummation or implementation of the Plan.

       13.10. Bankruptcy Restrictions

       From and after the Effective Date with respect to the Debtor other than as set forth in the
Plan, the Debtor shall no longer be subject to the restrictions and controls provided by the
Bankruptcy Code (e.g., sections 363 or 364) except as the Bankruptcy Code may specifically
provide otherwise. No monthly operating reports will be filed after the Effective Date; however,
the Debtor shall provide the U.S. Trustee such financial reports as may be required by law.

       13.11. Limited Plan Exculpation.

         None of Debtor’s court employed professionals shall have or incur any liability to the
Debtor or any Holder of a Claim for any act or omission in connection with, related to, or arising
out of, the Bankruptcy Case, negotiations regarding or concerning the Disclosure Statement or the
Plan or any contract, instrument, release, or other agreement or document created or entered into
in connection with the Disclosure Statement or the Plan, the filing of the Bankruptcy Case, and the
pursuit of confirmation of the Plan. Nothing contained in this paragraph shall be deemed to
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exculpate any party identified herein from any conduct post- Effective Date.

       13.12. Ratification

      The Confirmation Order will ratify all transactions effected by the Debtor during the
pendency of the Bankruptcy.

       13.13. Integration Clause.

        This Plan is a complete and integrated statement of the binding agreement among the
Debtor, the Holders of Claims, and other parties in interest upon the matters herein. Parol evidence
shall not be admissible in an action regarding the Plan or its provisions.

       13.14     Interpretation

        Unless otherwise specified, all Section, Article and exhibit references in the Plan are to the
respective Section in, Article of or exhibit to the Plan, as the same may be amended, waived, or
modified from time to time. The headings of the Articles, paragraphs, and Sections of the Plan
and table of contents in the Plan are inserted for convenience of reference only and shall not limit
or otherwise affect the provisions of the Plan or its interpretation. Nothing herein shall be deemed
as a judicial admission by the Debtor. Likewise, any defined terms in the Plan not defined shall
have the same meaning as that term has under the Bankruptcy Code.

       13.15 Severability of Plan Provisions

       If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable before the Confirmation Date, the Bankruptcy Court, upon the request of the Debtor,
will have the power to alter or interpret the Plan to make such term or provision valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and the term or provision will then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired, or invalidated by the holding, alteration, or interpretation,
provided that the Debtor consents. The Confirmation Order will constitute a judicial determination
and will provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is valid and enforceable pursuant to its terms.

        13.16 Governing Law

       Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules), the laws of the State of Texas shall govern the construction and
implementation of the Plan and any agreements, documents, and instruments executed in
connection with the Plan.
                                            ALEXANDER E. JONES

                                           /s/ DRAFT
                                          Alexander E. Jones
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       EXHIBIT A
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Inc., and Midas Resources,
Inc.
William Sherlach               22-05005              U.S. Bankruptcy Court for the
v.                                                   District of Connecticut
Alex E. Jones, Free Speech                           (Bridgeport)
Systems, LLC, Wolfgang
Halbig, Cory T. Sklanaka,
Genesis Communications
Network, Inc. and Midas
Resources, Inc.
William Sherlach               22-05006              U.S. Bankruptcy Court for the
v.                                                   District of Connecticut
Alex E. Jones, Free Speech                           (Bridgeport)
Systems, LLC, Wolfgang
Halbig, Cory T. Sklanka,
Genesis Communications
Network, Inc., and Midas
Resources, Inc.
Neil Heslin, Scarlett Lewis,   22-06004-mmp          U.S. Bankruptcy Court for the
Leonard Pozner, Veronique                            Western District of Texas
de la Rosa, Marcel Fontaine                          (Waco)
v.
Info W, LLC, Alex E.
Jones, Free Speech
Systems, LLC
Neil Heslin                    D-1GN-18-001835       261st District Court of Travis
v.                                                   County, Texas
Alex E. Jones et al.
Scarlett Lewis                 D1-GN-18-006623       53rd District Court for Travis
v.                                                   County, Texas
Alex E. Jones, et al.
Leonard Pozner and             D1-GN-18-001824       345th District Court of Travis
Veronique De La Rosa                                 County, Texas
v.
Alex E. Jones, et al.
Marcel Fontaine                D1-GN-18-001605       459th District Court of Travis
v.                                                   County, Texas
Alex E. Jones, et al.
Lafferty, et al.               UWY-CV-XX-XXXXXXX-S   Superior Court of Connecticut
v.                                                   Judicial District of Waterbury
Alex Jones, et al.
Sherlach                       UWY-CV-XX-XXXXXXX-S   Superior Court of Connecticut
v.                                                   Judicial District of Waterbury
Jones, et al.
Sherlach, et al.               UWY-CV-XX-XXXXXXX-S   Superior Court of Connecticut
v.                                                   Judicial District of Waterbury


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Jones, et al.
Neil Heslin, Scarlett Lewis,   23-3035            U.S. Bankruptcy Court for the
Leonard Pozner, Veronique                         Southern District of Texas
De La Rosa, and Estate of                         (Houston)
Marcel Fontaine
v.
Alexander E. Jones
David Wheeler, Francine        23-3037            U.S. Bankruptcy Court for the
Wheeler, Jacqueline                               Southern District of Texas
Barden, Mark Barden,                              (Houston)
Nicole Hockley, Ian
Hockley, Jennifer Hensel,
Donna Soto, Carlee Soto-
Parisi, Carlos M. Soto,
Jillian Soto Marino,
William Aldenberg,
William Sherlach, Robert
Parker, and Richard M.
Coan, as chapter 7 trustee
for the estate of Erica
Lafferty
v.
Alexander E. Jones
Neil Heslin, Scarlett Lewis,   4:23-cv-4238       U.S. District Court for the
Leonard Pozner, Veronique                         Southern District of Texas
De La Rosa, and Estate of                         (Houston)
Marcel Fontaine
v.
Alexander E. Jones
David Wheeler, Francine        4:23-cv-4240       U.S. District Court for the
Wheeler, Jacqueline                               Southern District of Texas
Barden, Mark Barden,                              (Houston)
Nicole Hockley, Ian
Hockley, Jennifer Hensel,
Donna Soto, Carlee Soto
Parisi, Carlos M. Soto,
Jillian Soto-Marino,
William Aldenberg,
William Sherlach, Robert
Parker, and Richard M.
Coan, as Chapter 7 Trustee
for the Estate of Erica
Lafferty
v.
Alexander E. Jones and
Free Speech Systems, LLC


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         Plaintiffs           Total
Robert Parker             $130,000,000.00
David Wheeler              $65,000,000.00
Francine Wheeler           $64,000,000.00
Jacqueline Barden          $38,800,000.00
Mark Barden               $67,600,000.00
Nicole Hockley            $83,600,000.00
Ian Hockley               $91,600,000.00
Jennifer Hensel           $62,000,000.00
Donna Soto                $58,000,000.00
Carlee Soto-Parisi        $76,000,000.00
Carlos M. Soto            $67,600,000.00
Jillian Soto Marion       $78,800,000.00
William Aldenberg         $100,000,000.00
Erica Lafferty            $86,000,000.00
William Sherlach           $46,000,000.00
Neil Heslin                $27,196,411.90
Scarlett Lewis             $22,847,962.90
Leonard Pozner            $200,000,000.00
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SCHEDULE A
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                    Schedule of Plan and Non-Plan, Non-Cash Assets




     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
BARRETT M107A1         NON-EXEMPT           N/A             Y           Y
.50 CAL. RIFLE W/
CNIGHT FORCE
OPTICS SCOPE
H&K SP5K PISTOL        NON-EXEMPT           N/A             Y           Y
W/ HOLOSUN
HE510C GR OPTIC
REMINGTON RIFLE        NON-EXEMPT           N/A             Y           Y
W/ VORTEX SCOPE
REMINGTON RIFLE        NON-EXEMPT           N/A             Y           Y
W/ SPRINGFIELD
SCOPE
FALKOR DEFENSE         NON-EXEMPT           N/A             Y           Y
FD-9S PISTOL
FALKOR DEFENSE         NON-EXEMPT           N/A             Y           Y
FD-9S PISTOL W/
VORTEX SPITFIRE
OPTIC
KRISS SDP 9MM          NON-EXEMPT           N/A             Y           Y
PISTOL W/ EOTECH
HWS EXPS2
KRISS VECTOR SDP       NON-EXEMPT           N/A             Y           Y
10MM PISTOL W/
EOTECH HWS
EXPS2
SONS OF LIBERTY        NON-EXEMPT           N/A             Y           Y
M4 RIFLE
SPIKE’S TACTICAL       NON-EXEMPT           N/A             Y           Y
SR15 PISTOL W/
VORTEX SOARC
AR OPTIC
HEAD DOWN              NON-EXEMPT           N/A             Y           Y
PRODUCTS LLC
PROVECTUS RIFLE
JESSE JAMES            NON-EXEMPT           N/A             Y           Y
NOMAD 10 RIFLE
W/ VORTEX RAZOR
SCOPT& BIPOD


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                   Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET           EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION          EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                        EXEMPT)         (Y/N)?         FOR
                                                                    CREDITORS
                                                                     (Y/N)?
SPRINGFIELD M1A       NON-EXEMPT           N/A             Y           Y
RIFLE W/ SLING
LWRC REPR 7.62        NON-EXEMPT           N/A             Y           Y
RIFLE
HEAD DOWN             NON-EXEMPT           N/A             Y           Y
PRODUCTS LLC
ARCADIUS RIFLE
BERETTA A400          NON-EXEMPT           N/A             Y           Y
EXTREME PLUS
12GA SHOTGUN
BERETTA A400          NON-EXEMPT           N/A             Y           Y
EXTREME PLUS
12GA SHOTGUN
MOSSBERG 935          NON-EXEMPT           N/A             Y           Y
12GA SHOTGUN
TRISTAR RAPTOR        NON-EXEMPT           N/A             Y           Y
12GA SHOTGUN
MOSSBERG 930          NON-EXEMPT           N/A             Y           Y
TACTICAL 12GA
SHOTGUN
MOSSBERG 930          NON-EXEMPT           N/A             Y           Y
TACTICAL 12GA
SHOTGUN
BAIKAL/EAA CORP       NON-EXEMPT           N/A             Y           Y
IZH-43 12 GA
SHOTGUN
IAC MICHINA 99        NON-EXEMPT           N/A             Y           Y
1887 12 GA
SHOTGUN
KELTEC KSG 12GA       NON-EXEMPT           N/A             Y           Y
SHOTGUN
NORINCO MAK-90        NON-EXEMPT           N/A             Y           Y
SPORTER RIFLE W/
SLING
ROMARM/SA/CUGIR       NON-EXEMPT           N/A             Y           Y
MOD. 0 RIFLE W/
SLING
ARSENAL MODEL         NON-EXEMPT           N/A             Y           Y
SLR-95 RIFLE W/
SLING


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                   Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET           EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION          EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                        EXEMPT)         (Y/N)?         FOR
                                                                    CREDITORS
                                                                     (Y/N)?
IZHMASH SAIGA         NON-EXEMPT           N/A             Y           Y
7.62 RIFLE
ZASTAVA               NON-EXEMPT           N/A             Y           Y
SPAPM70 7.62
RIFLE
BERETTA 21A(TB)       NON-EXEMPT           N/A             Y           Y
.22LR PISTOL
RUGER MK3 .22LR       NON-EXEMPT           N/A             Y           Y
PISTOL
SIG SAUER P365XL      NON-EXEMPT           N/A             Y           Y
9MM PISTOL
WALTHER P22           NON-EXEMPT           N/A             Y           Y
.22LR PISTOL
H&K USP .45 ACP       NON-EXEMPT           N/A             Y           Y
PISTOL
GLOCK 26 GEN4         NON-EXEMPT           N/A             Y           Y
9MM PISTOL
GLOCK 31 .357         NON-EXEMPT           N/A             Y           Y
PISTOL
GLOCK 34 9MM          NON-EXEMPT           N/A             Y           Y
PISTOL
MAGNUM                NON-EXEMPT           N/A             Y           Y
RESEARCH DESERT
EAGLE .44 MAG
PISTOL
COLT 1911 GOVT        NON-EXEMPT           N/A             Y           Y
PISTOL
COLT 1911 GOVT        NON-EXEMPT           N/A             Y           Y
PISTOL
KIMBER 1911 PRO       NON-EXEMPT           N/A             Y           Y
CDP 2 .45 ACP
PISTOL
CZ SHADOW 2           NON-EXEMPT           N/A             Y           Y
9MM PISTOL
TAURUS THE JUDGE      NON-EXEMPT           N/A             Y           Y
.410/.45 LC
REVOLVER
S&W 500 SW MAG        NON-EXEMPT           N/A             Y           Y
REVOLVER



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                    Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
STOEGER/UBERTI         NON-EXEMPT           N/A             Y           Y
SCHOFIELD .45
COLT REVOLVER
S&W 60-14 .357         NON-EXEMPT           N/A             Y           Y
MAG REVOLVER
TAURUS 85 .38          NON-EXEMPT           N/A             Y           Y
SPEC. REVOLVER
STURM RUGER            NON-EXEMPT           N/A             Y           Y
SP101 .357 MAG
REVOLVER
S&W M31-3 .32          NON-EXEMPT           N/A             Y           Y
S&W L REVOLVER
STACATTO XC              EXEMPT          $2,500.00          N           N
9MM PISTOL
FALCOR PETRA .300        EXEMPT          $3,000.00          N           N
WIN. MAG. RIFLE
HOMESTEAD                EXEMPT         $17,940.00          N           N
HOUSEHOLD GOODS
CAT                      EXEMPT           $200.00           N           N
CLOTHES                  EXEMPT           $300.00           N           N
TUDOR GENEVA             EXEMPT          $3,000.00          N           N
CHRONOMETER
WATCH
TAG HEUER                EXEMPT          $2,000.00          N           N
AQUARACER
WATCH
HOMESTEAD REAL           EXEMPT        $1,633,000.00        N           N
PROPERTY
2017 FORD              NON-EXEMPT           N/A             Y           Y
EXPEDITION
ROLEX OYSTER           NON-EXEMPT           N/A             Y           Y
PERPETUAL DATE
SUBMARINER
SUPERLATIVE
CHRONOMETER
40MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM



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                    Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TAG HEUER              NON-EXEMPT           N/A             Y           Y
AQUARACER
CALIBRE 5
AUTOMATIC
TAG HEUER              NON-EXEMPT           N/A             Y           Y
MONACO 41MM
TAG HEUER              NON-EXEMPT           N/A             Y           Y
CARRERA 41MM
VICTORONIX 41MM        NON-EXEMPT           N/A             Y           Y
VICTORONIX 41MM        NON-EXEMPT           N/A             Y           Y
VICTORONIX             NON-EXEMPT           N/A             Y           Y
MARATAC 44MM           NON-EXEMPT           N/A             Y           Y
HAMILTON               NON-EXEMPT           N/A             Y           Y
AUTOMATIC
JAZZMASTER
MODEL H325960
44MM
BERING TITANIUM        NON-EXEMPT           N/A             Y           Y
38MM
SEKONDA 41MM           NON-EXEMPT           N/A             Y           Y
TREADMILL AND 3          EXEMPT          $2,385.00          N           N
ELECTRIC BIKES
COINS                    EXEMPT          $1,680.00          N           N
RENTAL PROPERTY -      NON-EXEMPT           N/A             Y           Y
WW
LAKE HOUSE             NON-EXEMPT           N/A             Y           Y
2019 DODGE             NON-EXEMPT           N/A             Y           Y
CHALLENGER


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                          Schedule of Plan and Non-Plan, Non-Cash Assets


         ASSET               EXEMPT/NON-             VALUE OF           LIQUIDATED                ASSET
      DESCRIPTION              EXEMPT                ASSET (IF          UNDER PLAN             AVAILABLE
                                                     EXEMPT)              (Y/N)?                  FOR
                                                                                               CREDITORS
                                                                                                  (Y/N)?
    2020 DODGE         NON-EXEMPT                        N/A                   N                    N
    CHARGER
    2020 CHEVROLET     NON-EXEMPT                        N/A                   Y                     Y
    TAHOE
    2003 GLASTON       NON-EXEMPT                        N/A                   Y                     Y
    GS209 BOAT
    2016 REGAL BOATS   NON-EXEMPT                        N/A                   Y                     Y
    28 EXPRESS
    2015 REGAL BOATS NON-EXEMPT                          N/A                   Y                     Y
    24 FASDECK
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    A.           EMRIC
    PRODUCTIONS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    MAGNOLIA
    HOLDINGS LIMITED
    PARTNERSHIP, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    MAGNOLIA
    MANAGEMENT,
    LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    AUSTIN SHIPROCK
    PUBLISHING, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    PLANET INFOWARS,
    LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    RCGJ, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                    N1
    FREE SPEECH
    SYSTEMS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    AEJ AUSTIN
    HOLDINGS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    GUADALUPE


1
 Through the FSS subchapter V plan, FSS’s net disposable income will be distributed to holders of an Allowed
Claim against both the Debtor and FSS.

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                    Schedule of Plan and Non-Plan, Non-Cash Assets


COUNTY LAND AND
WATER, LLC
     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
100% INTEREST IN       NON-EXEMPT           N/A             N           N
EMRIC
PRODUCTIONS, LLC
100% INTEREST IN       NON-EXEMPT           N/A             N           N
JONES REPORT, LLC
100% INTEREST IN       NON-EXEMPT           N/A             N           N
JONES
PRODUCTIONS, LLC
CRYPTO CURRENCY        NON-EXEMPT           N/A             Y           Y
TAX REFUND IN          NON-EXEMPT           N/A             Y           Y
AMOUNT OF
$3,807,459.00
RANCH LOCATED IN       NON-EXEMPT           N/A             Y           Y
GUADALUPE
COUNTY, TX
CRYOGENIC              NON-EXEMPT           N/A             Y           Y
CHAMBER
LAKE HOUSE             NON-EXEMPT           N/A             Y           Y
FURNITURE,
FIXTURES,
HOUSEHOLD GOODS
AND REC. EQUIP.
RECHARGE               NON-EXEMPT           N/A             Y           Y
DYNASTY TRUST
2022 LITIGATION        NON-EXEMPT           N/A             N           Y
SETTLEMENT TRUST
RXXCTTGAA              NON-EXEMPT           N/A             N           Y
TRUST
GREEN LEAF TRUST       NON-EXEMPT           N/A             N           N
AEJ 2018 TRUST         NON-EXEMPT           N/A             N           Y
THE                    NON-EXEMPT           N/A             Y           Y
MISSOURI779384
TRUST
ALEXANDER E.           NON-EXEMPT           N/A             N           N
JONES DESCENDANT
AND BENEFICIARY
TRUST
SUNGLASSES               EXEMPT           $845.00           N           N


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                  Schedule of Plan and Non-Plan, Non-Cash Assets


AGGREGATE                            $33,850.00
ESTIMATED VALUE
OF EXEMPT
PERSONAL
PROPERTY




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 SCHEDULE B
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                                      SCHEDULE B
a) Erika Jones
b) Dr. David Jones
c) Carol Jones
d) Marleigh Jones
e) Rex Jones
f) Charlotte Jones
g) V. Jones
h) G. Jones
i) PQPR, LLC
j) A. Emeric Productions, LLC
k) Magnolia Holdings Limited Partnership, LLC
l) Magnolia Management, LLC
m) Austin Shiprock Publishing, LLC
n) Planet Infowars, LLC
o) RCGJ, LLC
p) Free Speech Systems, LLC
q) AEJ Austin Holdings LLC
r) Guadalupe Land and Water, LLC
s) Emric Productions, LLC
t) Jones Report, LLC
u) Jones Productions, LLC
v) Recharge Dynasty Trust
w) 2022 Litigation Settlement Trust
x) RXXCTTGAA Trust
y) AEJ 2018 Trust
z) The Missouri779384 Trust
aa) Alexander E. Trust Descendent and Beneficiary Trust
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       EXHIBIT B
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                                                    Exhibit B


         Name of Business                   Percentage of Debtor                         Value Notes
                                                 Ownership

    A. Emric Productions, LLC          100%                                   $0.00 (tax forfeiture 1-28-11
    AEJ Austin Holdings, LLC1          100%                                   $10,000.00
    Austin Shiprock Publishing,        100%                                   $0.00 (tax forfeiture 3-10-23)
    LLC
    Emric Productions LLC              100%                                   $485.27
    Free Speech Systems, LLC           100%                                   $0.00
    Guadalupe county Land and          100%                                   $0.00
    Water LLC
    Jones Productions, LLC             100%                                   $0.00
    Jones Report, LLC                  100%                                   $7,302.00
    Magnolia Holdings Limited          100%                                   $0.00
    Partnership, LLC
    Magnolia Management, LLC           100%                                   $0.00
    Planet Infowars, LLC               100%                                   $0.00 (tax forfeiture 3-10-23)
    RCGJ, LLC                          100%                                   $0.00




1
  Prior to September 25, 2018, owned 80% equity ownership of PLJR Holdings Limited, LLC which owns 90% of
PQPR Holdings Limited, LLC (“PQPR”), an effective 72% ownership of PQPR. Value of bank balance $10,000 –
(Security Bank account #0940). Effective September 25, 2018, AEJ Austin Holdings, LLC, transferred its equity
ownership in PLJR Holdings Limited, LLC to The AEJ 2018 Trust in exchange for $25,900,000.00 Note and Security
Agreement. According to the bank records, The AEJ 2018 Trust made one interest payment under the Note, then de
minimus transfers note tied to the economics of the Note. Value was determined by a third-party analysis of Briggs &
Veselka Co., P.C. as of March 31, 2018.
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       EXHIBIT C
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                                    C
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       EXHIBIT D
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                            Alex Jones
                        Liquidation Analysis
             Based on Preliminary Balance Sheet as of
                            December 31,2023                                                                            Estimated Recovery %     Estimated Proceeds $
                                                                                 Adjustments
                                                                                  to Balance
                                                            Preliminary Dec        Sheet for Adjusted Non-
                                                                  2023              exempt   Exempt Assets                Low        High            Low                High
ASSETS
 Current Assets
  Total Bank Accounts (1)                                    $      885,026                                885,026          100%       100%           885,026            885,026
  Total Accounts Receivable (2)                              $      118,139                                118,139          100%       100%           118,139            118,139
  Other Current Assets                                                                                          -
    Bitcoin Account (3)
    Cash on Hand (1)                                                  1,000                                   1,000
    Federal Income Tax Receivable (4)                              3,370,713                              3,370,713         100%       100%          3,370,713          3,370,713
    GiveSendGo-Legal (1)                                             10,461                                 10,461          100%       100%            10,461             10,461
    Inventory Platinum (5)                                          307,081                                307,081          100%       100%           307,081            307,081
    Petty Cash for Child Care (1)                                       120                                    120           35%        55%                    42                  66
    Prepayment -Legal Account (6)                                    50,000                                 50,000          100%       100%            50,000             50,000
    Rental Property Escrow (7)                                        6,245                                   6,245             0%          0%                  -                   -
    Undeposited Funds - Car sale (10)                                72,000                                 72,000          100%       100%            72,000             72,000

    Undeposited Funds - IRS checks held/not deposited (4)           514,358                                514,358          100%       100%           514,358            514,358
  Total Other Current Assets                                 $     4,331,978                              4,331,978                                  4,324,655          4,324,679
 Total Current Assets                                        $     5,335,143      $             0    $    5,335,143                              $   5,327,820      $   5,327,844
                                                                                                                -
 Fixed Assets
  Homestead                                                        2,612,800           (2,612,800)                  -           0%          0%                  -                   -
  Lakehouse (8)                                                    1,750,000                              1,750,000          63%        87%          1,095,666          1,518,700
  Ranch Property (8)                                               2,189,220                              2,189,220          92%       116%          2,007,870          2,540,000
  Rental Property (9)                                               505,000                                505,000           92%       114%           465,200            578,103
  Vehicles and Marine Assets                                                                                        -
    Dodge Challenger (10)                                                                                           -                                           -                   -
    Dodge Charger                                                    70,618               (70,618)                  -           0%          0%                  -                   -
    Ford Expedition (11)                                             21,463                                 21,463           79%        94%            16,870             20,269
    Marine Assets (12)                                              114,300                                114,300           87%       105%           100,000            120,000
  Total Vehicles and Marine Assets                           $      206,381       -$       70,618    $     135,763                                    116,870            140,269
 Total Fixed Assets                                          $     7,263,401      -$    2,683,418    $    4,579,983                              $   3,685,606      $   4,777,072
 Other Assets                                                                                                   -                                          -                   -
  Interests In Trust (13)                                           131,466                                131,466           49%        49%            64,521             64,521
  Ownership Interests in Non Public Entities (14)                    17,302                                 17,302           58%        58%            10,000             10,000
  Personal Property (15)                                            171,536               (39,056)         132,480           70%       100%            92,736            132,480
  Receivable from Descendants Trust (16)                             30,832                                 30,832          100%       100%            30,832             30,832
  Receivable from Mrs. Jones (16)                                     8,363                                   8,363         100%       100%             8,363              8,363
  Contingent receivable - Yougevity (17)                                                  186,577          186,577              0%     100%                     -        186,577
                                                                                                                    -
 Total Other Assets                                          $      359,499               147,521          507,020                                    206,452            432,773
TOTAL ASSETS                                                 $    12,958,043      -$    2,535,897    $   10,422,146                              $   9,219,879      $ 10,537,690




                                                                        AJ Liquidation Analysis 01.19.24v3
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                             Alex Jones
                         Liquidation Analysis
               Based on Preliminary Balance Sheet as of
                          December 31,2023                                                                                  Estimated Recovery %                  Estimated Proceeds $
                                                                              Adjustments
                                                                               to Balance
                                                      Preliminary Dec           Sheet for Adjusted Non-
                                                            2023                 exempt   Exempt Assets                          Low           High                 Low                High




Liquidation Expenses
Trustee Fees (18)                                                                                                                                                     302,846           342,381
Trustee Counsel (19)                                                                                                                                                  242,277           273,905
Liquidation Expenses
Real Estate (8,9)                                                                                                                                                     321,186           370,944

Personal Property (15)                                                                                                                                                 13,910            26,496
Contingency (20)                                                                                                                                                      138,298           158,065
Total Liquidation Costs                                                                                                                                             1,018,518          1,171,791


Net Proceeds                                                                                                                                                        8,201,360          9,365,899


Allocation of Net Proceeds
Secured Creditors                                                                                                                                                      28,366            28,366
Estimated Priority Claims                                                                                                                                                    -                 -
Legal and Professional Fees - Estimated                                                                                                                             5,319,247          5,319,247
                                                                                                                                                                    5,347,613          5,347,613
Total Secured and Administrative Claims
                                                                                                                                                                    2,853,747          4,018,286

Net Proceeds Available to Unsecured Creditors



                                                      NOTES                                                                                           g
                                                                  (1)   account
                                                                  (2)   Accounts receivable are for contemporaneous services and are assumed to be 100% recoverable
                                                                  (3)   Unliquidated bitcoin reflected at no value. Estimated value $1,700 but cost to liquidate will exceed value.
                                                                  (4)   undeposited funds represent 2 refund checks received and held pending reconciliation when IRS systems are back
                                                                        online.
                                                                  (5)   Inventory values reflected as recoverable values provided by FSS for similar products.
                                                                  (6)   Prepaid legal represents retainer that will be offset against court approved legal fees
                                                                  (7)   Rental property escrow represents excess balance to be refunded to debtor and is 100% recoverable
                                                                  (8)   Lakehouse and Ranch property values based on realtor engaged to sell property estimated liquidation values under
                                                                        current market conditions. Fees and expenses of 8-9% are reflected in liquidation costs.
                                                                  (9)   Rental property value based on estimated ranges on Zillow and Realtor.com at 1/12/24. Fees and expenses of 8-9%
                                                                        are reflected in liquidation costs.
                                                                 (10)   Januray 2024
                                                                 (11)   2017 Ford expedition value based on current Autotrader range of values. Vehicle listed for sale.
                                                                 (12)   Values based on projected sales prices from broker located at Capital Marine - located at marina boats are stored.
                                                                 (13)   Interests in trusts valued at cash balance of 49% . No value of assigned for liquidation of non-cash assets.
                                                                 (14)   Ownership in Non-Public entities ranges in value based on cash value of bank accounts
                                                                 (15)   Non-exempt personal property value ranges reflected at 70-100% based on Valuepro March 24, 2023 appraisal which
                                                                        include household goods, furniture, watches, jewelry, lake house furniture, firearms, and other non-exempt assets
                                                                        noted in the appraisal. Liquidation fees and expenses are estimated at 15-20%
                                                                 (16)   Other receivables for expenses paid by the estate are assumed collect ble as related parties have sufficient
                                                                        unencumbered assets.
                                                                 (17)   Contingent receivable based on discovery from Youngevity. Collectability not determined.
                                                                 (18)   Trustee fees range from 3.26-3.31% of gross proceeds
                                                                 (19)   Trustee counsel estimated at 80% of trustee fees
                                                                 (20)   Contingency of 1.5% of gross proceeds for unknown costs and expenses




                                                                  AJ Liquidation Analysis 01.19.24v3
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                     Alex Jones
            Liquidation Analysis (w FSS)
           Based on Preliminary Balance Sheet as of
                            December 31,2023                                                                    Estimated Recovery %      Estimated Proceeds $
                                                                            Adjustmen Adjusted
                                                                               ts to     Non-
                                                            Preliminary       Balance  Exempt
                                                             Dec 2023        Sheet for  Assets                    Low         High          Low              High
ASSETS
 Current Assets
  Total Bank Accounts (1)                                   $    885,026                           885,026           100%        100%         885,026          885,026
  Total Accounts Receivable (2)                             $    118,139                           118,139           100%        100%         118,139          118,139
  Other Current Assets                                                                                  -
    Bitcoin Account (3)
    Cash on Hand (1)                                               1,000                             1,000
    Federal Income Tax Receivable (4)                           3,370,713                         3,370,713          100%        100%       3,370,713        3,370,713
    GiveSendGo-Legal (1)                                          10,461                            10,461           100%        100%          10,461           10,461
    Inventory Platinum (5)                                       307,081                           307,081           100%        100%         307,081          307,081
    Petty Cash for Child Care (1)                                    120                               120              35%      55%               42               66
    Prepayment -Legal Account (6)                                 50,000                            50,000           100%        100%          50,000           50,000
    Rental Property Escrow (7)                                     6,245                             6,245              0%           0%                -                -
    Undeposited Funds - Car sale (10)                             72,000                            72,000           100%        100%          72,000           72,000

    Undeposited Funds - IRS checks held/not deposited (4)        514,358                           514,358           100%        100%         514,358          514,358
  Total Other Current Assets                                $ 4,331,978                           4,331,978                                 4,324,655        4,324,679
 Total Current Assets                                       $ 5,335,143     $            0    $ 5,335,143                                 $ 5,327,820      $ 5,327,844
                                                                                                        -
 Fixed Assets
  Homestead                                                     2,612,800       (2,612,800)                 -           0%           0%                -                -
  Lakehouse (8)                                                 1,750,000                         1,750,000             63%      87%        1,095,666        1,518,700
  Ranch Property (8)                                            2,189,220                         2,189,220             92%      116%       2,007,870        2,540,000
  Rental Property (9)                                            505,000                           505,000              92%      114%         465,200          578,103
  Vehicles and Marine Assets                                                                                -
    Dodge Challenger (10)                                                                                   -                                          -                -
    Dodge Charger                                                 70,618           (70,618)                 -           0%           0%                -                -
    Ford Expedition (11)                                          21,463                            21,463              79%      94%           16,870           20,269
    Marine Assets (12)                                           114,300                           114,300              87%      105%         100,000          120,000
  Total Vehicles and Marine Assets                          $    206,381    -$      70,618    $    135,763                                    116,870          140,269
 Total Fixed Assets                                         $ 7,263,401     -$ 2,683,418      $ 4,579,983                                 $ 3,685,606      $ 4,777,072
 Other Assets                                                                                           -                                          -                -
  Interests In Trust (13)                                        131,466                           131,466              49%      49%           64,521           64,521
  Ownership Interests in Non Public Entities (14)                 17,302                            17,302              58%      58%           10,000           10,000
      Free Speech Systems (21)                                                                                                              1,408,137        1,850,336
  Personal Property (15)                                         171,536           (39,056)        132,480              70%      100%          92,736          132,480
  Receivable from Descendants Trust (16)                          30,832                            30,832           100%        100%          30,832           30,832
  Receivable from Mrs. Jones (16)                                  8,363                             8,363           100%        100%           8,363            8,363
  Contingent receivable - Yougevity (17)                                           186,577         186,577              0%       100%                  -       186,577
                                                                                                            -
 Total Other Assets                                         $    359,499           147,521         507,020                                  1,614,589        2,283,109
TOTAL ASSETS                                                $ 12,958,043    -$ 2,535,897      $ 10,422,146                                $ 10,628,016     $ 12,388,026
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                      Alex Jones
             Liquidation Analysis (w FSS)
            Based on Preliminary Balance Sheet as of
                          December 31,2023                                                                             Estimated Recovery %                     Estimated Proceeds $
                                                                            Adjustmen Adjusted
                                                                               ts to     Non-
                                                      Preliminary             Balance  Exempt
                                                       Dec 2023              Sheet for  Assets                             Low             High                    Low              High

Liquidation Expenses
Trustee Fees (18)                                                                                                                                                    345,090         397,891
Trustee Counsel (19)                                                                                                                                                 276,072         318,313
Liquidation Expenses
Real Estate (8,9)                                                                                                                                                    321,186         370,944

Personal Property (15)                                                                                                                                                 13,910         26,496
Contingency (20)                                                                                                                                                     159,420         185,820
Total Liquidation Costs                                                                                                                                            1,115,680        1,299,464


Net Proceeds                                                                                                                                                       9,512,336       11,088,562


Allocation of Net Proceeds
Secured Creditors                                                                                                                                                      28,366         28,366
Estimated Priority Claims                                                                                                                                                    -              -
Legal and Professional Fees - Estimated                                                                                                                            5,319,247        5,319,247
                                                                                                                                                                   5,347,613        5,347,613
Total Secured and Administrative Claims
                                                                                                                                                                   4,164,723        5,740,949

Net Proceeds Available to Unsecured Creditors



                                                      NOTES
                                                               (1)   Bank account and cash on hand assumed to be 100% recoverable including net funds available in GiveSendGo
                                                                     account
                                                               (2)   Accounts receivable are for contemporaneous services and are assumed to be 100% recoverable
                                                               (3)   Unliquidated bitcoin reflected at no value. Estimated value $1,700 but cost to liquidate will exceed value.
                                                               (4)   Income tax receivable and undeposited funds total 3,885,071 and are assumed to be 100% collect ble. The
                                                                     undeposited funds represent 2 refund checks received and held pending reconciliation when IRS systems are back
                                                                     online.
                                                               (5)   Inventory values reflected as recoverable values provided by FSS for similar products.
                                                               (6)   Prepaid legal represents retainer that will be offset against court approved legal fees
                                                               (7)   Rental property escrow represents excess balance to be refunded to debtor and is 100% recoverable
                                                               (8)   Lakehouse and Ranch property values based on realtor engaged to sell property estimated liquidation values under
                                                                     current market conditions. Fees and expenses of 8-9% are reflected in liquidation costs.
                                                               (9)   Rental property value based on estimated ranges on Zillow and Realtor.com at 1/12/24. Fees and expenses of 8-9%
                                                                     are reflected in liquidation costs.
                                                              (10)   2019 Dodge Challenger sold for $72,000 on 12/29/23. Check received after close of business and deposited in
                                                                     Januray 2024
                                                              (11)   2017 Ford expedition value based on current Autotrader range of values. Vehicle listed for sale.
                                                              (12)   Values based on projected sales prices from broker located at Capital Marine - located at marina boats are stored.
                                                              (13)   Interests in trusts valued at cash balance of 49% . No value of assigned for liquidation of non-cash assets.
                                                              (14)   Ownership in Non-Public entities ranges in value based on cash value of bank accounts
                                                              (15)   Non-exempt personal property value ranges reflected at 70-100% based on Valuepro March 24, 2023 appraisal which
                                                                     include household goods, furniture, watches, jewelry, lake house furniture, firearms, and other non-exempt assets
                                                                     noted in the appraisal. Liquidation fees and expenses are estimated at 15-20%
                                                              (16)   Other receivables for expenses paid by the estate are assumed collect ble as related parties have sufficient
                                                                     unencumbered assets.
                                                              (17)   Contingent receivable based on discovery from Youngevity. Collectability not determined.
                                                              (18)   Trustee fees range from 3.26-3.31% of gross proceeds
                                                              (19)   Trustee counsel estimated at 80% of trustee fees
                                                              (20)   Contingency of 1.5% of gross proceeds for unknown costs and expenses
                                                              (21)   Net liquidation proceeds from FSS per their disclosure statement. Filed 11/18/23 dkt 756 page 77
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 SCHEDULE A
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                    Schedule of Plan and Non-Plan, Non-Cash Assets




     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
BARRETT M107A1         NON-EXEMPT           N/A             Y           Y
.50 CAL. RIFLE W/
CNIGHT FORCE
OPTICS SCOPE
H&K SP5K PISTOL        NON-EXEMPT           N/A             Y           Y
W/ HOLOSUN
HE510C GR OPTIC
REMINGTON RIFLE        NON-EXEMPT           N/A             Y           Y
W/ VORTEX SCOPE
REMINGTON RIFLE        NON-EXEMPT           N/A             Y           Y
W/ SPRINGFIELD
SCOPE
FALKOR DEFENSE         NON-EXEMPT           N/A             Y           Y
FD-9S PISTOL
FALKOR DEFENSE         NON-EXEMPT           N/A             Y           Y
FD-9S PISTOL W/
VORTEX SPITFIRE
OPTIC
KRISS SDP 9MM          NON-EXEMPT           N/A             Y           Y
PISTOL W/ EOTECH
HWS EXPS2
KRISS VECTOR SDP       NON-EXEMPT           N/A             Y           Y
10MM PISTOL W/
EOTECH HWS
EXPS2
SONS OF LIBERTY        NON-EXEMPT           N/A             Y           Y
M4 RIFLE
SPIKE’S TACTICAL       NON-EXEMPT           N/A             Y           Y
SR15 PISTOL W/
VORTEX SOARC
AR OPTIC
HEAD DOWN              NON-EXEMPT           N/A             Y           Y
PRODUCTS LLC
PROVECTUS RIFLE
JESSE JAMES            NON-EXEMPT           N/A             Y           Y
NOMAD 10 RIFLE
W/ VORTEX RAZOR
SCOPT& BIPOD


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                   Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET           EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION          EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                        EXEMPT)         (Y/N)?         FOR
                                                                    CREDITORS
                                                                     (Y/N)?
SPRINGFIELD M1A       NON-EXEMPT           N/A             Y           Y
RIFLE W/ SLING
LWRC REPR 7.62        NON-EXEMPT           N/A             Y           Y
RIFLE
HEAD DOWN             NON-EXEMPT           N/A             Y           Y
PRODUCTS LLC
ARCADIUS RIFLE
BERETTA A400          NON-EXEMPT           N/A             Y           Y
EXTREME PLUS
12GA SHOTGUN
BERETTA A400          NON-EXEMPT           N/A             Y           Y
EXTREME PLUS
12GA SHOTGUN
MOSSBERG 935          NON-EXEMPT           N/A             Y           Y
12GA SHOTGUN
TRISTAR RAPTOR        NON-EXEMPT           N/A             Y           Y
12GA SHOTGUN
MOSSBERG 930          NON-EXEMPT           N/A             Y           Y
TACTICAL 12GA
SHOTGUN
MOSSBERG 930          NON-EXEMPT           N/A             Y           Y
TACTICAL 12GA
SHOTGUN
BAIKAL/EAA CORP       NON-EXEMPT           N/A             Y           Y
IZH-43 12 GA
SHOTGUN
IAC MICHINA 99        NON-EXEMPT           N/A             Y           Y
1887 12 GA
SHOTGUN
KELTEC KSG 12GA       NON-EXEMPT           N/A             Y           Y
SHOTGUN
NORINCO MAK-90        NON-EXEMPT           N/A             Y           Y
SPORTER RIFLE W/
SLING
ROMARM/SA/CUGIR       NON-EXEMPT           N/A             Y           Y
MOD. 0 RIFLE W/
SLING
ARSENAL MODEL         NON-EXEMPT           N/A             Y           Y
SLR-95 RIFLE W/
SLING


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                   Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET           EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION          EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                        EXEMPT)         (Y/N)?         FOR
                                                                    CREDITORS
                                                                     (Y/N)?
IZHMASH SAIGA         NON-EXEMPT           N/A             Y           Y
7.62 RIFLE
ZASTAVA               NON-EXEMPT           N/A             Y           Y
SPAPM70 7.62
RIFLE
BERETTA 21A(TB)       NON-EXEMPT           N/A             Y           Y
.22LR PISTOL
RUGER MK3 .22LR       NON-EXEMPT           N/A             Y           Y
PISTOL
SIG SAUER P365XL      NON-EXEMPT           N/A             Y           Y
9MM PISTOL
WALTHER P22           NON-EXEMPT           N/A             Y           Y
.22LR PISTOL
H&K USP .45 ACP       NON-EXEMPT           N/A             Y           Y
PISTOL
GLOCK 26 GEN4         NON-EXEMPT           N/A             Y           Y
9MM PISTOL
GLOCK 31 .357         NON-EXEMPT           N/A             Y           Y
PISTOL
GLOCK 34 9MM          NON-EXEMPT           N/A             Y           Y
PISTOL
MAGNUM                NON-EXEMPT           N/A             Y           Y
RESEARCH DESERT
EAGLE .44 MAG
PISTOL
COLT 1911 GOVT        NON-EXEMPT           N/A             Y           Y
PISTOL
COLT 1911 GOVT        NON-EXEMPT           N/A             Y           Y
PISTOL
KIMBER 1911 PRO       NON-EXEMPT           N/A             Y           Y
CDP 2 .45 ACP
PISTOL
CZ SHADOW 2           NON-EXEMPT           N/A             Y           Y
9MM PISTOL
TAURUS THE JUDGE      NON-EXEMPT           N/A             Y           Y
.410/.45 LC
REVOLVER
S&W 500 SW MAG        NON-EXEMPT           N/A             Y           Y
REVOLVER



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                    Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
STOEGER/UBERTI         NON-EXEMPT           N/A             Y           Y
SCHOFIELD .45
COLT REVOLVER
S&W 60-14 .357         NON-EXEMPT           N/A             Y           Y
MAG REVOLVER
TAURUS 85 .38          NON-EXEMPT           N/A             Y           Y
SPEC. REVOLVER
STURM RUGER            NON-EXEMPT           N/A             Y           Y
SP101 .357 MAG
REVOLVER
S&W M31-3 .32          NON-EXEMPT           N/A             Y           Y
S&W L REVOLVER
STACATTO XC              EXEMPT          $2,500.00          N           N
9MM PISTOL
FALCOR PETRA .300        EXEMPT          $3,000.00          N           N
WIN. MAG. RIFLE
HOMESTEAD                EXEMPT         $17,940.00          N           N
HOUSEHOLD GOODS
CAT                      EXEMPT           $200.00           N           N
CLOTHES                  EXEMPT           $300.00           N           N
TUDOR GENEVA             EXEMPT          $3,000.00          N           N
CHRONOMETER
WATCH
TAG HEUER                EXEMPT          $2,000.00          N           N
AQUARACER
WATCH
HOMESTEAD REAL           EXEMPT        $1,633,000.00        N           N
PROPERTY
2017 FORD              NON-EXEMPT           N/A             Y           Y
EXPEDITION
ROLEX OYSTER           NON-EXEMPT           N/A             Y           Y
PERPETUAL DATE
SUBMARINER
SUPERLATIVE
CHRONOMETER
40MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM



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                    Schedule of Plan and Non-Plan, Non-Cash Assets


     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TUDOR GENEVE           NON-EXEMPT           N/A             Y           Y
CHRONOMETER
44MM
TAG HEUER              NON-EXEMPT           N/A             Y           Y
AQUARACER
CALIBRE 5
AUTOMATIC
TAG HEUER              NON-EXEMPT           N/A             Y           Y
MONACO 41MM
TAG HEUER              NON-EXEMPT           N/A             Y           Y
CARRERA 41MM
VICTORONIX 41MM        NON-EXEMPT           N/A             Y           Y
VICTORONIX 41MM        NON-EXEMPT           N/A             Y           Y
VICTORONIX             NON-EXEMPT           N/A             Y           Y
MARATAC 44MM           NON-EXEMPT           N/A             Y           Y
HAMILTON               NON-EXEMPT           N/A             Y           Y
AUTOMATIC
JAZZMASTER
MODEL H325960
44MM
BERING TITANIUM        NON-EXEMPT           N/A             Y           Y
38MM
SEKONDA 41MM           NON-EXEMPT           N/A             Y           Y
TREADMILL AND 3          EXEMPT          $2,385.00          N           N
ELECTRIC BIKES
COINS                    EXEMPT          $1,680.00          N           N
RENTAL PROPERTY -      NON-EXEMPT           N/A             Y           Y
WW
LAKE HOUSE             NON-EXEMPT           N/A             Y           Y
2019 DODGE             NON-EXEMPT           N/A             Y           Y
CHALLENGER


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                          Schedule of Plan and Non-Plan, Non-Cash Assets


         ASSET               EXEMPT/NON-             VALUE OF           LIQUIDATED                ASSET
      DESCRIPTION              EXEMPT                ASSET (IF          UNDER PLAN             AVAILABLE
                                                     EXEMPT)              (Y/N)?                  FOR
                                                                                               CREDITORS
                                                                                                  (Y/N)?
    2020 DODGE         NON-EXEMPT                        N/A                   N                    N
    CHARGER
    2020 CHEVROLET     NON-EXEMPT                        N/A                   Y                     Y
    TAHOE
    2003 GLASTON       NON-EXEMPT                        N/A                   Y                     Y
    GS209 BOAT
    2016 REGAL BOATS   NON-EXEMPT                        N/A                   Y                     Y
    28 EXPRESS
    2015 REGAL BOATS NON-EXEMPT                          N/A                   Y                     Y
    24 FASDECK
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    A.           EMRIC
    PRODUCTIONS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    MAGNOLIA
    HOLDINGS LIMITED
    PARTNERSHIP, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    MAGNOLIA
    MANAGEMENT,
    LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    AUSTIN SHIPROCK
    PUBLISHING, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    PLANET INFOWARS,
    LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    RCGJ, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                    N1
    FREE SPEECH
    SYSTEMS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    AEJ AUSTIN
    HOLDINGS, LLC
    100% INTEREST IN   NON-EXEMPT                        N/A                   N                     N
    GUADALUPE


1
 Through the FSS subchapter V plan, FSS’s net disposable income will be distributed to holders of an Allowed
Claim against both the Debtor and FSS.

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                    Schedule of Plan and Non-Plan, Non-Cash Assets


COUNTY LAND AND
WATER, LLC
     ASSET            EXEMPT/NON-        VALUE OF      LIQUIDATED      ASSET
  DESCRIPTION           EXEMPT           ASSET (IF     UNDER PLAN    AVAILABLE
                                         EXEMPT)         (Y/N)?         FOR
                                                                     CREDITORS
                                                                      (Y/N)?
100% INTEREST IN       NON-EXEMPT           N/A             N           N
EMRIC
PRODUCTIONS, LLC
100% INTEREST IN       NON-EXEMPT           N/A             N           N
JONES REPORT, LLC
100% INTEREST IN       NON-EXEMPT           N/A             N           N
JONES
PRODUCTIONS, LLC
CRYPTO CURRENCY        NON-EXEMPT           N/A             Y           Y
TAX REFUND IN          NON-EXEMPT           N/A             Y           Y
AMOUNT OF
$3,807,459.00
RANCH LOCATED IN       NON-EXEMPT           N/A             Y           Y
GUADALUPE
COUNTY, TX
CRYOGENIC              NON-EXEMPT           N/A             Y           Y
CHAMBER
LAKE HOUSE             NON-EXEMPT           N/A             Y           Y
FURNITURE,
FIXTURES,
HOUSEHOLD GOODS
AND REC. EQUIP.
RECHARGE               NON-EXEMPT           N/A             Y           Y
DYNASTY TRUST
2022 LITIGATION        NON-EXEMPT           N/A             N           Y
SETTLEMENT TRUST
RXXCTTGAA              NON-EXEMPT           N/A             N           Y
TRUST
GREEN LEAF TRUST       NON-EXEMPT           N/A             N           N
AEJ 2018 TRUST         NON-EXEMPT           N/A             N           Y
THE                    NON-EXEMPT           N/A             Y           Y
MISSOURI779384
TRUST
ALEXANDER E.           NON-EXEMPT           N/A             N           N
JONES DESCENDANT
AND BENEFICIARY
TRUST
SUNGLASSES               EXEMPT           $845.00           N           N


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                  Schedule of Plan and Non-Plan, Non-Cash Assets


AGGREGATE                            $33,850.00
ESTIMATED VALUE
OF EXEMPT
PERSONAL
PROPERTY




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                                      Exhibit A
                       Blackline of Amended Disclosure Statement




NOTICE OF FILING DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
DEBTOR’S PLAN OF REORGANIZATION AND BLACKLINE SHOWING CHANGES BETWEEN DEBTOR’S
PROPOSED DISCLOSURE STATEMENT AND PROPOSED AMENDED DISCLOSURE STATEMENT - Page 4
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                         §   Chapter 11
                                               §
ALEXANDER E. JONES,                            §
                                               §
         Debtor.                               §   Case No. 22-33553 (CML)
                                               §


 DEBTOR’S PROPOSED AMENDED DISCLOSURE STATEMENT WITH RESPECT
                               TO
                DEBTOR’S PLAN OF REORGANIZATION


                                           CROWE & DUNLEVY, P.C.

                                           Vickie L. Driver
                                           State Bar No. 24026886
                                           Christina W. Stephenson
                                           State Bar No. 24049535
                                           2525 McKinnon St., Suite 425
                                           Dallas, TX 75201
                                           Telephone: 737.218.6187
                                           Email: dallaseservice@crowedunlevy.com

                                           -and-

                                           Shelby A. Jordan
                                           State Bar No. 11016700
                                           S.D. No. 2195
                                           Antonio Ortiz
                                           State Bar No. 24074839
                                           S.D. No. 1127322
                                           JORDAN & ORTIZ, P.C.
                                           500 North Shoreline Blvd., Suite 900
                                           Corpus Christi, TX 78401
                                           Telephone: (361) 884-5678
                                           Facsimile: (361) 888-5555
                                           Email: sjordan@jhwclaw.com
                                                   aortiz@jhwclaw.com

                                           ATTORNEYS FOR ALEXANDER E. JONES

Dated: December 21, 2023January 23, 2024
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                                  I.        INTRODUCTION

        Alexander E. Jones (referred to herein as “Jones” or the “Debtor”), submits this Disclosure
Statement (the “Disclosure Statement”) in connection with the Amended Plan of Reorganization
proposedfiled by the Debtor, filed on December 15, 2023January 23, 2024 (the “Plan”). This
Disclosure Statement is to be used in connection with the solicitation of votes on the Plan. A copy
of the Plan is attached hereto as Exhibit A. Unless otherwise defined herein, capitalized terms used
herein have the meanings ascribed thereto in the Plan (see Article I of the Plan entitled
“Definitions, Construction, and Interpretation”).

                        II.    NOTICE TO HOLDERS OF CLAIMS

       The purpose of this Disclosure Statement is to enable Holders of Claims against the Debtor
whose Claims are impaired under the Plan and are entitled to vote on the Plan to make an informed
decision in exercising their right to vote to accept or reject the Plan.

     THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY
BEAR UPON YOUR DECISION TO ACCEPT OR REJECT THE PLAN. PLEASE READ
THIS DOCUMENT CAREFULLY.

        On _____________,January 24, 2024, the Bankruptcy Court conducted a hearing
provisionally approving the Disclosure Statement and subsequently entered an order pursuant to
section 1125 of the Bankruptcy Code (the “Disclosure Statement Order”) provisionally approving
this Disclosure Statement as containing information of a kind, and in sufficient detail, adequate to
enable a hypothetical, reasonable investor, typical of the solicited holders of Claims against the
Debtor, to make an informed judgment with respect to the acceptance or rejection of the Plan. A
copy of the Disclosure Statement Order is included in the materials accompanying this Disclosure
Statement.

     APPROVAL OF THIS DISCLOSURE STATEMENT BY THE BANKRUPTCY COURT
DOES NOT CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT
REGARDING THE FAIRNESS OR MERITS OF THE PLAN.

     THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION, NOR HAS THE
COMMISSION PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
CONTAINED HEREIN.

        Each Holder of a Claim entitled to vote to accept or reject the Plan should read this
Disclosure Statement and the Plan in their entirety before voting. No solicitation of votes to accept
or reject the Plan may be made except pursuant to this Disclosure Statement and section 1125 of
the Bankruptcy Code. Except for the Debtor and his professionals, no person has been authorized
to use or promulgate any information concerning the Debtor, his businesses, or the Plan, other than
the information contained herein, in connection with the solicitation of votes to accept or reject the
Plan. No Holder of a Claim entitled to vote on the Plan should rely upon any information relating


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to the Debtor, his businesses, or the Plan other than that contained in the Disclosure Statement and
the exhibits hereto. Unless otherwise indicated, the sources of all information set forth herein are
the Debtor and his professionals.

       After carefully reviewing this Disclosure Statement, including the attached exhibits,
please indicate your acceptance or rejection of the Plan by voting in favor of or against the
Plan on the enclosed ballot and returning the same, to the address set forth on the ballot, in
the enclosed return envelope so that it will be received by the Balloting Agent, Vickie Driver,
2525 McKinnon Street, Suite 425, Dallas, TX 75201, no later than 5:00 p.m. Central Time on
__________, 2024.

       If you do not vote to accept the Plan, or if you are not entitled to vote on the Plan, you may
be bound by the Plan if it is accepted by the requisite Holders of Claims. See “Solicitation of Votes;
Voting Procedures,” “Vote Required for Class Acceptance,” and “Cramdown” in Article VI
(“Confirmation of the Plan”) below.

        TO BE SURE YOUR BALLOT IS COUNTED, YOUR BALLOT MUST BE
RECEIVED NO LATER THAN 5:00 P.M. CENTRAL TIME ON __________, 2024. For
detailed voting instructions and the name, address, and phone number of the person you may
contact if you have questions regarding the voting procedures, see “Ballots and Voting Deadline”
in Section VI.A.1 below.

       Pursuant to section 1128 of the Bankruptcy Code, the Bankruptcy Court has scheduled a
hearing to consider confirmation of the Plan (the “Confirmation Hearing”) on _____________,
2024, at _________ Central Time, in the United States Bankruptcy Court for the Southern District
of Texas, Houston Division. The Bankruptcy Court has directed that objections, if any, to
confirmation of the Plan be filed and served on or before ___________, 2024, in the manner
described in Section VI.B below under the caption, “Confirmation Hearing.”

    THE DEBTOR SUPPORTS CONFIRMATION OF THE PLAN AND URGES ALL
HOLDERS OF IMPAIRED CLAIMS TO ACCEPT THE PLAN.
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Competing plans and disclosure statements have been filed in this Chapter 11 Case by the
Debtor and the Creditor Plan Proponents—comprising the UCC and the Sandy Hook
Plaintiffs. Creditors entitled to vote on each such plan will be asked to evaluate the
competing plans and determine whether to vote in favor of either the Debtor’s Plan or the
Creditors’ Plan based on the information provided in the respective disclosure statements,
plans and related documents. The Creditor Plan Proponents have requested inclusion in this
Disclosure Statement of a statement that the Creditor Plan Proponents disagree with a
number of facts and contentions set forth herein and have concerns about the confirmability
of the Debtor’s Plan, which issues will be addressed at the appropriate time in connection
with the confirmation process. The Creditor Plan Proponents’ views regarding various
issues in this Chapter 11 Case and the best path forward are set forth in detail in the Creditor
Plan Proponents’ Specific Disclosure Statement and the Creditors’ Plan. As such, the
Creditor Plan Proponents have requested this general statement regarding the Creditor Plan

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Proponents’ position in lieu of including numerous notes throughout this Disclosure
Statement indicating points of disagreement. The Debtor and the Creditor Plan Proponents
each reserve all rights in respect of the Debtor’s Plan, the Creditors’ Plan, the Debtor’s
Disclosure Statement, and the Creditor Plan Proponents’ Specific Disclosure Statement.



                         III.    EXPLANATION OF CHAPTER 11

       A. Overview of Chapter 11

        Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Pursuant to
chapter 11, the debtor in possession attempts to reorganize for the benefit of the debtor, its
creditors, and other parties in interest.

        The commencement of a chapter 11 case creates an estate comprising all the legal and
equitable interests of the debtor in property as of the date the bankruptcy petition is filed. Sections
1101, 1107, and 1108 of the Bankruptcy Code provide that a debtor may continue to operate its
business and remain in possession of its property as a “debtor in possession” unless the bankruptcy
court orders the appointment of a trustee. In the present chapter 11 case, the Debtor has remained
in possession of his property and continued to operate his businesses as a debtor in possession.

         The filing of a chapter 11 petition also triggers the automatic stay provisions of the
Bankruptcy Code. Section 362 of the Bankruptcy Code provides, inter alia, for an automatic stay
of all attempts to collect prepetition claims from the debtor or otherwise interfere with its property
or business. Except as otherwise ordered by the bankruptcy court, the automatic stay remains in
full force and effect until the effective date of a confirmed plan of reorganization.

       The formulation of a plan of reorganization is the principal purpose of a chapter 11 case.
The plan sets forth the means for satisfying the claims against and interests in the debtor.

       Generally, unless a trustee is appointed, only the debtor may file a plan during the first 120
days of a chapter 11 case (the “Exclusive Period”). However, section 1121(d) of the Bankruptcy
Code permits the court to extend or reduce the Exclusive Period upon a showing of “cause.” After
the Exclusive Period has expired, a creditor or any other party in interest may file a plan, unless
the debtor has filed a plan within the Exclusive Period, in which case, the debtor is generally given
60 additional days (the “Solicitation Period”) during which it may solicit acceptances of its plan.
The Solicitation Period may also be extended or reduced by the court upon a showing of “cause.”

       In this case, the Exclusive Period expired on or about April 1, 2023.

       B. Plan of Reorganization

        Although referred to as a plan of reorganization, a plan may provide anything from a
complex restructuring of an individual debtor or a debtor’s business(es) and its related obligations
to a simple liquidation of the debtor’s assets. After a plan of reorganization has been filed, the


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holders of claims against or interests in a debtor are permitted to vote to accept or reject the plan.
Before soliciting acceptances of the proposed plan, section 1125 of the Bankruptcy Code requires
the debtor to prepare a disclosure statement containing adequate information of a kind, and in
sufficient detail, to enable a hypothetical reasonable investor to make an informed judgment about
the plan. This Disclosure Statement is presented to Holders of Claims against the Debtor to satisfy
the requirements of section 1125 of the Bankruptcy Code.

        If all classes of claims and equity interests accept a plan of reorganization, the bankruptcy
court may nonetheless decide not to confirm the plan unless the court independently determines
that the requirements of section 1129 of the Bankruptcy Code have been satisfied. Section 1129
sets forth the requirements for confirmation of a plan and, among other things, requires that a plan
meet the “best interests” test and be “feasible.” The “best interests” test generally requires that the
value of the consideration to be distributed to the holders of claims and equity interests under a
plan may not be less than those parties would receive if the debtor were liquidated pursuant to a
hypothetical liquidation occurring under Chapter 7 of the Bankruptcy Code. Under the “feasibility”
requirement, the court generally must find that there is a reasonable probability that the debtor will
be able to meet its obligations under its plan without the need for further financial reorganization.

        The Debtor believes that the Plan satisfies all the applicable requirements of section
1129(a) of the Bankruptcy Code, including, in particular, the “best interests” test and the
“feasibility” requirement. The Debtor supports confirmation of the Plan and urges all Holders of
impaired Claims to accept the Plan.

        Chapter 11 does not require that each holder of a claim against a debtor vote in favor of a
plan of reorganization in order for the bankruptcy court to confirm the plan. At a minimum,
however, the plan must be accepted by a majority in number and two-thirds in amount of those
claims actually voting in at least one class of impaired claims under the plan. The Bankruptcy
Code also defines acceptance of the plan by a class of equity interests (equity securities) as
acceptance by holders of two-thirds of the number of shares actually voting. In the present case,
there are no equity interests in the Debtor and only the Holders of impaired Claims who actually
vote will be counted as either accepting or rejecting the Plan.

        In addition, classes of claims or equity interests that are not “impaired” under a plan of
reorganization are conclusively presumed to have accepted the plan and thus are not entitled to
vote. Accordingly, acceptances of a plan will generally be solicited only from those persons who
hold claims or equity interests in an impaired class. A class is “impaired” if the legal, equitable, or
contractual rights attaching to the claims or equity interests of that class are modified in any way
under the plan. Modification for purposes of determining impairment, however, does not include
curing defaults and reinstating maturity or payment in full in cash. In this case, Holders of certain
Claims are not impaired and are conclusively presumed to accept the Plan and are not entitled to
vote on the Plan. See “Summary of the Plan — Classification and Treatment — Classified Claims”
in section V.C for an identification of impaired and unimpaired Classes of Claims and Interests.

        The bankruptcy court may also confirm a plan of reorganization even though fewer than
all the classes of impaired claims and interests accept it. For a plan of reorganization to be
confirmed despite its rejection by a class of impaired claims or interests, the proponents of the plan


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must show, among other things, that the plan does not “discriminate unfairly” and that the plan is
“fair and equitable” with respect to each impaired class of claims or interests that has not accepted
the plan. The process of confirming a plan under these conditions is known as a “cramdown.”

        Under section 1129(b) of the Bankruptcy Code, a plan is “fair and equitable” as to a class
of rejecting claims if, among other things, the plan provides: (a) with respect to secured claims,
that each such holder will receive or retain on account of its claim property that has a value, as of
the effective date of the plan, equal to the allowed amount of such claim; and (b) with respect to
unsecured claims and equity interests, that the holder of any claim or equity interest that is junior
to the claims or equity interests of such class will not receive or retain on account of such junior
claim or equity interest any property at all unless the senior class is paid in full.

        A plan does not “discriminate unfairly” against a rejecting class of claims if (a) the relative
value of the recovery of such class under the plan does not differ materially from that of any class
(or classes) of similarly situated claims, and (b) no senior class of claims is to receive more than
100% of the amount of the claims in such senior class.

       The Debtor believes that the Plan has been structured so that it will satisfy these
requirements as to any rejecting Class of Claims, and can therefore be confirmed, if necessary,
over the objection of any Classes of Claims. The Debtor, therefore, reserves the right to request
confirmation of the Plan under the “cramdown” provisions of section 1129 of the Bankruptcy
Code. See “Cramdown” in section VI.D below.

IV.       HISTORY OF THE DEBTOR, LITIGATION, AND THE CHAPTER 11 CASE

       A. The Debtor

        The Debtor is a prominent media broadcast personality who has spent over twenty-five
years as a talk show host on radio, television, and internet platforms. The Debtor is most famous
for hosting The Alex Jones Show, a news show broadcast through Free Speech System, LLC’s
(“FSS”) platform, which currently airs for approximately three to four hours a day, five days a
week, and where the Debtor discusses and provides opinion on current national and international
events. The Debtor is the founder, manager, and 100% owner of FSS. Most the Debtor’s income
stems from merchandise and dietary supplement sales that are marketed under the InfoWars brand
name.

       B. The Debtor’s Assets

        As of the Petition Date, the Debtor’s primary assets fell into one of three categories: (i)
personal property (including automobiles, boats, watches, etc.); (ii) real property (including a lake
house, ranch, home, rental property, etc.); and (iii) the Debtor’s interests in various business
entities, such as FSS.

       As of the date of filing of this Disclosure Statement, the Debtor’s assets consist of the
following: (i) his homestead in Travis County (the “Homestead”); (ii) the lake house in Travis
County (the “Lakehouse”); (iii) the ranch in Guadalupe County (the “Ranch”); (iv) the rental


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property located in Travis County (the “Rental Property”); (v) non-publicly traded stock and
interests in unincorporated business, including interest in an LLC, partnership, and a joint venture;
(vi) interests in trusts such as the AEJ 2018 Trust, The Missouri779384 Trust and the Recharge
Dynasty Trust;1 (vii) cash and securities in the amount of approximately $1,065,913.67 located in
several accounts; (viii) an income tax refund of $3,885,071.00; (ix) vehicles including the 2017
Ford Expedition, the 2019 Dodge Challenger, and the 2020 Dodge Charger; (x) two boats and
trailers: the 2015 Regal Boats 24 Fasdeck and 2018 Regal Boats 28 Express; (xi) household goods
and furnishings; (xii) forty nine (49fifty-four (54) firearms; (xiii) other personal items such as
electronics, sports equipment, and clothing; and; (xiv) watches or other jewelry; (xv) the contents
of several storage facilities; (xvi) interests in certain executory contracts; and (xvii) various claims
against third parties that have not yet been valued. The appraised value as of March 24, 2023, was
$171,636 for items noted in (ix), (xii), (xiii) and (xiv). All of the addresses for the above-mentioned
real property were filed under seal pursuant to the Court’s Order Granting Motion for Entry of an
Order Authorizing Debtor to File Schedules [Docket No. 530].

        The Debtor has filed applications to employ brokers to sell the Lakehouse and Ranch
properties, as well as the contents of several storage facilities, and has filed a motion with the Court
to sell personal property such as the golfcarts, cars, and firearms. The Debtor anticipates these
motions will be granted in or before January 2024.

        The fair market value of the Debtor’s business entities identified in Exhibit __B are not
readily ascertainable for numerous reasons, including that their value, in large part, depends on the
continued personal services and full commitment of the Debtor, as well as the continued operation
of FSS. These companies are dependent on the Debtor providing his continued services, and
without his constant personal involvement, they would no longer be in a position to generate net
revenue. Additionally, the Debtor’s business has experienced a sizeable reduction in revenues due
to certain negative media publicity and oversaturation of the internet media and supplement
industries. In the weeks and months following the Petition Date, the Debtor began taking steps to
reduce overhead costs, consolidate expenses and wind down inactive companies so that his overall
business operations remain profitable.

      The following is a brief description of the operations of the Debtor’s wholly owned
companies that are currently active and generating income and expenses:

       FSS. FSS is presently engaged in the business of producing and syndicating Jones’ radio
and video talk shows and selling products targeted to Jones’ loyal fan base via the Internet. Today,
FSS produces the Debtor’s syndicated news/talk show (The Alex Jones Show) from Austin, Texas,
which airs via the Genesis Communications Network on over 100 radio stations across the United

1
  The Greenleaf Trust and the Alexander E. Jones Descendant and Beneficiary Trust (the “Other Trusts”), initially set
up by Debtor are not listed as Debtor presently has no interests in these trusts. Therefore, the Other Trusts are irrelevant
to this Disclosure Statement. RXXCTTGAA Trust is a privacy trust that owns the Debtor’s share of his homestead.
The UCC claims that RXXCTTGAA has a bank account with $13,954.01. If this is correct, and the Debtor is the
proper beneficiary of those funds, such funds will be made available to Creditors through the payment terms of the
Plan. The 2022 Litigation Settlement Trust is not controlled by the Debtor. The Debtor believes that the assets that
were transferred to this trust were owned by FSS, not the Debtor. However, to the extent this trust did hold funds to
which the Debtor was the proper beneficiary or owner, such funds would be made available to Creditors through the
payment terms of the Plan.

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States and via the internet through websites including Infowars.com. On its Infowars.com website
today, FSS makes available to customers dietary supplements, ranging from Vitamin D3
Gummies, Ultimate Immune Support Pack, Pollen Block, and other health products, including Tea
Tree Shampoo. The website also has available books, t-shirts, and other products Jones advertises
during his radio talk show. The vast majority of FSS revenues comes from sales of dietary
supplements which have traditionally been supplied by PQPR Holdings Limited, LLC (“PQPR”),
an affiliated entity. As of the filing date of this Disclosure Statement, FSS has 47 employees. FSS
has a unique audience that is highly loyal to the Debtor and purchase products based on the
Debtor’s credibility. Product sales from Infowars.com stores are a significant source of revenue
for FSS. Prepetition, the majority of products were sold through PQPR. However, these sales have
steadily decreased, and, through the FSS Plan, the goal is that sales will cease flowing through
PQPR. Through its online sales channel, FSS currently sells (i) dietary supplements directly
purchased by FSS; (ii) dietary supplements purchased by PQPR and the Debtor; and (iii) books,
DVDs, t-shirts, and other merchandise purchased by FSS. The allocation of proceeds from the sale
of products after credit card processing charges varies depending upon which of the above
categories the product falls under.

         PQPR. Debtor owns a beneficial interest in PQPR through the 2018 AEJ Trust. The Debtor
is both the sole trustee and beneficiary of the 2018 AEJ Trust, which owns 72% of PQPR. PQPR
has historically sold products to FSS, which are then sold through the InfoWars website. The
Debtor’s 72% interest has not been professionally appraised in over five years, and, since the filing
of this Case, PQPR’s business has significantly diminished. Further, an outstanding lawsuit by
FSS against PQPR (the “PQPR Suit”)2 may yield monetary reward for FSS in the event FSS
prevails, thereby further depriving PQPR of value. [See Adv. No. 23-0217; Amended Complaint
at Docket No. 5]. Any value of this entity is based on the ability of the Debtor to sell through FSS,
and FSS’s First Amended Plan of Reorganization Under Subchapter V of the Bankruptcy Code
(the “FSS Plan”) shows sales of PQPR supplements substantially diminishing over time. As a
result, this will degrade any value the Debtor has in PQPR.

         Other Entities in Which the Debtor Has Ownership Interest. Certain entities that the Debtor
holds full ownership interests in are inactive and have been since the Petition Date. These entities
include Guadalupe County Land and Water, LLC; Magnolia Management, LP; Jones Productions;
Emric Productions LLC; Jones Report, LLC; Jones Productions, LLC; Magnolia Holdings Limited
Partnerships, LLC; Austin Shiprock Publishing, LLC; AEJ Austin Holdings, LLC; IWHealth,
LLC; Planet Infowars, LLC; PJLR Holdings, LLC; Prison Planet TV, LLC; RCGJ, LLC; and AEJ
Holdings, LLC (the “Inactive Entities”). Some of these entities have forfeited their existence due
to failure to pay administrative fees or file documents necessary to ensure these entities’ continued
existence. There is currently no intention to revive these Inactive Entities.

        Parties in interest who desire a more detailed view of the financial conditions of the
Debtor’s businesses are directed to the Debtor’s Monthly Operating Reports and associated
amendments [at Docket Nos. 172, 173, 256, 257, 258, 261, 392, 446] and Statements of Financial
Affairs and associated amendments [at Docket Nos. 162, 232, 233, 234, 243, 503].


2
 The PQPR Suit seeks, inter alia, recovery of funds under theories of fraudulent transfer and preference. While
PQPR maintains defenses against the PQPR Suit, the outcome is still pending.

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       C. Factors Leading to Chapter 11 Filing

               1. Sandy Hook Litigation

        The Debtor is a skeptical person and has a general distrust of the government. When the
Sandy Hook shooting occurred, the Debtor viewed the official narrative flowing from local
government and mainstream media with skepticism, as he does with virtually all news events
covered by mainstream media. One day on his show, Jones claimed that, while he did not know
what happened, it would not surprise him if the government staged the Sandy Hook shooting to
stir chaos that might lead to restrictions on Americans’ access to guns. After, Jones continued to
cover the event’s official narrative with skepticism, pointing out inconsistencies in the coverage
of the shooting and testing the veracity of the official Sandy Hook narrative. The following suits
ensued and left Jones liable for approximately $1.5 billion in judgments—an amount that far
outweighs any calculation of his assets—thus necessitating the Debtor’s bankruptcy filing.

                         a. Fontaine v. Jones

       On April 2, 2018, Marcel Fontaine (“Fontaine”) filed suit against Jones, InfoWars, FSS,
and one InfoWars employee for defamation, claiming that Jones falsely identified Fontaine as the
shooter in the 2018 Stoneman Douglas High School shooting. After Fontaine’s death, his estate
took over the case. Although the Texas court previously dismissed this suit against the Debtor, the
time for further appeal of the decisison has not yet run.

                         b. Pozner and De La Rosa v. Jones

      On April 16, 2018, Leonard Pozner and Veronique De La Rosa, parents of one of the Sandy
Hook shooting victims, filed suit against Jones, InfoWars, and FSS in Texas state court for
defamation. This suit was ultimately combined with the Heslin v. Jones suit.

                         c. Heslin v. Jones

        On April 16, 2018, Neil Heslin (“Heslin”) and Scarlett Lewis (“Lewis”), also parents of
one of the Sandy Hook victims, filed suit in Texas state court for defamation. On September 27,
2021, Judge Guerra issued three default judgments against the Debtor for purported discovery
violations, requiring him to pay all damages in the Pozner and Heslin suits. On August 4, 2022, a
Texas jury ordered Jones to pay Heslin and Lewis $4.1 million in compensatory damages. On
August 5, 2022, the jury ordered Jones to pay an additional $45.2 million in punitive damages.

                         d. Lafferty et al. v. Jones

        On June 26, 2018, seven families of victims and an FBI agent who responded to the attack
filed a defamation suit against Jones in Connecticut against Jones, InfoWars, FSS, Infowars
Health, and others. On November 15, 2021, the judge found Jones liable for defamation by default,
noting “willful non-compliance” through failure to turn over discoverable documents. On October
12, 2022, the jury awarded $965 million in damages to be distributed among the various plaintiffs.



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On November 10, 2022, the judge awarded the plaintiffs an additional $473 million in punitive
damages.

                         e. Sherlach v. Jones

       On July 24, 2018, William Sherlach, husband of one of the victims, filed a defamation suit
in Connecticut against Jones, Infowars, FSS, and Infowars Health. This lawsuit was combined
with Lafferty et al. v. Jones.

       D. Commencement of the Chapter 11 Case

        On December 2, 2022, Jones filed a voluntary petition for relief under chapter 11 of title
11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532, initiating this bankruptcy case.

       E. Significant Events Since Commencement of Chapter 11 Case

               1. Continuation of the Debtor’s Business

       Since the filing of the Chapter 11 case, the Debtor has continued to operate his
businessbusinesses and manage his property as debtor-in-possession.

               2. Retention of Professionals

                         a. Bankruptcy Counsel

       On December 20, 2022, the Debtor filed an Application to Employ Crowe & Dunlevy, P.C.,
as Bankruptcy Co-Counsel. The next day, Shelby Jordan filed a similar Application to Employ
Jordan & Ortiz, P.C. as Co-Counsel. These Applications were approved by the Court on January
20, 2022. Both Crowe & Dunlevy, P.C. and Jordan & Ortiz, P.C. have remained bankruptcy
counsel for the Debtor since the inception of the case.

                         b. Financial Advisor

        On December 29, 2022, the Debtor filed his Application to Employ Blackbriar Advisors,
LLC as Financial Advisor. This Application was approved by the Court on January 20, 2023.
Blackbriar Advisors, LLC have remained in their role as financial advisor for the Debtor since the
inception of this case.

                         c. Other Professionals

        On December 13, 2022, the Debtor filed an Application to Employ Rachel Kennerly, LLC
as Tax Accountant. This Application was approved by the Court on January 20, 2023. Rachel
Kennerly, LLC have remained in their role as a tax accountant for the Debtor since the inception
of the case.




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       On January 7, 2023, the Debtor moved to employ The Reynal Firm, P.C., and Martin,
Disiere, Jefferson, & Wisdom, LLP as special counsel. These motions were approved by the Court
on February 28, 2023.

        On June 20, 2023, the Debtor filed an expedited motion to employ Pattis & Smith, LLC as
special counsel. The Application was approved by the Court on July 5, 2023.

        On ____________,December 21, 2023 the Debtor moved to employ several real estate
brokers to liquidate the Lakehouse, Ranch, and contents of the storage facilities. The Court has yet
to rule on these motions.

               3. Schedules and Statements of Financial Affairs

       On February 14, 2023, the Debtor filed his Schedules and Statements of Financial Affairs
(as amended, the “Schedules and Statements”). Amended Schedules were filed on March 30, 2023;
April 18, 2023; and November 26, 2023.

               4. Motion for Summary Judgment

                          a. Connecticut

        On March 10, 2023, Plaintiffs David Wheeler, Francine Wheeler, Jacqueline Barden, Mark
Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M.
Soto, Jillian Soto Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica Lafferty
(collectively, the “Connecticut Plaintiffs”) filed their Adversary Complaint Seeking Judgment that
Sandy Hook Judgment is Non-Dischargeable under Bankruptcy Code § 523(a) (the “Complaint”)
(Adv. Doc. 1) seeking a declaration that the Debtor’s debts to the Connecticut Plaintiffs were
nondischargeable. The debts they sought to have declared nondischargeable stem from a state-
court judgment entered against the Debtor in the amount of $1.436 billion for statements he made
concerning the 2013 Sandy Hook Elementary School shooting. The Connecticut Plaintiffs filed
their motion for summary judgment (Adv. Doc. 57-60) on May 12, 2023; the Debtor filed his
response (Adv. Doc. 61) on June 13, 2023; and Connecticut Plaintiffs filed their reply (Adv. Doc.
66) on July 14, 2023. On October 19, 2023, the Bankruptcy Court issued its order (Adv. Doc. 76)
on Connecticut Plaintiff’s motion for summary judgment, where it granted summary judgment on
the $965 million debt for compensatory damages awarded in the underlying Connecticut action
for defamation and IIED. The court also granted summary judgment on the $150 million debt for
punitive damages under the Connecticut Uniform Trade Practices Act (“CUTPA”). However,
summary judgment was denied as to the $321.65 million in attorneys’ fees and $1,489,555.94 in
costs awarded as common law punitive damages.

        On November 2, 2023, the Debtor filed a motion for leave to appeal the Bankruptcy Court’s
interlocutory order in the United States District Court for the Southern District of Texas. See
Wheeler v. Jones, 23-CV-4240. In his motion, the Debtor asked the district court to hear his
interlocutory appeal because it involved a controlling question of law, there were substantial
grounds for difference of opinion, and an immediate appeal would materially advance the ultimate
termination of the litigation. The Connecticut Plaintiffs filed their response (D.C. Doc. 10) on


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November 16, 2023, and the Debtor filed his reply (D.C. Doc. 13) on December 4, 2023. As of the
date of this filing, the Southern District of Texas has not made a determination of whether it is
going to grant the Debtor leave to file an interlocutory appeal of the Bankruptcy Court’s order
partially granting the Connecticut Plaintiff’s motion for summary judgment.

                          b. Texas

        On March 10, 2023, Plaintiffs Neil Heslin, Scarlett Lewis, Leonard Pozner, and Veronique
De La Rosa (collectively, the “Texas Plaintiffs” and together with the Connecticut Plaintiffs, the
“Sandy Hook Plaintiffs”), filed an adversary action against Debtor seeking a declaratory judgment
that the damages arising out of the Heslin/Lewis Action, and the unliquidated damages arising out
of the Pozner/De La Rosa Action are nondischargeable under 11 U.S.C. § 523(a)(6). (Adv. Proc.
23-3035, Doc. 1). The debt Helsin and Lewis sought to have declared nondischargeable stem from
a state-court judgment entered against Debtor in the amount of approximately $44 million for
statements he made concerning the 2013 Sandy Hook Elementary School shooting. The debt
Pozner and De La Rosa sought to have declared nondischargeable is an unliquidated judgment that
has yet to go to trial for the same statements concerning the 2013 Sandy Hook Elementary School
shooting. The Texas Plaintiffs filed their motion for summary judgment (Adv. Doc. 27-28) on May
12, 2023; the Debtor filed his response (Adv. Doc. 32) on June 13, 2023; and the Texas Plaintiffs
filed their reply (Adv. Doc. 37) on July 14, 2023. On October 19, 2023, the Bankruptcy Court
issued its order (Adv. Doc. 48) on the Texas Plaintiff’s motion for summary judgment.

        The Bankruptcy Court granted summary judgment on the Heslin defamation debt claim,
consisting of $110,000 in compensatory damages and $4.2 million in exemplary damages. The
Bankruptcy Court also partially granted summary judgment on Heslin and Lewis’s IIED claims,
reasoning that the Debtor committed willful and malicious injury to Heslin and Lewis based on
the deemed admissions concerning the IIED claims. However, the Bankruptcy Court determined
that the jury was asked to find damages based on intentional or reckless acts, and thus, a trial must
be conducted to see what damages stem from the admitted allegations constituting willful and
malicious injury. Finally, the Court granted summary judgment concerning Pozner and De La
Rosa, reasoning that the Debtor committed willful and malicious injury to them based on the
deemed admissions concerning the defamation and IIED claims. However, just as it did with the
Heslin/Lewis Action, the Bankruptcy Court determined that a trial must proceed in the Bankruptcy
Court to determine the amount of damages based on the willful and malicious injuries.

         On November 2, 2023, the Debtor filed a motion for leave to appeal the Bankruptcy Court’s
interlocutory order in the United States District Court for the Southern District of Texas. See Helsin
v. Jones, 23-CV-4238. In his motion, the Debtor asked the district court to hear his interlocutory
appeal because it involved a controlling question of law, there were substantial grounds for
difference of opinion, and an immediate appeal would materially advance the ultimate termination
of the litigation. (D.C. Doc. 2). Texas Plaintiffs filed their response (D.C. Doc. 10) on November
16, 2023, and the Debtor filed his reply (D.C. Doc. 13) on December 4, 2023. As of the date of
this filing, the Southern District of Texas has not made a determination of whether it is going to
grant the Debtor leave to file an interlocutory appeal of the Bankruptcy Court’s order partially
granting the Texas Plaintiff’s motion for summary judgment.



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               5. Committee Discovery Efforts

       Since the Petition Date, the Debtor has responded to and complied with the Official
Committee for Unsecured Creditors’ thirty-five (35) 2004 Requests for Examination and five (5)
deposition requests. The Debtor has also produced over 33,000 documents totaling over 148,000
pages.

               6. Filing of Creditors’ Plan

        On December 15, 2023, the Creditors filed Creditors’ Non-Uniform Individual Chapter 11
Plan of Liquidation for Alexander E. Jones.

               7. Filing of the Debtor’s Plan

        On December 15, 2023, the Debtor filed Debtor’s Plan of Reorganization. The Debtor
filed his Amended Plan of Reorganization [Docket No. __] on January 23, 2024.

       F. Summary of Claims Filed or Asserted Against the Debtor

        As of the date of the filing of this Disclosure Statement, the following Claims are asserted
against the Debtor: (a) the Secured Claim of Bank of America in the amount of $26,354.73 plus
accrued and unpaid interest; (b) the Security Bank of Crawford Claim in the amount of $80,161.04
plus accrued and unpaid interest; (c) the American Express Claim in the amount of $150,000; (d)
the IRS Claim in the amount of $586,884.64; (e) a DSO Claim, not from Erika Jones, identified at
item 4.12 of the Schedules and Statements; (f) the Reeves Law, PPLC Claim in the amount of
$24,611.13; (g) the City of Austin Claim in the amount of $86.60; and (h) the judgments of the
Connecticut and TexasSandy Hook Plaintiffs totaling approximately $1.4 billion. The Debtor has
not yet evaluated the Claims and Claim Objections have not yet been filed.

                             V.     SUMMARY OF THE PLAN

       A. General Overview

       The Plan you are being asked to vote on is attached as Exhibit A. You must carefully
review the Plan before voting in favor of or against it.

        The Debtor believes that the Plan provides for fair and equitable treatment to those
creditors. The Plan provides for the treatment of the Claims and provides that the assets of the
Debtor will revest in the Debtor on the Effective Date, free and clear of all Claims except as
provided under the Plan. After the Effective Date, the Debtor may operate his businesses and buy,
use, and otherwise acquire and dispose of its properties free of any restrictions contained in the
Bankruptcy Code, except as otherwise provided in the Plan.




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       B. Summary of the Plan


          The Plan provides for the reorganization of the Debtor and the payment of Allowed               Formatted: Font: +Headings CS (Times New Roman)
  Claims through: (a) the continued orderly liquidation of certain Nonnon-exempt Assetsassets             Formatted: Body Text, Left, Indent: Left: 0.17", Right:
  of the Debtor; (b) the settlement of various estate claims against individuals and (bbusinesses;        0.08", Space Before: 11.8 pt, Don't allow hanging
  and (c) the Debtor’s commitment to contribute substantial funds from his future income. More            punctuation
  specifically, the Debtor will contribute 100% of the Net Disposable Income of Free Speech               Formatted: Font: +Headings CS (Times New Roman)
  System, LLC (“FSS ”) as set forth in the FSS Plan and 50% of the Debtor’s Plan Income over
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
  five (5) yearsto both settling and non-settling parties, until such time as certain minimum
  payments have been contributed for settling parties, and then 25% of the Debtor’s Plan Income           Formatted: Font: +Headings CS (Times New Roman)
  over an additional five (5) years.the remaining Plan Term to non-settling parties. As a result,         Formatted: Font: +Headings CS (Times New Roman)
  all Administrative Claims, Priority Claims, and Secured Claimsallowed administrative claims,            Formatted: Font: +Headings CS (Times New Roman),
  priority claims, and secured claims will be paid in full, and allowed unsecured creditors will          Expanded by 4 pt
  receive a substantial distributionDistribution (and significantly more than they would receive
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
  in a chapter 7 liquidation whether through a liquidating chapter 11 plan or a chapter 7).
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
        The Plan also allows for unsecured creditors to opt in to a “settling class” that pays allowing
for faster payment of their Claimsclaims and repayment from certain non-exempt assets of the              Formatted: Font: +Headings CS (Times New Roman)
Debtor in exchange for settling allsettlement of certain existing litigation claims. TheThis              Formatted: Font: +Headings CS (Times New Roman),
settlement class facilitates the Plan and benefits all stakeholders by resolving pending litigation       Expanded by 4 pt
that would otherwise be both costly and time consuming for the Debtor and the bankruptcy estate.          Formatted: Font: +Headings CS (Times New Roman)
Finally, the Plan incentivizes the Debtor to satisfy his obligations to fund the Plan as soon as          Formatted: Font: +Headings CS (Times New Roman)
possible, so as to accelerate payments to creditors.
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)

       C. Classification and Treatment                                                                    Formatted: Font: +Headings CS (Times New Roman)
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
       All Claims except Administrative Claims are placed in the Classes set forth below.
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)

        The Plan contemplates separate Classes for the Debtor for voting and distribution purposes.       Formatted: Font: +Headings CS (Times New Roman)

To the extent a Class contains one or more subclasses, each subclass is deemed to be a separate           Formatted: Body Text, Left, Space Before: 0.5 pt, Don't
Class for all purposes under the Bankruptcy Code and the Plan.                                            allow hanging punctuation
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
        Except for the unclassified Claims discussed in Article II above, Section 3.02 of the Plan        Formatted: Font: +Headings CS (Times New Roman)
sets forth a designation of Claims in accordance with Bankruptcy Code section 1122(a). A Claim
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
is classified in a particular Class only to the extent any portion of the Claim qualifies within the
description of the Class and is classified in a different Class to the extent any portion of the Claim    Formatted: Font: +Headings CS (Times New Roman)
qualifies within the description of that different Class. If a Claim is acquired or transferred, the      Formatted: Font: +Headings CS (Times New Roman)
Claim shall be placed in the Class in which it would have been placed if it were owned by the             Formatted: Font: +Headings CS (Times New Roman)
original Holder of such Claim. A Claim is also placed in a particular Class for the purpose of
                                                                                                          Formatted: Font: +Headings CS (Times New Roman),
receiving Distributions only to the extent that such Claim is an Allowed Claim in that Class and
                                                                                                          Expanded by 2 pt
such Claim has not been paid, satisfied, or released before the Effective Date.
                                                                                                          Formatted: Font: +Headings CS (Times New Roman)
       THIS IS ONLY A SUMMARY OF CERTAIN PROVISIONS OF THE PLAN.                                          Formatted: Font: +Headings CS (Times New Roman)
       THE PLAN INCLUDES OTHER PROVISIONS THAT MAY AFFECT YOUR

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        RIGHTS. YOU ARE URGED TO READ THE PLAN IN ITS ENTIRETY
        BEFORE VOTING ON THE PLAN.

                 1. Unclassified Claims

        In accordance with section 1123(a)(1) of the Bankruptcy Code, unclassified Claims against
the Debtor consists of Administrative Claims and Domestic Support Obligations . However, for
ease of reading, the Plan includes Priority Tax Claims under the Classified Claims section. Based
on his books and records and projections for future expenses, the Debtor presently estimates the
amounts of such Claims as follows:3

                 Administrative Expense Claims                TBP$5.3M

                 Domestic Support Obligations                 TBP 4

                              a. Administrative Claims

        Time for Filing Administrative Claims. The Holder of any Administrative Claim that is
incurred, accrued, or in existence prior to the Effective Date, other than (i) a Fee Claim, (ii) an
Allowed Administrative Claim, or (iii) a liability incurred in the Ordinary Course of Business must
file with the Bankruptcy Court and serve on all parties required to receive such notice a request
for the allowance of such Administrative Claim on or before thirty (30) days after the Effective
Date. Such request must include at a minimum (i) the name of the Holder of the Claim, (ii) the
amount of the Claim, and (iii) the basis of the Claim. Failure to timely and properly file and serve
the request required under the Section shall result in the Administrative Claim being forever barred
and discharged. Objections to such requests must be filed and served pursuant to the Bankruptcy
Rules on the requesting party and the Debtor within thirty (30) days after the filing of the applicable
request for payment of an Administrative Claim.

        Time for Filing Fee Claims. Any Person who holds or asserts an Administrative Claim that
is a Fee Claim shall be required to file with the Bankruptcy Court and serve on all parties required
to receive such notice a Fee Application within sixty (60) days after the Effective Date. Failure to
timely and properly file and serve a Fee Application as required under this Section shall result in
the Fee Claim being forever barred and discharged. No Fee Claim will be deemed Allowed until
an order allowing the Fee Claim becomes a Final Order. Objections to Fee Applications must be
filed and served pursuant to the Bankruptcy Rules on the Debtor and the Person to whose
application the objections are directed or made within thirty (30) days after the filing of the Fee
Application subject to objection. No hearing may be held on a specific Fee Application until the
foregoing objection period with respect to that Fee Application has expired.




3
  The estimates for Administrative Expenses include the estimated fees of the Debtor’s professiona ls through          Formatted: Justified
confirmation for the Debtor. To the extent confirmation is delayed beyond the time frame anticipated, Administrative
Expenses will increase.
4
  As of the Petition Date, the Debtor owed no Domestic Support Obligations (“DSOs”). Future DSOs will be paid
through automatic payroll deductions.

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         Allowance for Administrative Claims. An Administrative Claim with respect to which
request for payment is required and has been properly filed pursuant to Section 2.01 of the Plan
shall become an Allowed Administrative Claim if no timely objection is filed. If a timely objection
is filed, the Administrative Claim shall become an Allowed Administrative Claim only to the
extent Allowed by a Final Order. An Administrative Claim that is a Fee Claim, and with respect
to which a Fee Application has been properly filed and served pursuant to Section 2.01 of the Plan,
shall become an Allowed Administrative Claim only to the extent Allowed by a Final Order.

        Payment of Allowed Administrative Claims. Except to the extent that a Holder of an
Allowed Administrative Claim has been paid prior to the Effective Date with respect to
Administrative Claims against the Debtor, or agrees to a different treatment, each Holder of an
Allowed Administrative Claim (other than Allowed Administrative Claims incurred in the
Ordinary Course of Business, which are paid pursuant to Section 2.01), shall receive, in full
satisfaction, release and discharge of and exchange for such Administrative Claim, and after the
application of any retainer or deposit held by such Holder, Cash equal to the Allowed amount of
such Administrative Claim within ten (10) Business Days after the Allowance Date with respect
to such Allowed Administrative Claim.

        Administrative Claims Incurred in the Ordinary Course of Business. Holders of
Administrative Claims based on liabilities incurred in the Ordinary Course of Business of the
Debtor during the Bankruptcy Case (other than Claims of governmental units for taxes or Claims
and/or penalties related to such taxes, or alleged Administrative Claims arising in contract or tort)
shall not be required to file any request for payment of such Claims. Each Administrative Claim
incurred in the Ordinary Course of Business of the Debtor paid pursuant to the terms and conditions
of the transaction giving rise to such Administrative Claim. The Debtor reserves and shall have
the right to object before the Objection Deadline to any Administrative Claim arising, or asserted
as arising, in the Ordinary Course of Business, and shall withhold payment of such claim until
such time as any objection is resolved pursuant to a settlement or a Final Order.

                          b. Domestic Support Obligations

        On the Effective Date, the Debtor shall make any payments which may be required to
comply with any unfunded obligations on account of any Domestic Support Obligations arising
under section 1129(a)(14) of the Bankruptcy Code. The Debtor is not aware of any unpaid DSOs
as of the date of the filing of this Disclosure Statement, but future DSOs will be funded in the
ordinary course through payroll deductions.

                          c. U.S. Trustee Fees

        The Debtor shall timely pay to the United States Trustee all quarterly fees incurred by the
Debtor pursuant to 28 U.S.C. § 1930(a)(6) until the Bankruptcy Court of the Debtor is closed or
dismissed. The Debtor shall serve on the United States Trustee a quarterly financial report for each
quarter (or portion thereof) after the Effective Date that the Debtor’s Bankruptcy Case remains
open.

               2. Classified Claims


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           UNLESS OTHERWISE NOTED, THE DEBTOR’S ESTIMATES OF THE
           NUMBER AND AMOUNT OF CLAIMS IN EACH CLASS SET FORTH IN THE
           TABLE BELOW INCLUDE ALL CLAIMS ASSERTED AGAINST THE
           DEBTOR WITHOUT REGARD TO THE VALIDITY OR TIMELINESS OF THE
           FILING OF THE CLAIMS. THUS, BY INCLUDING ANY CLAIM IN THE
           ESTIMATES SET FORTH BELOW, THE DEBTOR IS NOT WAIVING ITS
           RIGHTS TO OBJECT TO ANY CLAIM ON OR BEFORE THE CLAIM
           OBJECTION DEADLINE ESTABLISHED BY THE PLAN.

          The following tables summarize the classification and treatment of the Claims against the
   Debtor, an estimate of the numbers and amounts of Claims in each class (such amounts are derived
   from the Debtor’s Schedules or, Proofs of Claims filed by Creditors, whichever amounts are
   higheror other findings of the Court), and the impaired or unimpaired nature of each class:5

Class                                  Treatment
Class 1: Non-Tax Priority              Unimpaired.
Claims
                                       The Holders of such Unimpaired Claims are conclusively presumed to have
                                       accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                       entitled to vote on the Plan.

                                       On or as soon as practicable after the later of (a) the Initial Distribution Date
                                       or (b) the Allowance Date with respect to a Non-Tax Priority claim shall
                                       receive from the Debtor, in full satisfaction, settlement, release, and
                                       discharge of and in exchange for such Allowed Non-Tax Priority Claims, (y)
                                       Cash in amount equal to the Allowed amount of its Non-Tax Priority Claim,
                                       or (z) such other, less favorable treatment to which such Holder and the
                                       Debtor agrees in writing. To the extent an Allowed Non-Tax Priority Claim
                                       entitled to priority treatment under 11 U.S.C.§§ 507(a)(4) or (5) exceeds the
                                       statutory cap applicable to such Claim, such excess amount shall be treated
                                       as a Class 6 General Unsecured Claim against the Debtor.

                                       Estimated Recovery: 100% of Allowed Claim
Class 2: Priority and Secured          Unimpaired.
Tax Claims
                                       The Holders of such Unimpaired Claims are conclusively presumed to have
                                       accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                       entitled to vote on the Plan.

                                       With respect to any Allowed Priority Tax Claim, to the extent not already
                                       paid or otherwise satisfied, on or as soon as practicable after the later of (a)
                                       the Initial Distribution Date or (b) the Allowance Date, with respect to a
                                       Priority Tax Claim, each Holder of an Allowed Priority Tax Claim shall
                                       receive from the Debtor in full satisfaction, settlement, release, and discharge
                                       of and in exchange for such Allowed Priority Tax Claim, (x) Cash equal to
                                       the Allowed Amount of its Allowed Priority Tax Claim, plus interest thereon


   5
    Estimated recovery for Classes 5 and 6 cannot be ascertained until the Debtor is able to determine which Claimants
   opt-in to Class 5. However, for Classes 5 and 6 combined, it is an estimated approximately 3% recovery.

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                                 at the rate provided under applicable non-bankruptcy law pursuant to section
                                 511 of the Bankruptcy Code from the Petition Date through the date such
                                 Claim is paid in full, or (z) such other, less favorable treatment as may be
                                 agreed upon in writing by such Holder and the Debtor.

                                 Notwithstanding any other provision of the Plan, each Holder of an Allowed
                                 Secured Tax Claim shall retain its Lien on any Collateral that secures its
                                 Claim or the proceeds of such Collateral (to the extent such Collateral is sold
                                 by the Debtor, free and clear of such Lien) to the same extent and with the
                                 same validity and priority as such Lien held as of the Petition Date until (a)
                                 the Holder of such Allowed Priority Tax Claim (i) has been paid Cash equal
                                 to value of its Allowed Priority Tax claim and/or (ii) has received a return of
                                 the Collateral securing its Allowed Secured Tax Claim, or (iii) has been
                                 afforded such other treatment as to which such Holder and the Debtor have
                                 agreed upon in writing, or (b) such purported Lien has been determined by a
                                 Final Order to be invalid or avoidable. To the extent that a
                                 Priority Claim exceeds the value of the interest of the Estate in the property
                                 that secured such Claim, such Claim shall be deemed Disallowed pursuant to
                                 Bankruptcy Code 502(b)(3).

                                 If the Debtor fails to timely make any payments to a Holder of an Allowed
                                 Secured Tax Claim as required under Section 5.02 of the Plan, the affected
                                 Holder of an Allowed Secured Tax Claim may send written notice of default
                                 to the Debtor. If the default is not cured within twenty-one (21) days after
                                 notice of default is mailed, such Holder may proceed with any remedies for
                                 collection of amounts due under applicable non-bankruptcy law without
                                 further order of the Bankruptcy Court.


                                 Estimated Recovery: 100% of Allowed Claim
Class 3: Secured Claim of Bank   Unimpaired.
of America
                                 The Holders of such Unimpaired Claims are conclusively presumed to have
                                 accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                                 entitled to vote on the Plan.

                                 Allowance. The Allowed amount of the Class 3 Secured Claim shall be equal
                                 to the aggregate of (1) $26,354.73, plus (2) accrued and unpaid interest at the
                                 Contract Rate from the Petition Date until the Rental Property is sold and
                                 such claim is paid in full, less any payment made on account of such Claim
                                 from and after the Petition Date that are required to be applied as payments
                                 of principal pursuant to an Order of the Bankruptcy Court.

                                 Treatment. Except to the extent that the Holder of the Allowed Class 3
                                 Secured Claim agrees to less favorable treatment of such Allowed Class 3
                                 Secured Claim, the Holder of the Allowed Class 3 Secured Claim shall
                                 receive from the Debtor, in full satisfaction, settlement, release, and
                                 discharge of and in exchange for such Allowed Class 3 Secured Claim, Cash
                                 in an amount equal to such Allowed Class 3 Secured Claim on the later of (i)
                                 the Effective Date, or (ii) the date the Rental Property is sold and the Debtor
                                 has received the Net Proceeds of such sale in immediately available funds.

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                               As of the Effective Date, the Debtor’s obligations under the loan documents
                               giving rise to the Allowed Class 3 Secured Claim, shall be reinstated and
                               Bank of America shall retain its lien rights pending sale of the Rental
                               Property and payment of the Class 3 Claim in full.

                               Estimated Recovery: 100% of Allowed Claim
Class 4: Secured Claim of      Unimpaired.
Security of Bank of Crawford
                               The Holders of such Unimpaired Claims are conclusively presumed to have
                               accepted the Plan under Bankruptcy Code section 1126(f) and are thus not
                               entitled to vote on the Plan.

                               Allowance. The Allowed amount of the Secured Claim of Security Bank
                               shall be equal to the aggregation of (1) $ 80,161.04, plus (2) accrued and
                               unpaid interests at the Contract Rate from the Petition Date until the Effective
                               Date, less any payments made on account of such Claim from and after the
                               Petition Date and applied to the principal amount of such Claim as required
                               by the Bankruptcy Code.

                               Treatment. From and after the Effective Date, the Debtor shall reinstate his
                               existing guarantor obligations under the applicable loan documents with
                               respect to the Class 4 Claim of Security Bank of Crawford, secured by the
                               existing collateral, until such time as the loan obligations are paid in full.

                               Estimated Recovery: 100% of Allowed Claim
Class 5: Unsecured “Opt-In     Impaired.
Settlement” Class
                               Allowance. On the Effective Date, the Opt-In Settlement Unsecured Claims           Formatted: Font: +Headings CS (Times New Roman)
                               shall consist of the Claims of the Electing Plaintiffs. Such Claims shall be
                                                                                                                  Formatted: Font: +Headings CS (Times New Roman),
                               paid
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                               Each Electing Plaintiff shall receive Cash in the amount of:                       Formatted: Font: +Headings CS (Times New Roman)
                               i)     such Electing Plaintiff’s Electing Plaintiff Pro Rata Share of 70%
                                      of the Net Proceeds from the sale or other monetization of Non-
                                      Exempt Assets, as soon as reasonably practicable following the
                                      receipt of such Net Proceeds; and

                               ii)     from the Effective Date until the year in which the Payment Trigger
                                       occurs, the greater of such Electing Plaintiff’s (x) their percentage      Formatted: Font: +Headings CS (Times New Roman)
                                       share of the Minimum Annual PaymentDistribution or (y) Plaintiff
                                                                                                                  Formatted: Font: +Headings CS (Times New Roman)
                                       Pro Rata Share of the Income Stream Payment on an annual basis
                                       over a five (5) year term, with a payment of 25% of the Debtor’s           Formatted: Font: +Headings CS (Times New Roman)
                                       net Disposable Income over an additional five (5) years. Class 5           Formatted: Font: +Headings CS (Times New Roman)
                                       shall also receive 70% of the net proceeds from the sale of Non-
                                                                                                                  Formatted: Font: +Headings CS (Times New Roman)
                                       exempt Assets. . The Electing Plaintiffs shall cease receiving
                                       Distributions under this Plan beginning the year following the
                                       occurrence of the Payment Trigger; provided; that Electing
                                       Plaintiffs may continue to receive payments under the FSS Plan and
                                       FSS Trust to the extent applicable. Payments under this paragraph
                                       shall be made on or before the first Business Day in May of each
                                       year following the Effective Date.

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                              The Net Proceeds from the liquidation of the Non-Exempt Assets
                      including Cash paid to the Debtor on the Initial Distribution shall reduce the
                      Minimum Annual Distribution for the first Plan Year.

                      Each Electing Plaintiff shall have an Allowed Claim in the amount set forth      Formatted: Font: +Headings CS (Times New Roman)
                      next to such person’s name on Plan Exhibit ___, hereto (which shall be
                                                                                                       Formatted: Left, No widow/orphan control, Don't
                      filed under seal).A. No further litigation with respect to conduct occurring
                                                                                                       adjust space between Latin and Asian text, Don't adjust
                      on or prior to the Confirmation Date shall be pursued on behalf of Electing      space between Asian text and numbers
                      Plaintiffs against the Debtor or any related party. The Debtor may fully
                      satisfy his obligations to the Holders of Allowed Class 5 Claims under the       Formatted: Font: +Headings CS (Times New Roman)
                      Plan at any time during the ten-year period following the Effective Date by      Formatted: Font: +Headings CS (Times New Roman),
                      paying the net present value of the remaining Minimum Annual Payment             Underline
                      due to such Holders. The Disbursement Agent shall have reasonable audit          Formatted: Font: +Headings CS (Times New Roman)
                      and information rights with respect to the Debtor’s income information at
                      the expense of the Electing Plaintiffs. In addition, in the event the Debtor’s   Formatted: Book Title, Font: +Headings CS (Times New
                      payments exceed the Minimum Annual Payment for any year, such                    Roman), 12 pt
                      “overage” amount shall be carried forward for a maximum of two years             Formatted: Font: +Headings CS (Times New Roman)
                      thereafter to count towards the Minimum Annual Payment in those two
                      years.Related Party.                                                             Formatted: Font: +Headings CS (Times New Roman)
                                                                                                       Formatted: Body Text, Left, Space Before: 0.5 pt, Don't
                                                                                                       allow hanging punctuation
                      Treatment. The Opt-In Settlement Unsecured Claims treatment shall be in
                      full satisfaction, settlement, release, and discharge of and in exchange for     Formatted: Font: +Headings CS (Times New Roman),
                      such Allowed Claim. Such Claims shall be discharged after payment of ten         Expanded by 2 pt
                      (10) year term period unless such Claims payments are satisfied earlier.         Formatted: Font: +Headings CS (Times New Roman)
                      Should such Claims be satisfied sooner under the terms of the Plan, a
                                                                                                       Formatted: Right: 0.08", No widow/orphan control,
                      discharge shall be granted at that time.made as set forth herein. Also, for
                                                                                                       Don't allow hanging punctuation, Don't adjust space
                      each year the Plan is not in which no uncured Plan Default occurs, 10% of        between Latin and Asian text, Don't adjust space
                      each Opt-In Settlement Unsecured Claim shall be waived and forever               between Asian text and numbers, Tab stops: 1.17", Left
                      discharged. However, whatever Opt-In Settlement Unsecured Claims that
                      are not paid under the Plan or waived and discharged pursuant to the             Formatted: Font: +Headings CS (Times New Roman)
                      preceding sentence, shall be deemed to be non-dischargeable without              Formatted: Font: +Headings CS (Times New Roman)
                      further court process in the event of a final, uncured Plan Default. The
                                                                                                       Formatted: Font: +Headings CS (Times New Roman)
                      Debtor, the Disbursement Agent and the Electing Plaintiffs will work
                      cooperatively to determine the most tax efficient method of distribution,        Formatted: Font: +Headings CS (Times New Roman)
                      which may include the Debtor directing FSS to make Income Stream                 Formatted: Font: +Headings CS (Times New Roman)
                      Payments from FSS or from the FSS Trust to the extent practicable.
                                                                                                       Formatted: Font: +Headings CS (Times New Roman)
                      Estimated Recovery: [___%] of Allowed ClaimSettlement Injunction. As             Formatted: List Paragraph, Left
                      consideration for the concessions made by the Electing Plaintiffs herein, the
                      Debtor agrees that, without first obtaining the permission of all Electing
                      Plaintiffs, the Debtor may not in any way publicly discuss the 2012 mass
                      shooting at Sandy Hook Elementary School, the Electing Plaintiffs, the
                      Electing Plaintiffs’ family members (including victims of the Sandy Hook
                      shooting) or any Claims or litigation arising from or relating to Debtor’s
                      past statements about the Sandy Hook mass shooting—other than to state
                      that he has no comment about such events or individuals. The Debtor will
                      take all reasonable steps to ensure that FSS does not make a public statement
                      that the Debtor would be prohibited from making under this paragraph.
                      Failure by Debtor to comply with this provision constitutes a Plan Default

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                             enforceable by the Electing Plaintiffs.

                             So long as no Plan Default has occurred and is continuing, the Electing
                             Plaintiffs agree that they will not seek to have Debtor or FSS removed from
                             any forums or platforms (electronic or physical), unless such forums or
                             platforms are owned or controlled by Electing Plaintiffs. So long as no Plan
                             Default has occurred and is continuing, the Electing Plaintiffs agree that
                             they will not seek to have any statements by Debtor or FSS removed from
                             any forums or platforms (electronic or physical), unless such forums or
                             platforms are owned or controlled by Electing Plaintiffs. Notwithstanding
                             anything else to the foregoing, Electing Plaintiffs shall not disparage the
                             Debtor or FSS and will make no public comment on the legal claims giving
                             rise to the Electing Plaintiffs’ Allowed Claims, or the treatment thereof
                             under the Plan. If Electing Plaintiffs do not comply with the terms set out
                             in this paragraph, Debtor may seek relief from the Bankruptcy Court,
                             including injunctive relief.


Class 6: General Unsecured   Impaired.
Claims
                             Upon allowance of such ClaimsFollowing the Allowance Date of each                Formatted: Body Text, Left, Right: 0.08", Don't allow
                             General Unsecured Claim, after the resolution of any existing appeals or         hanging punctuation
                             litigation of such Claims, and except to the extent that a Holder of an
                                                                                                              Formatted: Font: +Headings CS (Times New Roman)
                             Allowed General Unsecured Claim agrees, under the terms of a writing
                             executed by such Holder, to less favorable treatment of such Allowed
                             General Unsecured Claim, each Holder of an Allowed General Unsecured
                             Claim shall receive from the Debtor, in exchange for such Allowed General
                             Unsecured Claim, such Holder’s GUC Pro Rata Share of (x) prior to the            Formatted: Font: +Headings CS (Times New Roman)
                             remaining percentage shareoccurrence of the Plan Trigger, the amount of
                                                                                                              Formatted: Font: +Headings CS (Times New Roman)
                             the Income Stream Payment remaining after Electing Plaintiffs are paid, for
                             a period of five (5) years, with a payment of the remaining pro-rata share       Formatted: Font: +Headings CS (Times New Roman)
                             pursuant to the terms of 25% of the Debtor’s Plan Section 5.05 of the Plan,      Formatted: Font: +Headings CS (Times New Roman)
                             and (y) beginning the year following the occurrence of the Payment Trigger,
                             all of the Income over an additional five (5) years.Stream Payment. Non-         Formatted: Font: +Headings CS (Times New Roman)
                             Electing Plaintiffs will be enjoined against collecting against the Debtor
                                                                                                              Formatted: Font: +Headings CS (Times New Roman)
                             during the term of the Plan Term; however, such Non-Electing Plaintiffs
                             may, to the extent such Holder has a non-dischargeable claim, collect            Formatted: Font: +Headings CS (Times New Roman)
                             against the Debtor’s non-exempt assets, unless such Claim is otherwise           Formatted: Font: +Headings CS (Times New Roman)
                             stayed, atfollowing the end of the ten (10) year period. However, anyPlan
                                                                                                              Formatted: Font: +Headings CS (Times New Roman)
                             Term. Any Claims of Non-Electing Plaintiffs shall be reduced by any
                             payments received by such claimants under the Plan.                              Formatted: Font: +Headings CS (Times New Roman)
                                                                                                              Formatted: Font: +Headings CS (Times New Roman)
                             The initial Distribution to Holders of Allowed General Unsecured Claims
                             shall be made by the Debtor within thirty (30) days of the Effective Date from
                             cash available after payment of the Allowed Administrative Claims
                             (other than Administrative Claims in the Ordinary Course of Business),
                             Allowed Non-Tax Priority Claims, Allowed Priority and Secured Tax
                             Claims, Opt-In Settlement Unsecured Claims, and Administrative
                             Convenience Claims, including, without limitation, as may be permitted
                             under Article 10 hereof.


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                                    Estimated Recovery: [___%] of Allowed ClaimAfter the Initial Distribution,
                                    annual payments shall be made on or before the first Business Day in the fifth
                                    month of the Plan Year.



Class 7: Administrative             Impaired.
Convenience Claims
                                    Each Holder of an Allowed Unsecured Claim in the amount of $5,000 or less,
                                    or such Holders as agree to reduce their Claim to $5,000, shall receive from
                                    the Debtor, in full satisfaction, settlement, release, and discharge of and in
                                    exchange for such Allowed Claim, a Cash payment ofas soon as reasonably
                                    practicable following the Effective Date in the full amount of such Allowed
                                    Claim. Insiders with Allowed Claims may opt to settle their Claims to be paid
                                    as an Administrative Convenience Claims Holder, but such Claim will be
                                    limited to $5,000, and be deemed fully satisfied upon payment of that
                                    amount.

                                    Estimated Recovery: 100% of Allowed Claim as agreed to by Holder

           D. Means of Implementation of the Plan

                   1. Settlements

                   1. Opt-In Settlement                                                                              Formatted: Underline

             (a)     Unsecured Claims: Pursuant to Bankruptcy Rule 9019 and section                                  Formatted: Body Text, Left, Right: 0.08", Don't add
                     1123(b)(3)(A) of the Bankruptcy Code, in consideration for the classification,                  space between paragraphs of the same style, Outline
                     distributionDistribution, and other benefits provided under the Plan, upon the                  numbered + Level: 3 + Numbering Style: a, b, c, … +
                                                                                                                     Start at: 1 + Alignment: Left + Aligned at: 0.67" +
                     Effective Date, the provisions of the Plan shall constitute a good-faith
                                                                                                                     Indent at: 1.17", No widow/orphan control, Don't allow
                     compromise and settlement of the Opt-In Settlement Unsecured Claims, which                      hanging punctuation, Don't adjust space between Latin
                     shall be binding upon Persons receiving Distributions under the Plan, the                       and Asian text, Don't adjust space between Asian text
                     Debtor, and any other party treated under the Plan.                                             and numbers
                                                                                                                     Formatted: Body Text, Right: 0.08", Don't add space
                     As of the Effective Date, all litigation in any jurisdiction, including                         between paragraphs of the same style, Don't allow
                     dischargeability litigation and any appeals thereof, amongst Holders of Opt-In                  hanging punctuation
                     Settlement Unsecured Claims including, without limitation, all litigation listed                Formatted: Body Text, Left, Indent: Left: 1.17", First
                     on Exhibit __,B, shall each be terminated with prejudice and without further                    line: 0", Right: 0.08", Don't add space between
                     costs to any party, and all necessary parties shall execute and deliver any related             paragraphs of the same style, Don't allow hanging
                     satisfactions of judgment or other documentation necessary to terminate such                    punctuation
                     litigation and release any related judgment liens arising in or on account of such
                     matters. The Debtor and the Holders of Opt-In Settlement Unsecured Claims                       Formatted: Expanded by 2 pt
                     agree that the resolution of such litigation takes into account a good faith
                     evaluation by all parties of the costs and merits of such litigation, and that the
                     dismissal of such ongoing litigation (including without limitation any pending
                     appeals) as set forth herein is a good faith reasonable resolution of such
                     litigation, in exchange for the consideration provided.                                         Formatted: Expanded by 2 pt



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         Furthermore, the Debtor and the Holders of Opt-In Settlement Unsecured Claims mutually
agree not to disparage one another by publishing to any third party, whether verbally or in writing,
derogatory statements that could be construed as damaging or injurious to the other party’s
business, reputation, or property, and/or that are false. If any Holder of an Opt-In Settlement
Unsecured Claim breaches this term and causing financial injury to the Debtor, such party shall
forfeit all rights to receive the Minimum Annual Payment. If the Debtor breaches this provision,
and causes financial injury to any such Holder, such breach would be deemed a Plan default for
which remedies may be had pursuant to Section 13.03 of the Plan. The Court retains post-
confirmation jurisdiction to determine any such disputes.



          (b)    Claims Against Related Parties: Pursuant to Bankruptcy Rule 9019 and
                 section 1123(b)(3)(A) of the Bankruptcy Code, in consideration for the benefits
                 provided under the Plan, upon the Effective Date, the provisions of the Plan
                 shall constitute a good-faith compromise and settlement of the estate’s Claims
                 against Related Parties, which shall be binding upon Persons receiving
                 Distributions under the Plan, the Debtor, and any other party treated under the
                 Plan. Evidence in support of such settlements, including valuation, will be
                 presented at the Confirmation Hearing. The Debtor will file with the Court the
                 terms of any settlement proposed to be approved at the Confirmation Hearing a
                 reasonable period of time in advance thereof as determined between the Debtor
                 and counsel for the Plaintiffs and UCC. The proposed settlement and resolution
                 of such Claims against Related Parties considers a good faith evaluation by all
                 parties of the costs and merits of such litigation, as well as the collectability of
                 any potential judgments in favor of the estate. Specific Related Parties are set
                 forth on Schedule B to the Plan.

                 The Unsecured Creditors Committee (“UCC”) asserts that the Debtor should
                 incur costs and file lawsuits against his wife to attempt to recover funds paid to
                 her or personal property bought for her pursuant to their premarital agreement,
                 regardless of the estate’s ability to collect upon any such claims. Proposed
                 Specific Disclosure Statement [Docket No. 539], p. 14-15. The UCC further
                 argues that the Debtor should incur costs and file lawsuits against his father for
                 the return of gifts made outside of the fraudulent transfer period, as well as the
                 return of repayments for expenses Dr. Jones paid on the Debtor’s behalf. Id. at
                 p. 15-16. The UCC further argues that the Debtor should incur costs and file a
                 lawsuit to sue his son, Rex Jones, for the return of a used vehicle. Id. at p. 16.
                 The UCC further asserts that the Debtor should pursue causes of action for the
                 return of low or no value gifts to Johnathan Owen Shroyer and Patrick Riley,
                 including a 5 year old used vehicle, a used watch, and 20 year old, scrapped out
                 boat. Finally, the UCC claims that assets of the Alexander E. Jones Descendent
                 and Beneficiary Trust should be made available to the Debtor’s creditors, and
                 that certain inter-trust transfers should be avoided. Id. at 17.




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        Entry of the Confirmation Order shall constitute a determination by the Bankruptcy Court     Formatted: Condensed by 0.1 pt
  pursuant to Bankruptcy Rule 9019 that the terms and conditions of the foregoing                    Formatted: Condensed by 0.1 pt
  settlementsettlements and the termination of all litigation (including, without limitation, any
                                                                                                     Formatted: Condensed by 0.1 pt
  appeals) required thereunder is reasonable, and in the best interests of the Debtor, his Estate,
  and all Creditors of the Debtor and other parties in interest.                                     Formatted: Condensed by 0.1 pt
                                                                                                     Formatted: Condensed by 0.1 pt
                                                                                                     Formatted: Body Text, Left, Indent: Left: 0.17", First
                2. Sources of Cash and Terms of Payment for Plan Distributions                       line: 0.33", Right: 0.08", Don't add space between
                                                                                                     paragraphs of the same style, Don't allow hanging
       The sources of Cash necessary for the Debtor to pay Allowed Claims that are to be paid in     punctuation
Cash by the Debtor under the Plan will be: (a) the Cash of the Debtor on hand as of the Effective    Formatted: Condensed by 0.1 pt
Date, minus a reserve oftotaling $250,000 for three (3) months of reasonable living expenses as
                                                                                                     Formatted: Condensed by 0.1 pt
well as certain post-confirmation legal expenses; and (b) Net Proceeds from the sale of the
Debtor’s Non-exempt Assets; and (c) Cash generated or received by the Debtor after the Effective     Formatted: Condensed by 0.1 pt
Date from any other source, including but not limited to Cash flow to the Debtor from AEJ Trust
and refunded trust expenses.
       For meeting the minimum payment to “Opt-In Settlement Claims” of Electing Plaintiffs
under Class 5, funds
       Funds from plan payments ofunder the FSS may be included for calculating the minimum          Formatted: Font: +Headings CS (Times New Roman),
butPlan made by the FSS Trust shall be used solely with respect to the calculation of the Minimum    Condensed by 0.1 pt
Plan Distribution and are not being relied upon for purposes of confirming thethis Plan.             Formatted: Font: +Headings CS (Times New Roman),
                                                                                                     Condensed by 0.1 pt
        On the Effective Date, all Avoidance Actions not resolved will vest in the Disbursement      Formatted: Font: +Headings CS (Times New Roman),
Agent or, at the option of the Debtor, the FSS Trust, and the Debtorthey will have the exclusive     Condensed by 0.1 pt
right to prosecute, settle, or compromise all Avoidance Actions, in return for which the Debtor or   Formatted: Font: +Headings CS (Times New Roman),
potential defendant shall make a Cash payment, which will be included within and comprise a          Condensed by 0.1 pt
portion. Any such net payments resolving any Avoidance Actions shall constitute Net Proceeds of
                                                                                                     Formatted: Font: +Headings CS (Times New Roman),
the Cash generated or received by the Debtor after Non-Exempt Assets for purposes of the             Condensed by 0.1 pt
Effective Date.Plan. Financial Projections in support of the Debtor’s proposed Amended Plan are
attached hereto as Exhibit E.

                3. Payments

          (a)    The DebtorDisbursement Agent shall remit payment of the following Allowed
  Claims in accordance with the limitations on the amount of such payments as set forth in the
  Plan, and the other terms and conditions of the Plan, as set forth below:

                 (i)     Administrative Claims, other than Administrative Claims
          Incurred in the Ordinary Course of Business as set forth in Section 2.01(e).

                  (ii)    Non-Tax Priority Claims as set forth in Section 5.01.

                  (iii)   Administrative Convenience Claims as set forth in Section 5.07.
                                                                                                     Formatted: Left, Right: 0", Widow/Orphan control,
                  (iv)    General Unsecured Claims as set forth in Section 5.06.                     Allow hanging punctuation, Adjust space between Latin
                                                                                                     and Asian text, Adjust space between Asian text and
          (b)     The Debtor shall remit payment of the following Allowed Claims in accordance       numbers, Tab stops: Not at 1.67"

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  with the limitations on the amount of such payments as set forth in the Plan:

                 (i)(v) Administrative Claims Incurred in the Ordinary Course of
          Business as set forth in Section 2.01(e).

                  (ii)(vi) Priority Tax Claims as set forth in Section 2.02.

                  (iii)(vii)    Domestic Support Obligations as set forth in Section 2.03.

                  (iv)(viii)    U.S. Trustee fees as set forth in Section 2.04.

                  (v)(ix) Secured Tax Claims as set forth in Section 5.02.

                  (vi)(x) Secured Claim of Bank of America as set forth in Section 5.03.

                  (xi)     Secured Claim of Security Bank of Crawford as set forth in Section 5.04.

                  (vii)(xii)    Unsecured Claims of Opt-In Settlement Claimants as set forth in
                           Section 5.05.

               4. Claim Objections/Resolution

       Any party in interest, including the Debtor, may file objections to Claims (other than
Claims that have been previously Allowed or that are Allowed under the Plan). The Debtor (or his
designees, successors, and assigns) are not obligated to object to any Claim but will nevertheless
have standing to object to any such Claim from and after the Effective Date, if they so elect.

         Except as set forth in Sections 2.01(a) and 2.01(b) the Plan with respect to Administrative
Claims and Fee Claims, any objections to Claims must be filed no later than ninety (90) days after
the Effective Date, unless such deadline is extended by the Bankruptcy Court. An objection to a
Claim will be deemed properly served on the Holder thereof if service is effected by any of the
following methods: (a) in accordance with Federal Rule of Civil Procedure 4, as modified and
made applicable by Bankruptcy Rule 7004; (b) to the extent counsel for a Holder is unknown, by
first class mail, postage prepaid, on the signatory on the proof of Claim or other representative
identified on the proof of Claim or any attachment thereto; (c) by first class mail, postage prepaid,
on any counsel that has appeared on the behalf of the Holder in the Bankruptcy Case; or (d) if no
proof of Claim that has been filed, by first class mail, postage prepaid, on the Holder of such Claim
at the address set forth in the Schedules.

               5. Assertion of Estate Actions, Defenses, and Counterclaims

        Except as set forth in the Plan or the Confirmation Order, effective as of the Effective Date,
with respect to the Debtor, without further action by any party, all Causes of Action, and all
defenses, counterclaims, setoffs, and rights related thereto, shall be and shall be deemed to be
vested in the Debtor. From and after the Effective Date, the Debtor shall have the exclusive right
to prosecute, settle, or compromise any Cause of Action vested in or transferred to the Debtor

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under the Plan. Except to the extent otherwise set forth in the Plan, the Debtor shall retain and may
prosecute and enforce all other defenses, counterclaims, and rights that it has asserted or could
assert against or with respect to all Claims asserted against the Debtor or property of his Estate.
No claim, right, Cause of Action, or other asset shall be deemed waived or otherwise forfeited by
virtue of the Debtor’s failure to identify such property in the Schedules or the Disclosure Statement
unless otherwise ordered by the Bankruptcy Court. Causes of Action expressly include, but are not
limited to, all claims included on Exhibit __.C.                                                          Formatted: Font: Not Bold

        Except as provided in the Plan, nothing contained in the Plan or Confirmation Order shall
be deemed to be a waiver of the relinquishment of any rights or Causes of Action that the Debtor
may have or which the Debtor may choose to assert on behalf of the Debtor’s Estate under any
provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without
limitation, (i) any and all Claims against any person or entity, to the extent such person or entity
asserts a crossclaim, counterclaims, and/or Claim for setoff, which seeks affirmative relief against
the Debtor, and (ii) the turnover of any property of the Debtor’s Estate.

        Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
or relinquishment of any Claim, Cause of Action, right of setoff, or other legal or equitable defense,
which the Debtor had immediately prior to the Petition Date, against or with respect to any Claim
left unimpaired by the Plan. The Debtor shall have, retain, reserve, and be entitled to assert all such
claims, causes of action, rights of setoff, and other legal or equitable defenses which the Debtor
had immediately prior to the Petition Date fully as if the Bankruptcy Case had not been
commenced, and all of the Debtor’s legal and equitable rights respecting any Claim Unimpaired
by the Plan may be asserted after the Confirmation Date by the Debtor to the same extent as if the
Bankruptcy Case had not been commenced.

               6. Management After the Effective Date

        The Debtor shall continue to manage and control each of his respective assets and any other
assets within his control, directly or indirectly, after the Effective Date, and to the extent the Plan
provides for the sale of certain of the Debtor’s assets, the DebtorDisbursement Agent shall manage
and control the sale of those assets and shall liquidate such assets as expeditiously as reasonably
possible, consistent with the terms of the Plan and the goal of maximizing the value thereof for the
benefit of the Holders of Claims and the Debtor.secured by a Lien on those assets and other
stakeholders.

               7. Revesting of Assets

        Except as otherwise provided in the Plan or the Confirmation Order, upon the Effective
Date, all property of the Debtor’s estate, wherever situated, shall vest in the Debtor, as reorganized
pursuant to the Plan, free and clear of all Claims to the full extent permitted by law including the
Bankruptcy Code.
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Trusts: For the avoidance of doubt, the Debtor would clarify through this Plan that certain Trusts
are not property of the estate and therefore are not available for distribution to Creditors.
Specifically, the Alexander E. Jones Descendent and Beneficiary Trust (the “Descendent Trust”),


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of which the Debtor is a grantor, is not available to satisfy Creditor Claims. The Debtor is not a
beneficiary nor a trustee for the Descendent Trust. Though the Descendent Trust holds certain
condominium assets, the Debtor asserts these trust assets are not available to satisfy estate Claims.
Second, the Green Leaf Trust: this trust is also not within the control of the Debtor, nor is he a
beneficiary, or entitled to direct the Green Leaf Trust. Therefore, the assets of the Green Leaf
Trust are not available to satisfy estate Claims. With respect to any remaining trusts, where the
Debtor either is a beneficiary and/or maintains some level of control, (x) any assets available for
distribution from such trusts as of the Effective Date shall be deemed Non-Exempt Assets subject
to liquidation by the Disbursement Agent under the Plan, and (y) any distribution to the Debtor of
income generated by such trusts following the Effective Date shall be included as Plan Income
under the Plan. See Schedule A.

               8. Conditions to Confirmation

       The Bankruptcy Court will not enter the Confirmation Order unless and until each of the
following conditions has been satisfied or duly waived (if waivable):

                             (a)     The documents implementing the Plan will be in form and
               substance acceptable to the Debtor and will have been provided to the Bankruptcy
               Court.

                                (b)     The Confirmation Order is in a form and substance
               acceptable to the Debtor and, among other things, makes findings that particular
               subsections 1129 of the Bankruptcy Code have been met, including (i) that the
               Debtor and itshis representatives have proposed and obtained confirmation of the
               Plan in good faith; (ii) that the Plan is in the best interests of creditors; and (iii) that
               the Plan is fair and equitable to Holders of Claims.

                               (c)    The Confirmation Order authorizes and directs the Debtor to
               take all actions necessary or appropriate to enter into, implement, and consummate
               the contracts, instruments, and other agreements or documents contemplated by the
               Plan.
                               (c)    All of the schedules, documents, supplements and exhibits
               to the Plan shall have been filed in form and substance acceptable to the Debtor.

       The foregoing conditions of the confirmation of the Plan may be waived in whole or in part
by the Debtor upon approval of the Bankruptcy Code.

       E. Plan Confirmation Effect

               1. Debtor’s Discharge

        Except as expressly provided in the Plan or the Confirmation Order, all consideration
distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,
discharge, and release of, all Claims against the Debtor of any nature whatsoever, whether known
or unknown, or against the assets or properties of the Debtor that arose before the Effective Date.


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Except as expressly provided in the Plan or the Confirmation Order, on the Discharge Date (and
subject to its occurrence), entry of the Confirmation Order shall be deemed to act as a discharge
and release under Bankruptcy Code section 1141(d)(1)(A) of all Claims against the Debtor and his
assets, arising at any time before the Effective Date, regardless of whether a proof of Claim was
filed, whether the Claim is Allowed, or whether the Holder of the Claim votes to accept the Plan
or is entitled to receive a Distribution under the Plan, provided, however, that in no event shall
occurrence of the Discharge Date discharge the Debtor from any obligations remaining under the
Plan as of the Discharge Date. No later than five (5) business days after the occurrence of the
Discharge Date, the Debtor shall file with the Bankruptcy Court a notice of the occurrence of the
Discharge Date and serve such notice on all creditors. In addition, following the occurrence of the
Discharge Date, the Debtor shall file a motion seeking entry of an order of discharge after notice
and a hearing, which motion (and the discharge) shall be granted upon a showing that the Debtor
has made all payments required under the Plan. Except as expressly provided in the Plan or the
Confirmation Order, any Holder of a discharged Claim will be precluded from asserting against
the Debtor or any assets of the Debtor any other or further Claim based on any document,
instrument, act, omission, transaction or other activity of any kind or nature that occurred before
the Effective Date. Except as expressly provided in the Plan or the Confirmation Order, and subject
to the occurrence of the Discharge Date, the Confirmation Order will be a judicial determination
of discharge of all liabilities of the Debtor to the extent allowed under Bankruptcy Code section
1141, and the Debtor will not be liable for any Claims and will only have the obligations that are
specifically provided for in the Plan. Notwithstanding the foregoing, nothing contained in the Plan
or the Confirmation Order shall discharge the Debtor from (i) any debt excepted from discharge
under Bankruptcy Code section 523 by Final Order of the Bankruptcy Court unless the Holders of
such Claims have agreed to same.

          Notwithstanding the foregoing, Allowed Claims of Electing Plaintiffs under Class 5          Formatted: Body Text, Left, Indent: Left: 0.17", Right:
  that have selected Opt-In Settlement Unsecured Claims shall be discharged after either 1)           0.08", Don't allow hanging punctuation
  payment of claim treatment under Class 5 for the ten (10) year period or 2) payment of such
  Claims at any time during the ten-year period following the Effective Date at the net present
  value of the remaining amount due to such Holders.receipt of payments that give rise to the
  occurrence of the Payment Trigger. Such payment shall be in full satisfaction, settlement,
  release and discharge of and in exchange for such Allowed Claim.


        Notwithstanding anything to the contrary set forth in this Section, Non-Electing Plaintiffs
under Class 6 will be enjoined against collecting against the Debtor during the term of the Plan
Term; however, such Non-Electing Plaintiffs may collect against the Debtor at the conclusion of
the ten (10) year Plan periodTerm if they have a Final Order allowing their Claim and finding such
Claim non-dischargeable.

               2. Injunction

        Except as otherwise provided in the Plan, the Confirmation Order shall provide that from
and after the Effective Date with respect to the Debtor, all Holders of Claims, with the exception
of the Non-Electing Plaintiffs, against the Debtor are permanently enjoined from taking any of
the following actions against the Debtor, or any of his property on account of any such Claim:
(a) commencing or continuing in any manner or in any place, any action or other proceeding; (b)

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enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
decree, or order; (c) creating, perfecting, or enforcing any encumbrance or Lien; (d) asserting a
setoff, subrogation, or recoupment of any kind against any debt, liability, or obligation due to the
Debtor; andor (e) commencing or continuing, in any manner or in any place, any action that does
not conform to or comply with, or is inconsistent with, the provisions of the Plan; provided,
however, that nothing contained herein shall preclude such Persons from exercising their rights
pursuant to and consistent with the terms of the Plan or the Confirmation Order. . If allowed by
the Bankruptcy Court, any Person injured by any willful violation of such injunction shall recover
actual damages, including costs and attorneys’ and experts’ fees and disbursements, and, in
appropriate circumstances, may recover punitive damages, from the willful violator. Should a
Plan Default have occurred and is continuing, this Plan Injunction shall lift in accordance with a
Bankruptcy Court order determining the existence of such Plan Default.

       The Notwithstanding the foregoing, the Non-Electing Plaintiffs whose claims have been
determined to be non-dischargeable by an order of a court of competent jurisdiction that has not
been stayed, shall be enjoined from taking action against the Debtor as set forth above only for the
term of solely during the Plan Term, unless otherwise set forth herein.

       F. Retention of Jurisdiction

        Unless otherwise provided herein or in an order of the Bankruptcy Court (including without
limitation the Confirmation Order), all injunctions or stays provided in the Bankruptcy Cases under
Bankruptcy Code section 105 or 362, or otherwise, and in existence on the Confirmation Date,
shall remain in full force and effect until the Effective Date, with respect to the Debtor. Upon the
Effective Date, the injunction provided in Section 9.05 of the Plan shall be effective.

       G. Modification of Reservation of the Plan

        The Debtor reserves the right to modify the Plan either before or after the Confirmation
Date to the fullest extent permitted under section 1127 of the Bankruptcy Code and Bankruptcy
Rule 3019, including but not limited to modifications necessary to negotiate the resolution of any
objection to confirmation of the Plan. The Debtor may withdraw the Plan at any time before the
Confirmation Date, or thereafter prior to the Effective Date. The Debtor may amend the Plan
before or after the Effective Date as provided in section 1127 of the Bankruptcy Code.

       H. Executory Contracts and Unexpired Leases

               1. General Treatment; Rejected if Not Assumed

        The Plan constitutes and incorporates a motion under Bankruptcy Code sections 365 and
1123(b)(2) to (a) reject, as of the Effective Date, all Executory Contracts to which the Debtor is a
party, except for any Executory Contract that was terminated before the Effective Date or has been
assumed or rejected pursuant to an order of the Bankruptcy Court entered before the Effective
Date, and (b) assume all Executory Contracts identified in any schedule of assumed contracts that
may be included in the Plan Supplement.



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       The Confirmation Order shall constitute an order of the Bankruptcy Court under the
Bankruptcy Code sections 365 and 1123(b)(2) approving the rejection or assumption, as
applicable, of Executory Contracts pursuant to the Plan as of the Effective Date. Notice of the
Confirmation shall constitute notice to any non-debtor party to an Executory Contract that is to be
assumed or rejected under the Plan of the proposed assumption or rejection such Executory
Contract and proposed Cure Amount. For the avoidance of doubt, to the extent the Debtor’s
premarital agreement could be characterized as an executory contract, such agreement shall be
assumed under this Plan. The Debtor does not anticipate any cure costs associated with such
agreement.

               2. Cure Payments and Release of Liability

        Except as otherwise provided in a Final Order, pursuant to Bankruptcy Code sections
365(a), (b), (c), and (f), all Cure Claims that may require payment under Bankruptcy Code section
365(b)(1) under any Executory Contract that is assumed pursuant to a Final Order shall be paid by
the Debtor within fifteen (15) Business Days after such order becomes a Final Order with respect
to Cure Claims that are not Disputed or within fifteen (15) Business Days after an assumed
Executory Contract has not filed an appropriate pleading on or before the date of the Confirmation
Hearing. If a party to an assumed Executory Contract has not filed an appropriate pleading on or
before the date of the Confirmation Hearing disputing any proposed Cure Claim, the cure of any
other defaults, the promptness of the Cure Claim payments, or the provision of adequate assurance
of future performance, then such party shall be deemed to have waived its right to dispute such
matters. Any party to an assumed Executory Contract that receives full payment of a Cure Claim
shall waive the right to receive any payment on a Class 6 General Unsecured Claim that relates to
or arises out of such assumed Executory Contract.

               3. Bar to Rejection Damages

        If the rejection of an Executory Contract pursuant to Section 7.01 of the Plan gives rise to
a Claim by any non-Debtor party or parties to such Executory Contract, such Claim shall be forever
barred and shall not be enforceable against the Debtor, the Estate, or the agents, successors, or
assigns of the foregoing, unless a proof of such Claim is filed with the Bankruptcy Court and
served upon the Debtor on or before the Rejection Bar Date. Any Holder of a Claim arising out of
the rejection of an Executory Contract that fails to file a proof of such Claim on or before the
Rejection Bar Date shall be forever barred, estopped, and enjoined from asserting such Claim
against the Debtor, the Estate or any of their assets and properties. Nothing contained herein shall
extend the time for filing a proof of Claim for rejection of any Executory Contract rejected before
the Confirmation Date.

               4. Rejection Claims

        Any Rejection Damage Claim arising from the rejection of an Executory Contract shall be
treated as a General Unsecured Claim pursuant to the Plan, except as limited by the provisions of
the Bankruptcy Code sections 502(b)(6) and 502(b)(7) and mitigation requirements under
applicable law. Nothing contained herein shall be deemed an admission by the Debtor that such



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rejection gives rise to or results in a Rejection Damage Claim or shall be deemed a waiver by the
Debtor or any other party in interest of any objections to such Rejection Claim if asserted.

               5. Distributions Under the Plan

        All Distributions to any Holder of an Allowed Claim shall be made by the
DistributionDisbursement Agent at the address of each such Holder as set forth on the proof of
Claim filed by such Holder (or at the last address of such a Holder known to the Debtor if no proof
of Claim is filed or if the DebtorDisbursement Agent has been notified in writing of a change of
address). The Trustee of the RSS Trust may serve as the Disbursement Agent. If any Holder’s
Distribution is returned as undeliverable, no further Distributions to such Holder shall be made
unless and until the DebtorDisbursement Agent is notified in writing of such Holder’s then current
address, at which time all missed Distributions shall be made to such Holder without interest. Any
Holder of an Allowed Claim whose Distribution is undeliverable must make demand for such
Distribution to the DebtorDisbursement Agent in writing on or before 120 days after the date such
undeliverable Distribution was initially made, after which the Distribution shall be retained by the
DebtorDisbursement Agent for Distribution to other Holders of Claims pursuant to the terms of
the Plan, and any claim by such intended recipient with respect to such undeliverable Distribution
shall be discharged and forever barred. The DebtorDisbursement Agent may employ or contract
with other Persons as reasonably determined by the DebtorDisbursement Agent to assist in or make
the Distributions required under the Plan. To the extent that the DebtorDisbursement Agent is
required by applicable law to file information returns regarding payments to creditors with
taxing authorities including, but not limited to, the Internal Revenue Service, the
DebtorDisbursement Agent shall obtain an executed Internal Revenue Service Form W-9 (W-
8 for non-US entities and individuals) from any or all Holders of a Claim prior to making
any Distribution. Should any Holder of a Claim not provide the DebtorDisbursement Agent
with such document within 60 days of receipt of the request for a W-9 or W-8, as applicable,
then the DebtorDisbursement Agent shall provide written notice to such Holder of the failure
to provide a W-9 or W-8, as applicable, and 30 additional days to provide such information.
Should any Holder of a Claim not timely provide an executed W-9 or W-8, as applicable,
within the ninety (90) day period referenced above, the DebtorDisbursement Agent may file
an objection to the Claim of such non-responding Holder based on the non-responding
Holder’s failure to provide the W-9 or W-8 (with all required information) and shall serve
the objection on such non-responding Holder via first class mail. If the non-responding
Holder of the Claim fails to respond to the objection or fails to provide to the
DebtorDisbursement Agent the W-9 or W-8, as applicable (with all required information)
within thirty (30) days after the objection is filed, the Bankruptcy Court may disallow such
Claim for all purposes and any funds to be paid such Holder of a disallowed Claim shall be
distributed in accordance with the terms of the Plan. The DebtorDisbursement Agent shall
serve any order disallowing the non- responding Holder’s Claim within five (5) business days
after entry of such order. The Debtor’sDisbursement Agent's right to object to a Claim is
limited to the failure of a Holder of a Claim to provide to the DebtorDisbursement Agent a
W-9 or W-8, as applicable. The Holder of such Disallowed Claim shall be forever barred
from pursuing the DebtorDisbursement Agent for payment of such Claim.




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       The Disbursement Agent shall make the distributionsDistributions required under the Plan.
The Disbursement Agent shall be entitled to review the financial information of FSS and the
Debtor in accordance with the terms of the Distribution Agreementagreement entered into with the
Disbursement Agent. The Disbursement Agent shall also be responsible for the sale or other
monetization of Non-Exempt Assets under the Plan.

       The DistributionDisbursement Agent shall establish a bank account, initially funded with
30% of the net proceedsNet Proceeds from the sale of Non-exempt Assets which may be used to
fund the initial expenses of the DistributionDisbursement Agent, including payment of the
DistributionDisbursement Agent’s fees, on an ongoing basis. Additional Disbursement Agent
expenses shall be paid directly by the Debtor.

       THIS IS ONLY A SUMMARY OF CERTAIN PROVISIONS OF THE PLAN.
       THE PLAN INCLUDES OTHER PROVISIONS THAT MAY AFFECT
       YOUR RIGHTS. YOU ARE URGED TO READ THE PLAN IN ITS
       ENTIRETY BEFORE VOTING ON THE PLAN.

                      VI.        CONFIRMATION OF THE PLAN

       A. Solicitation of Votes: Voting Procedures

              1. Ballots and Voting Deadlines

        A ballot to be used for voting to accept or reject the Plan, together with a postage-paid
return envelope, is enclosed with all copies of the Disclosure Statement mailed to all Holders of
Claims entitled to vote.

     BEFORE COMPLETING YOUR BALLOT, PLEASE READ CAREFULLY
     THE INSTRUCTIONS SHEET THAT ACCOMPANIES THE BALLOT.

      The Bankruptcy Court has directed that, in order to be counted for voting purposes, ballots
for the acceptance or rejection of the Plan must be received no later than _____ p.m., Central
Time, on _______, 2024, at the following address:



                             Vickie Driver
                             Crowe & Dunlevy
                             2525 McKinnon Street, Suite 425
                             Dallas, Texas 75201

    YOUR BALLOT MAY NOT BE COUNTED IF IT IS RECEIVED AT THE ABOVE
ADDRESS AFTER ________. P.M., CENTRAL TIME, ON _______ 2024.

              2. Parties in Interest Entitled to Vote



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        Any Person who, as of the Voting Record Date (i.e., ________,January 24, 2024) was the
Holder of a Claim against the Debtor and whose Claim has not previously been disallowed by the
Bankruptcy Court is entitled to vote to accept or reject the Plan, if such Claim is impaired under
the Plan and either (i) such Holder’s Claim has been scheduled by the Debtor (and such Claim is
not scheduled as disputed, contingent, or unliquidated) or (ii) such Holder has filed a proof of
Claim on or before ____, the last date set by the Bankruptcy Court for such filings (i.e., the Bar
Date).timely proof of Claim. Any Claim as to which an objection has been filed is not entitled to
vote, unless the Bankruptcy Court, upon application of the Holder to whose Claim an objection
has been made, temporarily allows such Claim in an amount that it deems proper for the purpose
of accepting or rejecting the Plan. Any such application must be heard and determined by the
Bankruptcy Court on or before commencement of the Confirmation Hearing. A vote may be
disregarded if the Bankruptcy Court determines, after notice and a hearing, that such vote was not
solicited or procured in good faith or in accordance with the provisions of the Bankruptcy Code.

               3. Definition of Impairment

       As set forth in section 1124 of the Bankruptcy Code, a class of claims or equity interests is
impaired under a plan of reorganization unless, with respect to each claim or equity interest of
such class, the plan:

                      (a)    leaves unaltered the legal, equitable, and contractual rights of the
       holder of such claim or equity interest; or

                       (b)     notwithstanding any contractual provision or applicable law that
       entitles the holder of a claim or equity interest to demand or receive accelerated payment
       of such claim or equity interest after the occurrence of a default:

                              (i)      cures any such default that occurred before or after the
               commencement of the case under the Bankruptcy Code, other than a default of a
               kind specified in section 365(b)(2) of the Bankruptcy Code;

                              (ii)    reinstates the maturity of such claim or interest as it existed
               before such default;

                              (iii)  compensates the holder of such claim or interest of any
               damages incurred as a result of any reasonable reliance on such contractual
               provision or such applicable law; and

                              (iv)    does not otherwise alter the legal, equitable, or contractual
               rights to which such claim or interest entitles the holder of such claim or interest.

               4. Impaired Classes Under the Plan

       Claims against the Debtor in Classes 5, 6, and 7 are impaired under the Plan, and the
Holders of those Claims are entitled to vote to accept or reject the Plan.



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               5. Unimpaired Classes Under the Plan

       Claims against the Debtor in Classes 1, 2, 3, and 4 are not impaired under the Plan. The
Holders of those Claims are conclusively presumed to have accepted the Plan under section
1126(f) of the Bankruptcy Code and are thus not entitled to vote on the Plan.

               6. Vote Required for Class Acceptance

        The Bankruptcy Code defines acceptance of a plan by a class of claims as acceptance by
holders of at least two-thirds in dollar amount, and more than one-half in number, of the claims of
that class that actually casts ballots for acceptance or rejection of the plan. Thus, class acceptance
takes place only if at least two-thirds in amount and a majority in number of the holders of claims
voting cast their ballots in favor of acceptance.

       B. Confirmation Hearing

       Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to
hold a hearing on confirmation of a plan. By order of the Bankruptcy Court, the Confirmation
Hearing has been scheduled for ________, 2024, at _________ p.m. Central Time, in the United
States Bankruptcy Court for the Southern District of Texas, Houston Division. The Bankruptcy
Court may adjourn the Confirmation Hearing from time to time without further notice other than
an announcement made at the confirmation hearing or any adjournment thereof.

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
confirmation of a plan. Any objection to confirmation of the Plan must be made in writing and
filed with the Bankruptcy Court on or before ________, 2024, at the following address:

       U.S. Bankruptcy Court
       Southern District of Texas, Houston Division
       515 Rusk, Courtroom 401
       Houston, TX 77002

       In addition, any such objection must be served upon and received by the following parties,
together with proof of service, no later than ________ p.m., Central Time on _______, 2024.

       Vickie L. Driver
       Crowe & Dunlevy, P.C.
       2525 McKinnon St., Suite 425
       Dallas, Texas 75201

       Shelby Jordan
       Jordan & Ortiz, P.C.
       500 North Shoreline Blvd., Suite 804
       Corpus Christi, TX 78401




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       BANKRUPTCY   RULE  9014   GOVERNS     OBJECTIONS TO
       CONFIRMATION OF THE PLAN. UNLESS AN OBJECTION TO
       CONFIRMATION IS TIMELY SERVED AND FILED, THE
       BANKRUPTCY COURT MAY NOT CONSIDER IT.

       C. Requirements for Confirmation of a Plan

       At the Confirmation Hearing, the Bankruptcy Court must determine whether the
Bankruptcy Code’s requirements for confirmation of the Plan have been satisfied, in which event
the Bankruptcy Court will enter an order confirming the Plan. As set forth in section 1129 of the
Bankruptcy Code, the requirements are as follows:

                      1.        The Plan complies with the applicable provisions of the Bankruptcy
       Code.

                     2.     The proponents of the plan complied with the applicable provisions
       of the Bankruptcy Code.

                      3.        The plan has been proposed in food faith and not by any means
       forbidden by law.

                       4.      Any payment made or promised by the Debtors, by the plan
       proponents, or by a person, issuing securities or acquiring property under the plan, for
       services or for costs and expenses in, or in connection with, the case, or in connection with
       the plan and incident to the case, has been approved by, or is subject to the approval of the
       Bankruptcy Court as reasonable.

                           5.

                                (a)(i) The proponent of the plan has disclosed the identify and
               affiliations of any individual proposed to serve, after confirmation of the plan, as a
               director, officer, or voting trustee of the Debtors, an affiliate of the Debtors
               participating in a joint plan with the Debtor, or a successor to the Debtors under the
               plan; and

                               (a)(ii) the appointment to, or continuance in, such office of such
               individual, is consistent with the interests of creditors and equity security holders
               and with public policy; and

                               (b)    the proponent of the plan has disclosed the identity of any
               insider that will be employed or retained by the reorganized debtor and the nature
               of any compensation for such insider.

                          6. Any governmental regulatory commission with jurisdiction, after
       confirmation of the plan, over the rates of the debtor has approved any rate change provided
       for in the plan, or such rate change is expressly conditioned on such approval.


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                      7.   With respect to each impaired class of claims or interests:

                            (a)(i) each holder of a claim or interest of such class has accepted
            the plan or will receive or retain under the plan on account of such claim or interest
            property of a value, as of the effective date of the plan, that is not less than the
            amount that such holder would so receive or retain if the Debtors were liquidated
            on such date under Chapter 7 of the Bankruptcy Code on such date; or

                            (a)(ii) if section 111(b)(2) of the Bankruptcy Code applies to the
            claims of such class, the holder of a claim of such class will receive or retain under
            the plan on account of such claim property of a value, as of the effective date of the
            plan, that is not less than the value of such holder’s interest in the estate’s interest
            in the property that secures such claims.

                      8.   With respect to each class of claims or interests:

                           (a)     such class has not accepted the plan; or

                           (b)     such class is not impaired under the plan.

                        9. Except to the extent that the holder of a particular claim has agreed
     to a different treatment of such claim, the plan provides that:

                           (a)    with respect to a claim of a kind specified in section
            507(a)(2) or 507(a)(3) of the Bankruptcy Code, on the effective date of the plan,
            the holder of such claim will receive on account of such claim cash equal to the
            allowed amount of such claim;

                           (b)    with respect to a class of claims of a kind specified in section
            501(a)(1), 507(a)(4), 507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code,
            each holder of a claim of such class will receive:

                                   (i)     if such class has accepted the plan, deferred cash
                    payments of a value, as of the effective date of the plan, equal to the allowed
                    amount of such claim; or

                                    (ii)    if such class has not accepted the plan, cash on the
                    effective date of the plan equal to the allowed amount of such claims; and

                           (c)     with respect to a claim of a kind specified in section
            507(a)(8) of the Bankruptcy Code, the holder of a claim will receive on account of
            such claim regular installment payments in cash—

                                    (i)   of a total value, as of the effective date of the plan,
                    equal to the allowed amount of such claim;


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                                   (ii)     over a period ending no later than 5 years after the
                    date of the order for relief under section 301, 302, or 303; and

                                  (iii)  in a manner not less favorable than the most favored
                    nonpriority unsecured claim provided for by the plan (other than cash
                    payments made to a class of creditors under section 1122(b)); and

                           (d)     with respect to a secured claim which would otherwise meet
            the description of an unsecured claim of a governmental unit under section
            507(a)(8), but for the secured status of that claim, the holder of that claim will
            receive on account of that claim, cash payments, in the same manner and over the
            same period, as described in paragraph (c) above.

                       10. If a class of claims is impaired under the plan, at least one class of
     claims that is impaired has accepted the plan, determined without including any acceptance
     of the plan by any insider holding a claim of such class.

                        11. Confirmation of the plan is not likely to be followed by the
     liquidation, or the need for further financial reorganization, of the Debtors or any successor
     to the Debtors under the plan, unless such liquidation or reorganization is proposed in the
     plan.

                     12. All fees payable under 38 U.S.C. § 1930, as determined by the
     Bankruptcy Court at the hearing on confirmation of the plan, have been paid or the plan
     provides the payment of all such fees on the effective date of the plan.

                        13. The plan provides for the continuation after its effective date of
     payment of all retiree benefits, as that term is defined in section 1114 of the Bankruptcy
     Code, at the level established pursuant to subsection (c)(1)(B) or (g) of section 1114, at any
     time prior to confirmation of the plan, for the duration of the period the Debtor has
     obligated itself to provide such benefits.

                      14. In the case in which the Debtor is an individual and in which the
     holder of an allowed unsecured claim objects to confirmation of the plan—

                            (a)    the value, as of the effective date of the plan, of the property
            to be distributed under the plan on account of such claim is not less than the amount
            of the claim; or

                            (b)    the value of the property to be distributed under the plan is
            not less than the projected disposable income of the debtor (as defined in section
            1325(b)(2)) to be due under the plan, or during the period for which the plan
            provides payments, whichever is longer.




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       The Debtor believes that the Plan satisfies all the statutory requirements of Chapter 11 of
the Bankruptcy Code that the Debtor has complied or will have complied with all the requirements
of Chapter 11, and that the Plan is proposed in good faith.

        The Debtor believes that Holders of all Allowed Claims impaired under the Plan will
receive payments or distributions under the Plan having a present value as of the Effective Date
not less than the amounts likely to be received if the Debtor were liquidated under Chapter 7 of
the Bankruptcy Code. At the Confirmation Hearing, the Bankruptcy Court will determine whether
Holders of Allowed Claims or Interests would receive greater distributions under the Plan than
they would receive in liquidation under Chapter 7.

        The Debtor also believes that the feasibility requirement for confirmation of the Plan is
satisfied by the fact that the Debtors’Debtor’s future operating revenues and income will be
sufficient to satisfy the Debtors’Debtor’s obligations under the Plan, and all creditors will
ultimately be paid in full. These facts and other demonstrating the confirmability of the Plan will
be shown at the Confirmation Hearing.

       D. Cramdown

        In the event that any impaired Class of Claims entitled to vote on the Plan does not accept
the Plan, the Bankruptcy Court may still confirm the Plan at the request of the Debtor if, as to each
such impaired Class that has not accepted the Plan, the Bankruptcy Court determines that the Plan
“does not discriminate unfairly” and is “fair and equitable” with respect to that Class. A plan of
reorganization “does not discriminate unfairly” within the meaning of the Bankruptcy Code if no
Class receives more than it is legally entitled to receive for its claims or equity interests.

        “Fair and equitable” has different meanings with respect to the treatment of secured and
unsecured claims. As set forth in section 1129(b)(2) of the Bankruptcy Code, those meanings are
as follows:

               1.      With respect to a class of secured claims, the plan provides:
                               (a)(i) that the holders of such claims retain the liens securing such
               claims, whether the property subject to such liens is retained by the Debtor or
               transferred to another entity, to the extent of the allowed amount of such claims;
               and

                               (ii)    that each holder of a claim of such class receive on account
               of such claim deferred cash payments totaling at least the allowed amount of such
               claim, of a value, as of the effective date of the plan, of at least the value of such
               holder’s interest in the estate’s interest in such property

                               (b)     for the sale, subject to section 363(k) of the Bankruptcy
               Code, of any property that is subject to the liens securing such claims, free and clear
               of such liens, with such liens to attach to the proceeds of such sale, and the treatment
               of such liens on proceeds under clause (a) and (b) of this subparagraph; or



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               2.      With respect to a class of unsecured claims, the plan provides:

                              (a)    that each holder of a claim of such class receive or retain on
               account of such claim property of a value, as of the effective date of the plan, equal
               to the allowed amount of such claim; or

                              (b)     the holder of any claim or interest that is junior to the claims
               of such class will not receive or retain under the plan on account of such junior
               claim or interest any property, except that in a case in which the Debtor is an
               individual, the Debtor may retain property included in the estate under section
               1115, subject to the requirements of subsection (a)(14).

               1.      With respect to a class of interest, the plan provides:

                               (a) that each holder of an interest of such class receive or retain on
               account of such interest property of a value, as of the effective date of the plan,
               equal to the greatest of the allowed amount of any fixed liquidation preference to
               which such holder is entitled, any fixed redemption price to which such holder is
               entitled or the value of such interest; or

                               (b) that the holder of any interest that is junior to the interests of
               such class will not receive or retain under the plan on account of such junior
               interest any property.

        In the event that one or more Classes of impaired Claims reject the Plan, the Bankruptcy
Court will determine at the Confirmation Hearing whether the Plan is fair and equitable with
respect to, and does not discriminate unfairly against, any rejected impaired Class of Claims. For
the reasons set forth above, the Debtor believes the Plan does not discriminate unfairly against,
and is fair and equitable with respect to, each impaired Class of Claims.

                                VII.         RISK FACTORS

       The following is intended as a summary of certain risks associated with the Plan, but it is
not exhaustive and must be supplemented by the analysis and evaluation made by each Holder of
a Claim of the Plan and this Disclosure Statement as a whole with such Holder’s own advisors.

       A. Insufficient Acceptances

        For the Plan to be confirmed, each impaired Class of Claims is given the opportunity to
vote to accept or reject the Plan. With regard to such impaired voting Classes, the Plan will be
deemed accepted by claimants in such Class actually voting on the Plan who hold at least two
thirds (2/3) in amount and more than one half (1/2) in number of the total Allowed Claims of the
Class voted. Only those members of a Class who vote to accept or reject the Plan will be continued
for voting purposes. The Debtor reserves the right to request confirmation pursuant to the
cramdown provisions in section 1129(b) of the Bankruptcy Code, which will allow confirmation
of the Plan regardless of the fact that a particular impaired Class of Claims has not accepted the


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 Plan. However, there can be no assurance that any impaired Class of Claims under the Plan will
 accept the Plan or that the Debtor would be able to use the cramdown provisions of the Bankruptcy
 Code for confirmation of the Plan.

        B. Confirmation Risks

        The following specific risks exist with respect to confirmation of the Plan:

                        (i)     Any objection to confirmation of the Plan filed by a member of a
        Class of Claims can either prevent confirmation of the Plan or delay confirmation for a
        significant period of time.

                      (ii)    If the Debtor must seek confirmation of the Plan over the rejection
        of one or more impaired Classes of Claims, the cramdown process could delay or prevent
        confirmation.

        C. Post-Confirmation Risks

         The Debtor’s performance of his obligations under the Plan is subject to his ability to
 continue to generate income in the future from his existing assets and businesses and/or from other
 business opportunities that may arise in the future. In many instances, the Debtor’s ability to realize
 income from these businesses is dependent on the continued interest and performance of third
 parties, such as viewers. While the Debtor believes that he will be able to meet all of his obligations
 under the Plan, should the Debtor’s businesses, particularly FSS, fail to generate sufficient Net
 Proceeds, the Debtor’s ability to meet his obligations under the Plan could be adversely affected.
 Deplatforming may also adversely affect the Debtor’s ability to generate funds, through FSS or
 otherwise, that contribute to his obligations under the Plan. Further, the Debtor’s media and
 broadcasting company is subject to an increasingly oversaturated media market and fluctuations
 in interest due to negative publicity received by the Debtor. FSS is also subject to the same industry
 specific and general economic risk factors that face all similarly situated businesses. The Debtor
 may experience a health condition or end-of-life event, or become incapacitated, such that he
 cannot work and thus contribute to the Plan. Before voting on the Plan, each Holder of a Claim
 entitled to vote on the Plan should carefully consider the risk factors set forth herein as well as all
 of the information contained in this Disclosure Statement and hereto.

VIII.        ALTERNATIVE TO CONFIRMATION AND CONSUMMATION OF THE
                          PLAN: LIQUIDATION ANALYSIS

         The Debtor has evaluated other alternatives to reorganization under the Plan, including the
 liquidation of the Debtor. After studying possible alternatives to the Plan, the Debtor has concluded
 that the Plan is the best alternative and will maximize recoveries by Holders of Claims, assuming
 confirmation of the Plan and consummation of the transactions contemplated by the Plan. The
 following discussion provides a summary of the Debtor’s analysis leading to its conclusion that
 the Plan will provide the highest value to Holders of Claims.




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        In contrast to the Plan, the Debtor could liquidate pursuant to Chapter 7 of the Bankruptcy
Code. In a Chapter 7 bankruptcy, a trustee is appointed to collect and liquidate property of the
bankruptcy estate for the benefit of all creditors in the order of their priority under the Bankruptcy
Code. The Debtor has analyzed whether a Chapter 7 liquidation of the assets of the Debtor would
be in the best interests of the Creditors and has determined unsecured creditors would receive less
in a Chapter 7 than under the Plan.

        Although Chapter 11 administrative costs are subordinated to the Chapter 7 administrative
costs, both the administrative costs of the Chapter 11 and Chapter 7 are senior to unsecured
creditors. The Debtor does not believe that a Chapter 7 would provide any tangible benefit to
unsecured creditors, which could ever exceed the distributions received under the Plan. Indeed,
the Debtor believes unsecured creditors would more than likely receive substantially less in a
Chapter 7, in large part because, under the Plan, the Debtor will liquidate his most valuable assets
for the benefit of the Creditors and contribute millions of dollars in future income to the Plan for
distribution, while in a Chapter 7 liquidation unsecured creditors would receive
_________.between $4.1M and $6.7M. A more detailed liquidation analysis is attached hereto as
Exhibit __.D.                                                                                            Formatted: Font: Not Bold

       Accordingly, the Plan satisfies the requirement under the Bankruptcy Code section
1129(a)(7) that requires creditors receive under a plan of reorganization as much as they would
receive in a Chapter 7.

 IX.         CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

       A. Importance of Obtaining Professional Tax Assistance

       THE FOLLOWING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
       CERTAIN LIKELY U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE
       PLAN, TO PROVIDE ASSISTANCE AND GENERAL GUIDANCE, IS NOT
       PROFESSIONAL ADVICE, AND IS NOT A SUBSTITUTE FOR CAREFUL
       TAX PLANNING WITH A TAX PROFESSIONAL. THE BELOW
       DISCUSSION IS FOR GENERAL INFORMATIONAL PURPOSES ONLY AND
       IS NOT TAX ADVICE. THE TAX CONSEQUENCES ARE IN MANY CASES
       UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
       INDIVIDUAL CIRCUMSTANCES. ACCORDINGLY, HOLDERS ARE
       URGED TO CONSULT WITH THEIR TAX ADVISORS ABOUT THE U.S.
       FEDERAL, STATE, AND LOCAL, IF APPLICABLE, TAX CONSEQUENCES
       OF THE PLAN.

       B. Discharge of Indebtedness

        The Internal Revenue Code (“IRC”) generally provides that a taxpayer must include in
income the amount of discharge of indebtedness (“DOI”) it realizes when its creditors accept less
than full payment in satisfaction of the creditors’ undisputed debts. The realized amount of DOI is
generally the difference between the amount of indebtedness and the amount received by the
creditor in exchange for the indebtedness. However, IRC Section 108(a) provides that DOI will


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not be included in the taxpayer’s taxable income if that taxpayer is under the jurisdiction of a court
in a case under Title 11 of the United State Code (i.e., a chapter 11 bankruptcy) and the DOI arises
from a court ordered discharge or arises pursuant to a plan of reorganization approved by a
bankruptcy court. in the event IRC Section 108(a) excludes DOI from the income of a debtor in
bankruptcy, the debtor’s tax attributes will be reduced by the amount of DOI from the income of
a debtor so general business credit carryovers, capital loss carryovers and the tax basis of its assets.
In the alternative, the debtor may make an election to alter the order of attributable reduction such
that the tax basis of depreciable property would be reduced first.

       C. Impact on Holders of Claims Against Debtors

        With respect to the Distributions to Holders of Claims under the Plan, the Debtor urges any
Holder of a Claims under the Plan, the Debtor urges any Holder of a Claim concerned about tax
consequences of the Plan on that party to consult its tax advisor. The tax consequences of the Plan
to individual Holders of Claims will obviously hinge on the specific circumstances of that Holder.

       D. Circular 230 Disclosures

       The Disclosure Statement was not intended nor written by the Debtor or the Debtor’s
representatives to be used (and it shall not be used) by any taxpayer to avoid penalties that might
otherwise be imposed on the taxpayer in connection with (or as a result of) any of the transactions
or matters described herein. This Disclosure Statement was written to support the promotion or
marketing of the transactions or matters addressed in this Disclosure Statement. Each taxpayer
should seek tax advice based on his or her particular circumstances from an independent advisor.

                                    X.        CONCLUSION

       The Debtor urges all Holders of Claims to vote to ACCEPT the Plan and to evidence such
acceptance by mailing their ballots in the self-addressed stamped envelope so that they will be
received by ________, 2024.


       DATED: January 23, 2024

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